Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 1 of 484



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                               Case No. - - - - - -


 FEDERAL TRADE COMMISSION, )
                                      )
       Plaintiff,                     )
                                      )
          v.                          )
                                      )
 DIGITAL INCOME SYSTEM, INC., )
   a Florida corporation,     )
                                      )
 DEREK JONES FOLEY, aka Derek )
  Jones, individually and as an owner,)
  officer, and/or manager of          )
  Digital Income System, Inc.,        )
                                      )
 WILLIAM FOLEY, individually and      )
  as an owner, officer, and/or        )
  manager of Digital Income           )
  System, Inc.                        )
                                      )
 CHRISTOPHER BRANDON FRYE, )
  Individually,            )
                                      )
JENNIFER HEDRICK,                     )
  Individually, and                   )
                                      )
 KAITLYN SCOTT,                       )
  Individually,                       )
                                      )
       Defendants.                    )




                           EXHIBITS - VOLUME II
                             CONSUMER DECLARATIONS
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 2 of 484



                      VOLUME Il: TABLE OF CONTENTS

 EXHIBIT 3: DECLARATION OF SHANNON BAILEY

 EXHIBIT 4: DECLARATION OF GENA BARRON

 EXHIBIT 5: DECLARATION OF DAWN BELILL

 EXHIBIT 6: DECLARATION OF ROBERT BLAKE

 EXHIBIT 7: DECLARATION OF KIM BOVA

 EXHIBIT 8: DECLARATION OF CAROLYN BRAILSFORD

 EXHIBIT 9: DECLARATION OF LINDER CAROTHERS

 EXHIBIT 10: DECLARATION OF DIANNE CARR

 EXHIBIT 11: RESERVED

 EXHIBIT 12: DECLARATION OF GINA EASON

 EXHIBIT 13: DECLARATION OF BEVERLY FRANKLIN

 EXHIBIT 14: DECLARATION OF TANIA GONZALES

 EXHIBIT 15: DECLARATION OF JANIE GUZAK

 EXHIBIT 16: DECLARATION OF CONNIE HARN

 EXHIBIT 17: DECLARATION OF CANDISS HENKING

 EXHIBIT 18: DECLARATION OF JUSTIN HOFSTETTER

 EXHIBIT 19:DECLARATION OF CHARLES LARSEN

 EXHIBIT 20: DECLARATION OF RITA LOPEZ

 EXHIBIT 21: DECLARATION OF ASHER LORTZ

 EXHIBIT 22: DECLARATION OF STACEY McGOVERN

 EXHIBIT 23: DECLARATION OF JESSICA OLP

 EXHIBIT 24: RESERVED

 EXHIBIT 25: DECLARATION OF JULIO PANTALEON

 EXHIBIT 26: DECLARATION OF DEBRA PEREZ
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 3 of 484



 EXHIBIT 27: DECLARATION OF SHARON PRITCHARD

 EXHIBIT 28: DECLARATION OF BILL RODGERS

 EXHIBIT 29: DECLARATION OF VICTORIA RODRIGUEZ

 EXHIBIT 30: DECLARATION OF INEZ RUTH

 EXHIBIT 31:DECLARATION OF NICHOLAS SCHULTZ

 EXHIBIT 32: DECLARATION OF BARBARA STEVENS

 EXHIBIT 33: DECLARATION OF LORI THOMAS

 EXHIBIT 34: DECLARATION OF KAREN WELLS

 EXHIBIT 35: DECLARATION OF CONNIE ZIEMBA
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 4 of 484



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                Case No. - - - - - - -


 FEDERAL TRADE COMMISSION, )
                                       )
        Plaintiff,                     )
                                       )
            v.                         )
                                       )
 DIGITAL INCOME SYSTEM, INC., )
   a Florida corporation,              )
                                       )
 DEREK JONES FOLEY, aka Derek )
   Jones, individually and as an owner,)
   officer, and/or manager of          )
   Digital Income System, Inc.,        )
                                       )
 WILLIAM FOLEY, individually and )
   as an owner, officer, and/or        )
   manager of Digital Income           )
   System, Inc.                        )
                                       )
 CHRISTOPHER BRANDON FRYE, )
   Individually,                       )
                                       )
 JENNIFER HEDRICK,                     )
   Individually, and                   )
                                      )
 KAITLYN SCOTT,                       )
  Individually,                       )
                                      )
       Defendants.                    )




                           EXHIBITS - VOLUME III
                     STATUTE, RULE, AND SAMPLE TRO ORDERS
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 5 of 484




                 PLAINTIFF'S EXHIBIT 3
                                 (PX 3)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 6 of 484




                             DECLARATION OF SHANNON BAILEY

         I, Shannon Bailey, declare the following:

      1. My name is Shannon Bailey, and I am a United States citizen who is over the age of

         eighteen. I live in Brandon, Mississippi.

     2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

     3. In 2018 or 2019, I saw Facebook posts and YouTube videos by Jeff Ruiz, marketing a

         money-making opportunity through a company called Digital Income System.

     4. Ruiz's posts and videos explained that, by purchasing membership in Digital Income

         System, individuals obtained the right to sell Digital Income membership to others for a

         50% commission.

     5. Ruiz claimed he had made thousands-if not tens of thousands-of dollars as a member

         of Digital Income System. His videos showed him opening FedEx packages with

         thousands of dollars worth of money orders from purchasers. He said others could also

         earn substantial income by purchasing membership in Digital Income System. I saw

         other similar videos posted by participants in Digital Income around the same time.

     6. Ruiz explained that, once a participant purchased membership, he or she would receive

         access to a Digital Income System website, or "capture page," associated with his or her

         member account. The capture page included a place for interested individuals, or

         "leads," to enter their names and contact information to receive a call from a Digital

         Income System "coach."

     7. Ruiz indicated that Digital Income System would then advertise the member's capture

         page to viewers or ''traffic." Depending on a member's purchase level, the member's




                                                     1
                                                                                        PX 3, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 7 of 484

   Declaration of Shannon Bailey


          capture page would be "rotated" through a certain amount of traffic. The higher the

          membership level, the more traffic rotations the member would receive.

      8. According to Ruiz, Digital Income System coaches, who were experienced marketers,

          would then call each lead who had requested a callback and attempt to close a sale. If the

          sale closed, the member would receive a 50% commission.

      9. To follow-up on the opportunity, I chatted with Jeff Ruiz through Facebook messenger.

      10. A Digital Income System coach then called me to further advertise the opportunity. The

          coach told me the same information that Ruiz had told me about Digital Income

          System-that is, that Digital Income System would rotate my capture page through

          traffic, obtain leads, call those leads, and then close the sales for me, at which point I

          would receive a 50% commission.

      11. Based on the information provided to me by Ruiz and the Digital Income System coach, I

         decided to purchase a package, which to the best of my recollection was at the $3000

         level.

      12. I mailed two cashier's checks or money orders to Digital Income System. To the best of

         my recollection, the first was a $1500 check/order made out to Digital Income System,

         and the second was a $1500 check/order made out to Ruiz.

      13. Prior to mailing my payment to join Digital Income System, I never received a written

         disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the

         membership.

      14. Ultimately, I obtained no sales.



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                                                                                           PX 3, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 8 of 484

   Declaration of Shannon Bailey


       15. For several months, I called my coach several times to discuss why no sales had closed.

          He encouraged me to be patient and purchase additional traffic from a vendor

          recommended by Digital Income System. I decided to do so. To the best of my

          recollection, I paid up to $1500 for additional traffic from one or more of the vendors

          recommended by Digital Income System.

       16. But, again, no sales resulted.

       17. As a result, I have made no money through Digital Income System.

       18. If I had known that Digital Income System was not going to close any sales for me, I

          would never have paid any money for this supposed business opportunity. I lost

          approximately $4500 to Digital Income System.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct. Executed on August l~ , 2020.

                                                        ~f:d1
                                                        Shannon Bailey
                                                        Brandon, Mississippi




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                                                                                        PX 3, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 9 of 484




                 PLAINTIFF'S EXHIBIT 4
                                 (PX 4)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 10 of 484

   Declaration of Gena Barron




                                DECLARATION OF GENA BARRON

          I, Gena Barron, declare the following:

      1. My name is Gena Barron, and I am a United States citizen who is over the age of

          eighteen. Presently, I live in Hadera, Israel.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. On August 5, 2019, I received an e-mail from Brandon Frye, who I was familiar with

          through Facebook, giving me the same information that he gave me when we first talked

          around May 5. Brandon was promoting Digital Income System, a work-at-home business

          opportunity. Brandon was on Facebook and Y ouTube showing the checks he was getting

          by being a member of Digital Income System and describing the benefits of Digital:

                 Maybe we're getting a little too spoiled in Digital Income System ...

                 The Sales Team Does all of the Hard Work For Us:

                 •   Closes ALL Sales
                 •   Sending Us Traffic
                 •   Does ALL the Followup
                 •   On-boarding my Members
                 •   Taking Payments
                 •   Etc.

                 How simple is that?


                 All you have to do is join, decide how you want to be paid, and start driving
                 traffic. And I show you ALL my top marketing options. Plus, the company (and I)
                 will be driving free traffic to your system from day one!
          (Attachment A is a true and correct copy of the August 5th e-mail.)
      4. On May 7, 2019, Brandon sent another e-mail in which he said that "Having your own

         personal Sales Team makes ALL the difference in the world! Today was just another 4

         Figure Day with DIS. This system is so freaking simple, I love it!" One of the promises

                                                    1

                                                                                           PX 4, pg.1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 11 of 484


      Declaration of Gena Barron


             that be emphasized was that Digital Income will send any member who joins free traffic

             for life: '"The company provides free ongoing traffic FOR LIFE with your one-time

             purchase membership." (Attachment B is a true and correct copy of the May 71he-mail

             that I got from Brandon.) That was very enticing to me because traffic is a major factor

             in trying to make money. The more truffic, the more chances to make money. I asked

             Brandon all of the questions in the world to make sure that this was a good investment.

             He was so sure that I would make money from this system. In fact. Brandon told me that

             he was going to send me traffic from his own traffic rotator until I got my first sale~

         S. I next talked with Derek at Digital Income System. l called and left him a message, and

             he returned the call right away. He told me that things were going very well and that this

             company was about to explode and do extremely well. He told me that for every sale that

             comes into Digital, they would take 200/o of lheir share and dump that money into _buying

             and creating traffic, which would go to the members who joined. Traffic is the biggest

             issue for making money in this type of business opportunity. Derek told me that Digital

             was so well prepared that handling all of the traffic they were expecting would not be a

             probiem. Aiso, Derek told ~e that ifl joined at the$ 12.000 level, the company would

             sign me up for the next level up (the $25,000 level), and thus I would set 25 credit points

             in the traffic rotator, which would be a Jot more traffic than ifljoined at any other level.

            The higher the level, the more traffic credits for the rotator one would get. That was a

            major factor in my decision to get the $12,000 level.

         6. On May 9, 2019, based on what Brandon and Derek told me, I decided to join Digital

            Income System at the $12,000 level kno\\ing I would get a lot of traffic from the

            company as well. I told Derek that I ·was joining at the $ t 2,000 level. He sent me an e-


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 12 of 484


      Declaration of Gena Barron


             mail congratulating me for deciding to join and giving me instructions on how to join; he.

             told me that Digital Income would sign me up for the $25,000 level. (Attachment C is a

             true and correct copy of that e-mail thread that included th<? May 9 e-mail from Derek.)

         7. Derek's e-mail told me to get two checks, one made out for $6000 for Christopher Frye

             and one for $6000 made out to Digital Income System Inc. I was to mail the two

             personal checks to Coach Derek, Digital Income System Inc., 6619 South Dixie Highway

             #329, Miami, Florida 33143. .

         8. I sent the two checks to the Miami, Florida, address by overnight mail, as I was told to

             do. (Attachment Dis a true and correct copy ofmy check made out and sent to Digital

             Income System.) I was· then told to e-mail the tracking number of the overnight package,

             which I did. Once I had e-mailed the tracking number, I was to go online and fill out an

             order form, which I did.

         9. The company signed me up for the $25,000 Level. I was assured that I would get a lot of

             traffic at this level.

         10. Before mailing my payment t~ join Digital Income System, l never received a written

             disclosure document or a written earnings ciaim document dmt told me how many and

             what percentage of Digital Income System members earned specific commissions or a

             range of commissions. I also never received such documents after I paid for the

            membership.

         J1. But Digital Income System hardly sent any traffic for me or others. After a couple of

            weeks, I complained to Derek that I was not getting traffic from them as was promised.

            I put pressure on him, and he then sent me traffic for four or five days and that was pretty

            much it. There was very little traffic after that, and there were always excuses why_ the


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 13 of 484


      Declaration of Gena Barron


             traffic was not coming. Excuses Jike "technical issues," or "waiting for more traffic to

             come," etc.I also spent around $700 for traffic from other sources. I was very frustrated

             that what the company promised me ·was not delivered and felt lhat they were not telling

             the truth as the volume of traffic promised never arrived.

         12. At one point, there were up to30-50 names in myback office that came in through my

             traffic and who asked for a call back from the coaches, but no one ever signed up to join.

             I talked with several of the people whose names were in my capture pages; they told me

             that the coaches from Digital Income never called them. When I asked Derek, he would

             say that he could not reach them.

         13.1 also argued with Brandon about the traffic. I asked him how could he keep promoting

             to new people that Digital Income System is going to send free traffic for them ifhe can

             see that DIS hardly sent any traffic for us nnd they always have excuses as to why the

             traffic is not going out.

         14. I also argued with Brandon about the traffic that he promised me - enough traffic to help

             me close my first sale, while in reality l only got a total of about 20-100 leads from his

             personai rotator.

         15. Before I signed up, I asked Derek what about possible problems with the FTC after the

             MOBE and Digital Altitude cases. He told me not lo worry, that Digital Income was a

            software developer. But Digital does not really sell any software product. All that I sec

            that they sell is the possibility of signing up more members for their supposed e-leaming

            type courses.

         16. Before I signed up, I also asked Derek about gro\\th-1 asked him if they have enough

            coaches to close the sales as the volume is going to pick up real quick and they have to be


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 14 of 484
                                                                                                    -· ...   ·.··.




      Declaration of Gena Barron


              prepared to· call people back. Derek assured me that they were well-staffed and that there

              would not be any problem for them to add staff as quickly as needed to call everyone

              back quickly.

           17. I never bad any sales from Digital Income System. I lost $12,000 to Digital Income

              System. Had I known that Digital Income System was NOT going to send a lot of traffic

              for me, as Derek desaibed,"as a real good amount of steady traffict 1 would not have

              sent them any money.Had I known that Brandon would not actuaUy send enough traffic.

              for me to help me make my first sale, as he promised, I would hnve not sent them any

              money. Had I known that there would be shortage of coaches and my leads who asked

              for a call-back would not be called back due to Digital Income being under-staffed, I

              would have not signed up for the program and I would have not sent a penny.



      To summarize, I decided to send $12,000 to DIS based on 3 major things I was promised:

      #1. I would get steady traffic from DIS

      #2. Brandon will send enough traffic to help me have my first sale

      #3. The company is well staffed to handle all calls.

      HOWEVER, these 3 main issues were never delivered as rromised and turned out to be 3 lies

      which I based my buying decision upon. Of course if I knew the truth, l would have never sent

      money to Join.

      Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the United States of

      America that the foregoing is true and correct. Executed on August   80 2020.
                                                                        ~
                                                                       Gena Barron
                                                                       Hadera, Israel


                                                          s




                                                                                                        PX 4, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 15 of 484




                        ATTACHMENT A




                                                                  PX 4, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 16 of 484




  From: Brandon
  To:Gena                            >
  Sent: Monday, August 5, 2019, 4:19:53 PM EDT
  Subject: Whoops .. I ripped up some money!




    Quick, funny story of something that happened today ...

    When I got my package today from Digital Income System I must've been a little
    TOO excited ...




    I ripped right through one of the checks LOL

    I'm pretty sure the bank will still accept it though. :)

   You'd think that the ONE THING I have to do (get my mail) I could handle. But
   no hahaha

   Maybe we're getting a little too spoiled in Digital Income System ...

   The Sales Team Does all the Hard Work For Us:

   - Closing ALL Sales
   - Sending Us Traffic
   - Doing ALL the Followup
   - On-boarding my Members
   - Taking Payments
   - Etc.

   How simple is that!?

   >> See Our Team Results<<

   All you have to do is join, decide how you want to be paid, and start driving traffic.
   And I show you ALL my top marketing options. Plus, the company (and I) will be
   driving free traffic to your system from day one!

   Just don't rip up the checks like I do (hehe)




                                                                                  PX 4, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 17 of 484




                        ATTACHMENT B




                                                                  PX 4, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 18 of 484




  From: Brandon
  To: Gena
  Sent: Tuesday, May 7, 2019, 12:48:10 AM EDT
  Subject: Your Own Personal Sales Team ...




                     Having your own personal Sales Team
                     Makes ALL the difference in the world!



                Today was just another 4 Figure Day with DIS :)

                              This system is so freaking simple, I love it!

                                                 3 Steps to Success:
                                            1. Drive leads to your System

                                          2. Sales Team Follows up with
                                         leads & closes the sales for you

                              3. They send a BIG Check to Your Mailbox


                                                      And better yet. ..

                   The company provides free ongoing traffic FOR LIFE
                        with your one-time purchase membership.

      I also include some incredible bonuses for my team members who
                      join with me. Check those out here.

                     Isn't it time you FINALLY reached success?
                 Let our team of professionals close your sales tool




    vcu "'"' unsubscribe ~- change your contact details:-: ••r·· :·-:r,-




                                                                              PX 4, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 19 of 484




  C




                        ATTACHMENT C




                                                                PX 4, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 20 of 484




  From: Derek Jones <coachderek di italincomesystem.com>
  To: Health Highway <
  Sent: Tuesday, June ,                  ED
  Subject: Re: PLEASE REPLY: IN NY.... Re: GENA BARRON / DIS Join Instructions - Professional
  (Bonus Authorized)

  Yes they are already resuming now, we have been waiting for delivery and they should start within 24 -48
  hours. Its been crazy trying to squeeze in the work, but we are near the finish line.

  On Tue, Jun 4, 2019 at 4:21 PM Health Highway<                              wrote:
  Just want to get an update when
  you expect the company leads to resume?



  On Tuesday, June 4, 2019, 4:18:55 PM EDT, Derek Jones <coachderek@digitalincomesystem.com>
  wrote:


  Hey Gena good afternoon! I just spoke to Brandon Frye, he says you are looking for me? What can I do
  for you?

  On Tue, May 14, 2019 at 3:34 AM Health Highway -                              wrote:
  Hi Derek,

  My tracking shows my package arrived in NY already
  so should be with you any day now! earlier than expected.
  or by the 17th like i thought.

  This is my tracking link:
  https://tools. usps .com/go!TrackConfirmAction?tLabels=LX008283152 IL


  In any case,
  Are you getting my SMS messages?

  Also reminding you to send me this instruction letter with
  the ambassador level sign up and upgrade to Excecutive.

  Thanks,
  Waiting to hear this time:)

  Please reply to me ok?

  Gena



  On Friday, May 10, 2019, 11:36:35 AM GMT+3, Health H i g h w a y - w r o t e :



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                                                                                           PX 4, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 21 of 484




  Hi Derek,

  I just sent my 2 checks. Was able to make it to the Post office
  Sometime between the 17th and 20th you would receive it.

  And Good News.,.

  So looking at it and the time payments get to you,

  and at my potential to get all my money back with

  2-3 sales or even one big one ... I decided it was

  The right thing to get level 4 and be upgraded to the

  Top level 5! The 25K level! Yeah!

  I see you guys got a really good thing going on here
  best i have ever seen and I know you guys have experience
  so i feel confident.




  So please make sure you upgrade me
  to the top level as i sent 2 checks of 6K each.
  "View Attachments"

  I filled out the order form.



  1. Can i please get a formal invoice for my taxes?

  2. Can you also send me a new Letter like this
  showing it with Level 4 Embassador so that
  my paperwork will be the same as the order form
  for my records. because here it shows it's peer to
  peer and all the info about Christopher's check as
  well which explains the 6000/6000 with all the correct info.


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 22 of 484




  Thanks,

  Gena Barron

  Under Christopher Frye# 3713



  My invoice should be payable to
  my company in the US:

  Gena Barron




  Thanks Derek!

  Gena




  On Thursday, May 9, 2019, 2:16:21 AM GMT+3, Derek Foley <coachderek@digitalincomesystem.com>
  wrote:



  Hey there Gena,

  It was great speaking to you today and congratulations on your decision to join
  the Digital Income System. Member ID# 3713 (Christopher Frye) will be very pleased
  to hear the good news.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 23 of 484




  The Digital Income System utilizes direct peer-to-peer payments for your
  convenience.

  The total amount for Level Ill is: $5,000.

  (Coach's Note: Authorize Upgrade to 12klevel: DJ378S3U12)




  Instructions to join Digital Income System at Level Ill {Professional):



   Step 1) Please get 1 check for the amount of $2500 made payable to:

  Christopher Frye



  Step 2) Get a 2nd check for the amount of $2500 made payable to:

   Digital Income System Inc.



  Step 3) Mail all checks to:

  Attention: Coach Derek
  Digital Income System Inc.
  6619 South Dixie Highway #329
  Miami, FL 33143

  *Send funds via FedEx/ UPS Overnight mail*



  Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
  receipt.

  My email is: coachderek@digitalincomesystem.com




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                                                                             PX 4, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 24 of 484




  Step 5: Once you've sent the two payments to the address above, fill out the order
  form at:

  http://digitalincomeform.com



  *Note: Your referral ID# is: 3713 and your coach's name is Coach Derek*




  Once our DIS administrators have received your completed order form and your mailed
  payments, we will set up your marketing suite with your join bonus at the
  Ambassador ($12,000) Level.

  We will also email you login details which contain your own user ID# and detailed
  instructions for starting your first advertising campaign. Typically this process takes less
  than 24 hours from the time we receive your payment.



  Feel free to email or text message me with any questions during this process.

  Looking forward to your success on our team.



  Email: coachderek@diqitalincomesystem.com
  Phone: (305) 720-6952



  Email: coachderek@diq italincomesystem .com
  Phone: (305) 720-6952



  Email: coachderek@diq italincomesystem. com
  Phone: (305) 720-6952




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                                                                                 PX 4, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 25 of 484




  C




                        ATTACHMENT D




                                                                PX 4, pg. 16
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 26 of 484


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                                                                                                                                               XX-XXXXXXX
     GENA I. BARRON




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 27 of 484




                 PLAINTIFF'S EXHIBIT 5
                                 (PX 5)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 28 of 484




                              DECLARATION OF DAWN BELILL

          I, Dawn Belill, declare the following:

      1. My name is Dawn Belill. I am a United States citizen who is over the age of eighteen,

          and I live in Zephyrhills, Florida.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In late 2019, I saw Facebook posts by Jessica Hedrick, marketing a money-making

          opportunity through a company called Digital Income System.

      4. Jessica's posts explained that, by purchasing membership in Digital Income System,

         individuals obtained the right to sell Digital Income System membership to others for a

         50% commission.

      5. Jessica's posts included photographs of the commission checks she had received through

         Digital Income System. To the best of my recollection, some of these checks were for

         $500, some were for $1,500, some were for $3,000, and some were for more. Jessica's

         posts stated that she had made tens of thousands of dollars per month through Digital

         Income System. She indicated that others could also earn substantial income by

         purchasing membership in Digital Income System.

      6. Jessica explained that, once a participant purchased membership, he or she would receive

         access to a Digital Income System "capture page" associated with his or her member

         account. The capture page included a place for interested individuals, or "leads," to enter

         their names and contact information to request a callback from a Digital Income System

         "coach."

      7. Jessica indicated that Digital Income System would advertise each member's capture




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 29 of 484

   Declaration of Dawn Belill


          page to prospects or ''traffic." Depending on a member's purchase level, the member's

          capture page would be "rotated" through traffic a certain number of times. The higher

          the membership level, the more the traffic.

      8. According to Jessica, Digital Income System coaches, who were experienced marketers,

          would then call each lead who had requested a callback through a member's capture page

          and attempt to close a sale. If the sale closed, the member would receive a 50%

          commission.

      9. In sum, Jessica said, "literally, you don't have to do anything." She told me to think

          about membership as "an investment, not a cost" that "lasts the rest of your life." She

          said that Digital Income System had "1000% changed [her] life." Jessica said she wasn't

         even the highest paid member of Digital Income System. She said there were others who

         had earned well over $1 million.

      10. At the time, I knew of other multi-level-marketing programs that effectively required

         members to advertise on Facebook or contact prospects in order to make money. I told

         Jessica that I was unwilling to do either, so if Digital Income System required either, I

         would not join. She again assured me that I would not need to do either because Digital

         Income System would do all of the marketing for me. She told me that she herself had

         received her commissions for "literally doing nothing."

      11. Jessica also noted that she posted Facebook videos of herself opening envelopes with

         commission checks so people could see that "it isn't a scam."

      12. I told Jessica that, although I was interested, I didn't have enough money to purchase

         membership. She recommended that I take out a loan. Specifically, she pointed me to

         Lending Tree and advised me to apply for a personal loan for "consolidation or home



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 30 of 484

   Declaration of Dawn Belill


          improvement," not a business loan.

      13. Jessica then asked for my phone number so she could connect me to someone called

          Derek Jones, or Coach Derek, to learn more about Digital Income System. Derek never

          called me.

      14. Based on Jessica's representations, I decided to purchase a $3,000 membership. I could

          not afford to pay the $3000, so I took out a loan, which requires repayment in the form of

          36 monthly installments of $102.81 each.

      15. Based on Jessica's representations, I believed it was worth taking out the loan and that,

         through Digital Income System, I would ultimately become debt free, pay off my house,

         help my kids, and save money.

      16. Jessica messaged me instructions for paying for my Digital Income System membership.

         (Attachment A is a true and correct copy of the message that Jessica sent to me.)

      17. On December 30, 2019, pursuant to the Jessica's instructions, I mailed two cashier's

         checks-one for $1500 made out to Jessica Hedrick and one for $1500 made out to

         Digital Income System-to the following address:

         Attn. Coach Derek
         Digital Income System, Inc.
         6619 South Dixie Highway #329
         Miami, FL 33143

         Attachment Bis a true and correct copy of the cashier's check that I made out and mailed

         to Digital Income System.)

      18. Prior to mailing my payment to join Digital Income System, I never received a written

         disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 31 of 484

   Declaration of Dawn Belill


          membership.

       19. After mailing my cashier's checks, I received a welcome email from Digital Income

           System with a link to my capture page and credentials to a "backoffice" page.

          (Attachment C is a true and correct copy of the welcome email I received.)

       20. The last time I was able to access my backoffice in February 2020, there was only one

          lead listed there. Since then, I have received an error message when attempting to access

          my backoffice.

      21. illtimately, I obtained no sales. As a result, I have made no money through Digital

          Income System.

      22. Ifl had known that Digital Income System was not going to close any sales for me, as

          Jessica and Derek promised it would, I would never have paid any money for this

          supposed business opportunity. I lost $3000 to Digital Income System.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct. Executed on AugustcJ4 , 2020.

                                                       ChMW 61 Q~ll
                                                        Dawn Belill
                                                        Zephyrhills, Florida




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 32 of 484




                         ATTACHMENT A




                                       5                         PX 5, pg. 5
    Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 33 of 484
       The Digital Income System utilizes direct peer-to-
       peer payments for your convenience.
       The total amount for Level II is: $3,000.
       (Coach's Nole: Authorize Upgrade to 5klevel:)


       Instructions to join Digital Income System at Level II


        Step 1) Please get 1 cashiers check for the
       amount of $1500 made payable to:
       Jessica Hedrick

       Step 21 Get a 2nd cashiers check for the amount of
       $1500 made payable lo:
        Digital Income System Inc.

       Step 31 Mail afl checks to:
       Attentton: Coach Derek
       Digital Income System Inc.
       6619 South Dixie Highway #329
       Miami, FL 33143
                                                                                              I
       •Send funds via FedEx / UPS Overnight or USPS
       Express mail"

       Step 4) Email me with the tracking number from
       your Fed-Ex/UPS Overnight or USPS receipt.
       My email is: rc:~,·J1d(•'."•-~~,~.i.0:q I i"- 1:--..:. ·yn•/:-::,,f.!(•n-1 cc'T1
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       Step 5: Once you've sent the two payments to the
       address above, fill out the order format:




-      "Note: your coach's name is Coach Derek•




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 34 of 484




                         ATTACHMENT B




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 35 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 36 of 484




                         ATTACHMENT C




                                       9                         PX 5, pg. 9
   Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 37 of 484




From: "Digital Income System Customer Support" <customersupport@digitalincomesystem.com>
To:
Sent: Tue, Jan 7, 2020 at 4:10 PM
Subject: DIS Log In
Hello Dawn,



Welcome to the DigitallncomeSystem ! Your personal Referral ID# is:      2434
Your Capture Page URL is: http://digitalincomesystem.com/2434

Your system is already set up to receive traffic and our consultants are standing by, ready to engage your potential
buyers.

 Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a few days to start
delivering new traffic to your website. Please remember that this traffic is a special bonus from our team to you, and is
meant to supplement but not to replace your own traffic and efforts.

Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button that says "Get Traffic
Here" to access our exclusive traffic resources.

 To be successful you have to be consistent with your advertising. The secret to success is filling up your pipeline with
prospects and letting the system and our coaches work on your behalf. If you need assistance or have questions, please
send an email to:    customersupport@digitalincomesystem.com

Our DIS support team is always available to assist you technically, and if needed, to forward your request to a business
consultant.

 Because our consultants are engaged with your leads and spends most of their time on the phone with potential
customers, please make sure you do not contact them directly until you have given our customer support staff a chance
to resolve the issue for you.



You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php



Log in with this email:




                                                             10                                      PX 5, pg. 10
   Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 38 of 484


And type in this password:

                                 -
(Your login password can be changed in the account section, after your first login, if desired).


When you log in, be sure you watch the fast start video because it will show you how to navigate the back office,

how to access a few basic features, and most importantly, how to start your first marketing campaign.



Welcome again from the DIS team, we look forward to working with you and to your continued success!



 -DIS Adm in




                                                            11                                     PX 5, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 39 of 484




                  PLAINTIFF'S EXHIBIT 6
                                  (PX 6)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 40 of 484


  Declaration of Robert Blake


                              DECLARATION OF ROBERT BLAKE

         I, Robert Blake, declare the following:

     1. My name is Robert Blake, and I am a United States citizen who is over the age of

         eighteen. I live in Mobile, Alabama.

     2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

        could and would testify competently to them.

     3. I am an auto mechanic and was looking to help myself start a new auto mechanic

        business. I was looking for money to help start the business. In 2019, a friend told me

        about a company being advertised on Facebook that was making money for people. I

        took a look at a Facebook post by Cecily Brick, who was telling viewers that as long as

        you could invest in something called Digital Income System, you could make money. At

        one point, she said "you will make money."

    4. I sent in my contact information in the link provided on Brick's post. I was then

        contacted by someone at Digital Income System named Derek Jones. He told me that

        everyone was making money. He said it was easy to do - just sign up and invest and

        make money. Derek told me that I would make up to $1500 a check a couple of times a

        week. Derek also told me that if I invested at the $3000 level, they would increase my

        membership level to the $5000 level. At the $5000 level, I would make up to $2500 per

        commission check.

    5. I was worried about the scams that are out there, but Cecily and Derek convinced me that

        this was a legitimate operation.

    6. Cecily told me "This couldn't be a better opportunity. I have sooo many that want in but

        don't have the funds or the financing. So, kudos to you!!"



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 41 of 484


  Declaration of Robert Blake


     7. What Cecily Brick and Derek Jones told me convinced me to join Digital Income

         System. On July 31, 2019, after I told Derek that I would join Digital Income System, he

         sent me an e-mail congratulating me on deciding to join Digital Income. He also gave

         me instructions on how to send him the money. I decided to join at the $3000 level, so

         Derek told me to make out one money order for $1500 to Cecily Brick and one made out

         to Digital Income System for $1500. Derek told me to send both money orders to Digital

         Income System in Miami, Florida. He also told me to send the tracking number after I

        put the money orders with a courier. (Attachment A is a true and correct copy of thee-

        mail that I received from Derek Jones on July 31, 2019.)

     8. In order to afford the $3000, I had to get a loan on my truck. I then se:Qt in the money

        orders to Digital Income System at the Miami address.

     9. Before mailing my payment to join Digital Income System, I never received a written

        disclosure document or a written earnings claim document that told me how many and

        what percentage of Digital Income System members earned specific commissions or a

        range of commissions. I also never received such documents after I paid for the

        membership.

     10. I got a few leads in my back office early on, but no sales came from them.

     11. On September 10, 2019, I texted Cecily "What else can I do to get this going-it's been

        quite a while compared to what I was led to believe it would."

     12. Other leads appeared in October and then in March 2020, but again no sales were made.

        All along the way, I was expressing my concern to Cecily and trying to get Derek's

        attention to get me some sales. Nothing seemed to work.

     13. I lost $3000 to Digital Income System. I feel like I gave away $3000 for nothing. I still


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 42 of 484

  Declaration of Robert Blake


         owe a lot of money on the loan I took out to pay for my investment in Digital Income

         System. If I had known that they were not going to close sales and send me commission

         checks, as they promised that they would do, I would never have paid them any money.

                  Pursuant to 28 U.S.C. §1746, I declare under penal           that the foregoing
         is true and correct. Executed on August~, 2020.


                                                              obert Blake
                                                             Mobile, Alabama




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 43 of 484




                        ATTACHMENT A




                                                                  PX 6, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 44 of 484




  From: Derek Jones <discoachderek@gmail.com>
  Date: Wed, Jul 31, 2019, 1:59 PM
  Subject: DIS Join Instructions 3k - Director ( Upgrade to 5k - Professional )
  To:


  Hey there Rob,

  It was great speaking to you today and congratulations on your decision to join
  the Digital Income System.

  Member ID# 8528 (Cecily Brick) will be very pleased to hear the good news.



  The Digital Income System utilizes direct peer-to-peer payments for your
  convenience.

  The total amount for Level II is: $3,000.

  (Coach's Note: Authorize Upgrade to 5k Level: DJ378S3U5)




  Instructions to join Digital Income System at Level II (Director):



  Step 1) Please get 1 cashiers check for the amount of $1500 made payable to:

  Cecily Brick



  Step 2) Get a 2nd cashiers check for the amount of $1500 made payable to:

  Digital Income System Inc.



  Step 3) Mail all checks to:

  Attention: Coach Derek
  Digital Income System Inc.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 45 of 484




  6619 South Dixie Highway #329
  Miami, FL 33143

  *Send funds via FedEx/ UPS Overnight or USPS Express mail*



  Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
  receipt.

  My email is: coachderek@digitalincomesystem.com



  Step 5) Once you've sent the two payments to the address above, fill out the order
  form at:

  http://digitalincomeform.com



  *Note: Your referral ID# is: 8528 and your coach's name is Coach Derek*




  Once our DIS administrators have received your completed order form and your
  payments, we will set up your marketing suite with your join bonus at the
  Professional ($5,000) Level.

  We will also email you login details which contain your own user ID. Typically this
  process takes less than 24 hours from the time we receive your payment.



  Feel free to email or text message me with any questions during this process.

  Looking forward to your success on our team.




 Email: coachderek@digitalincomesystem.com
 Phone: (305) 720-6952



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 46 of 484




                  PLAINTIFF'S EXHIBIT 7
                                  (PX 7)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 47 of 484

   Declaration of Kim Bova


                                    DECLARATION OF KIM BOVA

          I, Kim Bova, declare the following:

      1. My name is Kim Bova, and I am a United States citizen who is over the age of eighteen.

         I live in Anderson, Indiana.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In July 2019, I was on Facebook and saw an instant message from a Kaitlyn Scott that

         popped up on my feed as an advertisement. I read the advertisement, which I thought

         sounded good. The ad was for a program of Digital Income System and talked about

         Kaitlyn training people to work with Digital Income System.

      4. Screenshots of what Kaitlyn Scott sent to me includes one showing "Auto-Pilot$$$;

         auto-pilot money." (Attachment A is a true and correct copy of that screenshot.) Kaitlyn

         explained that I would make money through commissions. I would just have to check my

         back office, which Digital Income System would make for me as part of a website that

         they would make for me, to see what leads there were waiting to be contacted; Derek and

         Digital Income System would take care of making the contacts with the leads and would

         close the sales. (Attachment Bis a true and correct copy of a Kaitlyn Scott post.)

      5. Kaitlyn told me that Derek Foley trained her in the Digital Income System. She told me

         that it was guaranteed money from Digital Income System, but that they could not

         promise which level any particular person would buy at.

     6. I did hesitate to join because of the high cost with no products, but Kaitiyn told me that

         traffic was secured. I communicated with Kaitlyn on and off for a while. She kept

         telling me that Digital Income System was a done-for-you system.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 48 of 484

  Declaration of Kim Bova


     7. In April 2020, I finally decided to buy a membership in Digital Income System. I asked

         Kaitlyn if I could join at the $1000 level. She said that she would have to ask Derek

         whether he would accept me at that level. On April 23, 2020, Kaitlyn got back to me to

        tell me that Derek would accept me at the $1000 level. (Attachment C is a true and

         correct copy of screenshot from Kaitlyn saying that I could join Digital Income System.)

     8. Kaitlyn then told me that to get started, I would need to fill out the paperwork and send in

        the payment. Then the coach would create my account within 24 hours and he would

        start immediately working for my success. (Attachment Dis a true and correct copy of

        that screenshot.)

     9. Kaitlyn told me that I would receive certified checks and money orders primarily a<; my

        commissions. Sometimes I would receive credit card payments through something called

        "cash app." (Attachment Eis a true and correct copy of that screenshot.)

     10. Kaitlyn sent me the "congratulations" message with instructions on how to pay through

        the cash app. (Attachment Fis a true and correct copy of that screenshot.)

     11. I sent my $1000 payment to Kaitlyn through Cash App. My paperwork was approved on

        April 27, 2020. Kaitlyn told me that she would send the company their half of my

        payment. (Attachment G is a true and correct copy of the screenshot showing her

        comment.) (Attachment His a true and correct copy of the acceptance by Kaitlyn and her

        signature on that acceptance.)

     12. On June 24, 2020, I logged into my back office and saw that I had one lead. I contacted

        Derek to find out if there had been a sale yet. I told him that I was trying to understand

        how I was to make money with Digital Income System. Derek replied that Digital

        Income System purchases advertising from third parties; that traffic is delivered into the



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 49 of 484

   Declaration of Kim Bova


          system automatically to go to members. He said that they then communicate with the

         lead by initially using the CRM automation. He said that those links are connected as

         part of Digital Income System's referral program. (Attachment I is true and correct

         copies of several of the text messages from Derek Foley on June 24, 2020.)

      13. At that point, Derek told me that Facebook promotion was something that I could do for

         now. I was surprised that he was telling me that because Digital Income was supposed to

         be getting my leads for me. He did say that Digital Income was working on website

         traffic. (Attachment J is a true and correct copy of that text from Derek.)

      14. On July 7, 2020, I logged back into my back office and saw the names of 5 or 6 other

         leads. I asked Derek if anyone had joined yet. He said that I would be notified directly if

         anyone joined. (Attachment K is a true and correct copy of that text from Derek.)

      15. To this day, I have not made anything from Digital Income System. I checked the app

         because that is where my dashboard is that tells me who was interested. I have had

         emails from Derek and he says that there are still no results.

      16. Now the app says "App not found." Then I tried to communicate with Kaitlyn and felt

         that she left me really in the dark! I feel like I was taken advantage ofby both Kaitlyn

         and Derek, especially when there is zero communication! I have tried to communicate

         with both of them.

      17. My last conversation with Derek was on August 2, 2020, and my last conversation with

         Kaitlyn was September 9, 2020.

      18. I sure could have used that money now. I have lost $ 1000 to Digital Income System and

         Kaitlyn Scott. Ifl had known that I was not going to make any money, as Digital Income




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 50 of 484


    Declaration of Kim Bova




           System and Kaitlyn Scott had told me I would do, I would not have paid them any

          money.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on November _j_, 2020.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 51 of 484




                         ATTACHMENT A




                                                                  PX 7, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 52 of 484


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                            Kaitlyn
                            Active 33 minutes ...                ••     8


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                     it may not have permission to share
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                                                  Requesting a call



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 53 of 484




                         ATTACHMENT B




                                                                  PX 7, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 54 of 484




                     tili\          Kaitlyn Scott added 40 new photos.
                     ~ January 20 at 4:31 AM · ~

                     ~~         /f 'f::·   SO MANY PEOPLE WINNING !!!             li :gf- t::
                     OKAY GUY, LISTEN-UP ~ ...

                     XX             Something HUGE is Coming VERY SOON                 XX
                     This Automated Business System LITERALLY Changed ...

                     $.            1,2.     MY WHOLE DAMN LIFE              9   fgi.   $

                     & As YOU Can Obviously SEE ~ ...

                     It's ALSO Changed HUNDREDS Of Others Lives TOO !!

                     What's COMING NEXT is Going To Take Us ALL To ...

                     ,t ,t ,t ,t            A WHOLE NEW LEVEL!!!!!!             ,t ,t ,t ,t.

                     Don't Say I Didn't Tell You So          a. :,.,;j ..
                     You DO NOT ff£ Want To Miss Out on This MONEY Train ..




                     •      •      ONLY Go-Getters Will Get Here • •

                     XX            NOT ~ Watchers OR Excuse Makers                XX
                     #TEAMWINNING (l,

                     The Week !!! .. This Morning I Went To The Nail Salon _'fJ,
                     Ran Some Errands..;;;;,, And Did A Little Shopping OH &           •-·
                     I Need To Stop At The Bank To Deposit More Checks into
                     My Account            ;i ...... ~~e;'.yf $4,500 To Be Exact !!!         "r::-

                      o The BEST PART~        ??!! .. That is LITERALLY ONLY
                     Two Days Worth of Sales That My Coach Closed For Me
                     1J!'   !!!! .. ALSO     c,:: ... I Know I Have Tons of Messages in
                     My lnbox Right Now             I & Alot of People Are Eager To Get
                     Started with This Opportunity :{ .. So As Soon As I Get
                     Home              , I'll Make Sure To Respond Back To Everyone and
                     Get Those That Are READY .... To Take Charge of Their Life
                     & Income Set-Up with My Personal Success Coach ",_..




                                                                                                     PX 7, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 55 of 484




                         ATTACHMENT C




                                                                  PX 7, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 56 of 484
               9:48 .. 0 0 ~     iid' &.       h'-,::::::::.
                                               - ~ -:- ,II
                                                             860Yo
                                                                 •
                           Kaitlyn
                           Active 34 minutes ...      ••     0


                    Hey Kim ! How are you?

                    So the lowest level is $1,000

                    I can definitely ask if He's
                    willing to accept you!




                                        Oh that would be
                                        awesome!!! Its a start




                    Absolutely!

           Q        I'll give him a call now:)




                    He said he is willing to accept
                    you rn




             ••
             ••
                                 "'-      Aa
                                                       •             PX 7, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 57 of 484




                        ATTACHMENT D




                                                                 PX 7, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 58 of 484
              9 :48 .. 0 0 ~ iJ cl' &.                n"-      ~
                                                      lllllt ~ 9   ,I
                                                                        860Yo •

                              Kaitlyn
                              Active 34 minutes ...           ••           8

                    What time is a good time for
                    him to contact you?




                                 Monday or Tuesday would
                                 be ok. Probably around noon
                                 or later. Bout how long will it
                                 take so I can make sure I
                                 have all the time we need.




                    So basically to get started you
                    fill out the paperwork & send
                    payment . Then your coach
                    creates your account within 24
                    hours & gets started
                    immediately working for your                                                 .
                    success

                    The phone call is only if you
                    have questions or I can answer
                    them

            ~       I 1-1-   .i.--:---1 - -


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             ••
                                    "'-       Aa


                                                                                  PX 7, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 59 of 484




                         ATTACHMENT E




                                                                 PX 7, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 60 of 484
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             0    Facebook   G   Oct 21, 9:50 PM

             ~ Facebook
             W,      Renee Robin Scott and others added to thei. ..

                     Okay, so you will receive
                     certified checks & money
                     orders primarily ,:"·.,! Sometimes
                     you will also receive credit card
                     payments and those are
                     accepted through an app called
                     "cash app". It's safe secure, I've
                     used it for years not for
                     business but for personal too.
                     Oh ! & they don't screw people
                     over in fees .. which is a plus lol
                     ••· You can accept the funds
                     on the app & have them sent to
                     your bank account/ debit card
                     immediately for a few dollars
                     or you can wait 3 business
                     days and funds are sent for
                     free

                     I'm going to voice chat you in
                     just a sec:)




                                                              -
                                                    I'm available


             ••
             ••
                                      "'-     Aa
                                                             •  .~
                                                                               PX 7, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 61 of 484




                         ATTACHMENT F




                                                                 PX 7, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 62 of 484
               9: 50 .. () () () ~ jJ tJ' ••• •           e
                                                    ~ ,I 85% •


             ~ 0
                   \W        Kaitlyn
                             Active 37 minutes ...
                                                     \.       ••   8
                                          Ok all good to go on the
                                          cash app.


                    Woot woot !! You're on the ball
                     .1••,




                                                     Yaaay!!!! ~ ~


                    Congratulations on Your
                    Decision To Join Kim!

                    The Digital Income System
                    Utilizes Peer To Peer Payments
                    For Your Convenience.

                    The Total Amount For Level
                    $1 K: $1,000.00 USO

                    Listed Below Are Steps To
                    Join:

                    Step 1: Download The CashApp
                    Application To Your Smart
                    Device & Follow The Steps To
                    Create An Account.

                    Step 2: Then 5          ~   $1,000.00


             ••
             ••
                    Tn "~l'"\ICCVCTJ::~A" Dlo~~o



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                                                                       PX 7, pg. 16
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 63 of 484
              9:51"00        O&iJ        et ••·    lf®~ .. 85% •

             ~     G ~~~~!~~          minutes...   \.   ••   8
                    Step 2: Then Send $1,000.00
                    To "$DISSYSTEM". Please
                    Ensure The CashApp Name
                    Listed in This Step is Typed
                    Exactly As Shown Above.

                    Step 3: Next Let Your Coach or
                    Sponsor Know When Your
                    Payment Has Been
                    Submittedm

                    Step 4: Once Your Payment
                    Has Been Confirmed, Your
                    Coach & Sponsor Will Start
                    Creating Your Digital System
                    Marketing Suite For You!

                    Step 5: CONGRATULATIONSH!!
                    - All Steps Done! Save Contact
                    Information Below To Keep
                    Handy:)

                    Your Assigned Coach: Derek
                    Jones
                    Phone Number:
                    1-305-720-6952
                    Email:
                    coachderek@, + 1lincomesyst
                    em.com

             :: ID~
                                "'-       Aa                  .~
                                                                   PX 7, pg. 17
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 64 of 484
              9:s1.-oOO(ii1d' ···                       ltS~., 85% •

             ~ {§) ~!~~!~~             minutes...       \.   ••   8
                    Your Assigned Sponsor: Kaitlyn
                    Scott
                    Facebook: Kaitlyn Scott
                    lnstagram: kaitlynscott101
                    Email:


                    Welcome To The Team! We Are
                    Truly Looking Forward To Your
                    Success on Our Team!!!

                    -lrlr*** PLEASE NOTE -lrlr***
                    Due To Increased Demand For
                    This Coach and Sponsor, We
                    Kindly Ask You Complete ALL
                    Steps Above ASAP in Order To
                    Guarantee Assigned Coach and
                    Sponsor. Bonus Has Been
                    Verbally Approved Per Owner.
                    Thank You!


                    NOTES FOR DIS:
                    Paperwork Approved on:
                    4/27/20
                    Instructions Overviewed &
            G       Approved By: T"'-'1 Shane
                                          ~
                     .
            ~



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                                                                       PX 7, pg. 18
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 65 of 484




                         ATTACHMENT G




                                                                 PX 7, pg. 19
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 66 of 484
              9:s1 ~ ~    o o o e iJ •·· we~                ,I   as% •


             f-    0       ~:~!~~       minutes...   \.,   ••      0
                     NOTES FOR DIS:
                     Paperwork Approved on:
                     4/27/20
                     Instructions Overviewed &
                     Approved By: Tech Shane


                     Any questions don't hesitate


                                   Goin to cash app now. Be
                                   back in a few


                                Ok when I put in name listed
                                above, it shows your name,
                                is that right


                    Yes that's correct ! I am
                    responsible for sending
                    company their half


                                                           Ok kool


                    I' II send you my contract ! One
                    sec




             :: a         e;J
                                  "'-       Aa                      .~
                                                                         PX 7, pg. 20
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 67 of 484




                         ATTACHMENT H




                                                                PX 7, pg. 21
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 68 of 484
               9:51 ~ "     ono   0            w--::;::.
                                               ii         950
                                                          - ~ -:- ,ii      Yo •


             f-    G ~=~!~                  minutes...   \.           ••   0
                                            Ok and do you want my
                                            contact


                     I, Kaitlyn E. Scott, Will Be Accepting Funds
                     Via Electronic Transfer Via Smart Phone
                     CashApp Application on Behalf of: Kim Bova,
                     For Hereby The SOLE and ONLY Purpose of
                     Joining Digital Income System At Level $1K in
                     The Amount of $1,000.00 USO. Once Total
                     Invoice Amount of $1,000.00 USD Has Been
                     Paid in FULL By: Kim Bova, No Other Monies
                     Will Be Owed By Her, Whatsoever. I, Kaitlyn E.
                     Scott, From That Point on, Will Be Held Fully
                     Liable and Responsible To Ensure Funds Are
                     Submitted Accordingly To DIS. This Transfer &
                     Sale Have Been Verbally Approved By Owner.            ,.
                     Date: April 27, 2020


                     Prvlt Name;. Kai<;y~~


                     Signature Below,~        ~
                    To keep for your records ••

                    WOOTWOOT!!

                    Congratulations!!!!' •




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                                                                                  PX 7, pg. 22
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 69 of 484




                         ATTACHMENT I




                                                                 PX 7, pg. 23
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 70 of 484
                 6:sa • " e e e • e •·· ve ~ ·"' 21%.t.
                ~ ~        Derek                    \. ••    8

                              Like where do my URLs get
                              shared? My web pages


                                I want to understand more


                                    The capture link, landing
                                    link, callback link, etc.?

                              JUI\! '.2.d- AT : 2:20 PM



                     We actually purchase
                     advertising from third parties-
                     that traffic is delivered into the
                     system automatically and we
                     communicate initially using
                     CRM automation

                     those three links are connected
            •        as part of our referral program

                               JUh! 24 AT 1:32 P!Vi


                              Alrighftbasically the third
                              party~ is how I may get


                ••
                ••               d,
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                                                          • .~
                                         ,_                      PX 7, pg. 24
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 71 of 484




                         ATTACHMENT J




                                                                 PX 7, pg. 25
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 72 of 484
                 6:sa •   "   e e e • e •·· wa ~ ·"'           22%J.

                ~ ~           Derek                       ••     8
                                Sure wished I had known but
                                oh well. I'm just getting
                                concerned that nothing will
                                happen on me making
                                profits.

                                 JUl\'. 26 ,:;T 4:58 PM



                      We never expected a giobal
                      pandemic

                      wish we had Id have killed the
            •         stock market. ..

                                 JU/\1 26 A1 8:13 PM



                                   I know that's right!!!! So, is
                                   there anything I can do to
                                   promote?

                                JUN 21 AT 70:46 /-\IVl


                      Just f acebook promotion for
                      now- website traffic is another
                      animal altoget' ,J, ~nd we are
                      working on it ,

                ••
                ••                 ~
                                   -          Aa                  .~
                                          \                            PX 7, pg. 26
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 73 of 484




                         ATTACHMENT K




                                                                 PX 7, pg. 27
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 74 of 484
              6:59 .. 4'   e e e • e •·· vs~ .                        22%.t.

             ~     Cii     Derek                                 ••      8
                                          Ok thank you. I'll do my
                                          best..lol

                               ,JUL 7 AT 6:22           P11_lj



                             Hey Derek, hows it goin? I
                             got into my back office and I
                             see about 5 or 6 ppl and I
                             was wondering if anyone
                             has joined? I looked into the
                             actions and when I opened it
                             it shows some of them DIS
                             Activation successful. Heres
                             a screenshot:


                               Email's Sent




                      I                                                   Oote




                               Jut       7 /'.T   ?,:sc: r1v1


                    Hey, thats just the name of one
                    of our emails ~ we notify you
                    in person if a referral becomes
                    a paying customer

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                                                                                 PX 7, pg. 28
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 75 of 484




                  PLAINTIFF'S EXHIBIT 8
                                  (PX 8)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 76 of 484


   Declaration of Carolyn Brailsford


                          DECLARATION OF CAROLYN BRAILSFORD

          I, Carolyn Brailsford, declare the following:


      1. My name is Carolyn Brailsford, and I am a United States citizen who is over the age of

          eighteen. I live in Columbia, South Carolina.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. I have recently retired, but I wanted to boost my income. I was interested in whether I

          could make additional money by doing some business at home and was on the lookout

         for something. I received an e-mail from Justin Verrengia, who was someone who said

         he was making money with Digital Income System.

      4. I looked at Digital Income System's website and heard the claims in the videos on the

         website. The Digital Income members who put their story into the website made the

         claim about getting checks on a regular basis. The videos on the website showed them

         getting checks that were rolling in. The videos made it sound so easy to make money.

      5. I made the first contact with Digital Income System by putting my contact information

         into the its website. Derek Jones from Digital Income System then called me. Derek

         said that he would work very hard for me and that I would start making money. Derek

         said that he had the Number One team for making money under this system.

     6. Derek told me that Digital Income handles all leads, including leads from their own

         sources, and that they handle making all of the calls. He told me that I would not have to

         cold call anyone or bother anyone because the company does all the work for me. Derek

         had emphasized that the system was on auto-pilot to get sales. But Derek also told me

         that I could make money quicker if I bought a marketing campaign.


                                                          1
                                                                                            PX 8, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 77 of 484


   Deciaration of Carolyn Brailsford


      7. Derek told me that I would see leads in my back office that they were building for me (a

          minimum of 2 per month) and that I would get full training on how to advance my

          money-making. The deal was that everyone that was a lead attributed to me would get

          me a check ofup to $1500; Digital Income System would get any remainder of the 50%

          commission.

      8. Because Derek and the Digital Income website convinced me that I could make money

          from this opportunity, I decided to join at the $3000 level. Coach Derek sent me an e-

         mail congratulating me on deciding to join and giving me instructions on how to send the

         money. (Attachment A is a true and correct copy of the e-mail from Coach Derek.) He

         told me to send cashier's checks or money orders to Digital Income's address in Florida.

         In October 2019, I bought money orders for $1500 made out to Digital Income System

         and others worth $1500 made out to Justin Verrengia. I sent all of the money orders to

         Digital Income System's address in Miami, Florida. (Attachment Bis true and correct

         copies of the money orders for the $1500 that I made out to Digital Income System.)

      9. Before mailing my payment to join Digital Income System, I never received a written

         disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the

         membership.

      10. Shortly after I joined, I received an e-mail from someone working with Digital Income

         System, which had the following information about Digital Income:

                        No games. Lets talk ROI.
                        ROI= Advertising Cost+ (Amount received - amount spent) x 100
                        Return on 'Investment (ROI) is a serious subject.
                        Especially if you are a member of DIS.


                                                  2
                                                                                        PX 8, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 78 of 484


   Declaration of Carolyn Brailsford


                         Each DIS sale can bring as much as $12,500 in profit.
                         That's net profit. Not gross revenue.

                         In case you're new to business, that is a LOT of profit per sale, with a very
                         low overhead. So let's do some math.
                         Let's pretend that you are doing a text message campaign.

                         (I think we are supposed to do a disclaimer here about how prices and
                         commissions can vary.)
                         Obviously, not everyone who starts a marketing campaign makes a bunch
                         of money.
                         Of course, some do. And we are pretty awesome at making sure those
                         someones are our clients. (emphasis added.)
                         ok ... lets continue.

                         The average text message campaign costs about $150 bucks and reaches
                         about 2,000 people.
                         The average DIS sale? about $2,500 dollars in profit, per sale (a little
                         more, but let's estimate).
                         Since the number of sales per campaign varies, instead of calculating ROI
                         let's go BACKWARDS.
                         Let's take the average amount of profit, and figure out how many people
                         we can reach at the break even point,
                         At $2,500 dollars with SMS campaigns costing $150 per 2,000 people is ..

                        The break Even Point is .. wait for it ...

                        33 ... THOUSAND PEOPLE.
                        33,334 people, to be exact.
                        So imagine this:
                        An entire stadium of people Watches a 20 minute presentation on
                        the Digital Income System.
                        Then every one who joins pays you $2,500 dollars.
                        If you only get 1, you break even.
                        At two you double your money.
                        !f you get 12, you get $30,000.
                        And that assumes your leads don't buy a higher membership.

                        What if the commissions were $6,000 ($72,000)
                        What if they were $12,500?
                        You see? ROI for the Digital Income System is so high.
                        You can't afford NOT to do it.
  (Attachment C is this e-mail.)


                                                    3

                                                                                         PX 8, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 79 of 484


   Declaration of Carolyn Brailsford



      11. I was put me in touch with Robert Angelo at Business Website Development so that I

          could do a marketing campaign. Robert told me that they were reaching thousands of

          people who would be leads for me to get more business. He told me that people would

          use my website that Digital Income built for me in order to sign up for their own

          membership. He gave me an example of an elderly lady who had bought through Digital

          Income System, had bought a marketing campaign from him, and was making $50,000 or

          more. Robert told me that the coaches at Digital Income System would make the calls to

          the leads to sell them memberships. I would then get commission checks from these new

          members. I ended up sending Business Website Development $4000 to do marketing on-

         line and am also paying an additional $20 a month.

      12. After a while, I was very concerned that I was not getting any leads or any results. I tried

         to contact Derek, but he would not return my calls or messages.

      13. I have lost $7000 to this Digital Income System business. IfI had known that they were

         not going to get leads and convert them into sales, as they promised they would do, I

         would never have sent them any money.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true
  and correct. Executed on A:ngmt ...3D , 2020.
                         Oc_+oti.e-v--                    .,., .
                                                        Carolyn Br sford
                                                        Columbia, South Carolina




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 80 of 484




                         ATTACHMENT A




                                                                  PX 8, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 81 of 484




   From: Derek Jones <coachderek@digita1incomesystem.com>
   Date: Sun, Oct 13, 2019, 3:46 PM
   Subject: ATTENTION: (Corrected DIS Join Instruc.
   To:


   Hey there Carolyn!

   I'm so sorry I sent the previous email with incorrect details. The correct details are as
   follows;

   The total amount for Level U is: $3,000.

  (Coach's Note: Authorize Upgrade to 5k Level: DJ378S3U5)




  Instructions to join Digital Income System at Level II (Director}:



   Step 1) Please get 1 cashiers check for the amount of $1500 made payable to:

  Justin Verrengia



  Step 2) Get a 2nd cashiers check for the amount of $1500 made payable to:

   Digital Income System Inc.



  Step 3) Mail all checks to:

  Attention: Coach Derek
  Digital Income System Inc.
  6619 South Dixie Highway #329
  Miami, FL 33143

  *Send funds via FedEx I UPS Overnight or USPS Express mail*




                                                                                     PX 8, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 82 of 484




   Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
   receipt.

   My email is: coachderek@digitalincomesystem.com



   Step 5) Once you've sent the two payments to the address above, fill out the order
   format:

   http://digitzlincomeform.com



  *Note: Your referral ID# is: 9571 and your coach's name is Coach Derek*




  Once our DIS administrators have received your completed order form and your ·
  payments, we will set up your marketing suite with your join bonus at the
  Professional ($5,000) Level.

  We will also email you login details which contain your own user ID. Typically this
  process takes less than 24 hours from the time we receive your payment.



  Feel free to email or text message me with any questions during this process.

  Looking forward to your success on our team.




  Email: coachderek@digitalincomesystem.com
  Phone: (305) 720-6952




                                                                                  PX 8, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 83 of 484




                         ATTACHMENT B




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 84 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 85 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 86 of 484




                         ATTACHMENT C




                                                                  PX 8, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 87 of 484




   From: Allison F o r d ~
   Date: November 24, 2019 at 7:38:18 PM EST
   To: Carolyn E Brailsford
   Subject: Digital Income Sys: ets Talk ROI

   Today it's time for the truth and the truth can take some time

   Make Sure You Read This Entire Article


  No games. Lets talk ROI.


  ROI= Advertising Cost+ (Amount received - amount spent) x 100


  Return on Investment (ROI) is a serious subject.
  Especially if you are a member of DIS.


  Each DIS sale can bring as much as $12,5000 in profit.
  That's net profit. Not gross revenue.

  In case you're new to business, that is a LOT of profit per sale, with a very low overhead.


  So lets do some math.
  Lets pretend that you are doing a text message campaign.

  (I think we are supposed to do a disclaimer here about how prices and com.missions can vary.
  Obviously, not everyone who starts a marketing campaign makes a bunch of money.
  Of course, some do. And we are pretty awesome at making sure those someones are our clients.
  ok. ..lets continue.)

  The average text message campaign costs about $150 bucks and reaches about 2,000 people.

  The average DIS sale? about $2,500 dollars in profit, per sale (a little more, but lets estimate).

  Since the number of sales per campaign varies, instead of calculating ROI lets go
  BACKWARDS.


  Lets take the average amount of profit, and figure out how many people we can reach at the
  break even point.


  at $2,500 dollars with SMS campaigns costing $150 per 2,000 people is ..


                                                                                          PX 8, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 88 of 484




   The break Even Point is .. wait for it...

   33 ... THOUSAND PEOPLE.

   33,334 people, to be exact.


   So imagine this:.

  An entire stadium of people Watches a 20 minute presentation on
  the Digital Income System.

   Then every one who joins pays you $2,500 dollars.

  If you only get 1, you break even.

  At two you double your money.


  If you get 12, you get $30,000.
  And that assumes your leads don't buy a higher membership.

  What if the commissions were $6,000 ($72,000)

  What if they were $12,500?

  You see? ROI for the Digital Income System is so high.
  You can't afford NOT to do it.

  So here is your chance.

  Goo to the page you see below, and request a callback right now.
  Time is wasting. Money is waiting.

  Isn't time You made a move.

  https://clicks.aweber.com/y/ct/?1=7mMz.e&m=k51Ph be 0gPSS.&b=61COURGGnYelea9uTWU
  wlA



  Thanks for reading


  DIS Team



                                                                       PX 8, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 89 of 484




  PS. The example above is used only to illustrate the ROI potential
    OF DIS. Advertising and promotion is an inexact science and no one
    not even the minds behind DIS can guarentee you will makes sales on
    any advertising campaigns - because income claims are against the law..


  0

  POBox-

  USA
  From: Allison F o r d _
  Date: November 24, 2019 at 7:38:18 PM EST
  To: Carolyn E Brailsford
  Subject: Digital Income

  Today it's time for the truth and the truth can take some time

  Make Sure You Read This Entire Article


  No games. Lets talk.ROI.


  ROI= Advertising Cost+ (Amount received - amount spent) x 100


  Return on Investment (ROI) is a serious subject.
  Especially if you are a member of DIS.


  Each DIS sale can bring as much as $12,5000 in profit.
  That's net profit. Not gross revenue.

  In case you're new to business, that is a LOT of profit per sale, with a very low overhead.


  So lets do some math.
  Lets pretend that you are doing a text message campaign.

  (I think we are supposed to do a disclaimer here about how prices and commissions can vary.
  Obviously, not everyone who starts a marketing campaign makes a bunch of money.
  Of course, some do. And we are pretty awesome at making sure those someones are our clients.


                                                                                         PX 8, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 90 of 484




   ok. ..lets continue.)

   The average text message campaign costs about $150 bucks and reaches about 2,000 people.

   The average DIS sale? about $2,500 dollars in profit, per sale (a little more, but lets estimate).

   Since the number of sales per campaign varies, instead of calculating ROI lets go
   BACKWARDS.


  Lets take the average amount of profit, and figure out how many people we can reach at the
  break even point.


  at $2,500 dollars with SMS campaigns costing $150 per 2,000 people is ..

  The break Even Point is .. wait for it...

  33 ... THOUSAND PEOPLE.

  33,334 people, to be exact.


  So imagine this:

  An entire stadium of people Watches a 20 minute presentation on
  the Digital Income System.

  Then every one who joins pays you $2,500 dollars.

  If you only get 1, you break even.

  At two you double your money.


  If you get 12, you get $30,000.
  And that assumes your leads don't buy a higher membership.

  What if the commissions were $6,000 ($72,000)

  What -if they we.... $ 1.1."",..,
         .......      ,1.\,f" '-00? •

  You see? ROI for the Digital Income System is so high.
  You can't afford NOT to do it.

  So here is your chance.



                                                                                          PX 8, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 91 of 484




   Goo to the page you see below, and request a callback right now.
   Time is wasting. Money is waiting.

   Isn't time You made a move.

   https://clicks.aweber.com/y/ct/?1=7mMze&m=k51Ph be 0gPSS.&b=61COURGGnYelea9uTWU
   wlA               .



  Thanks for reading


  DIS Team




  PS. The example above is used only to illustrate the ROI potential
    OF DIS. Advertising and promotion is an inexact science and no one
    not even the minds behind DIS can guarentee you will makes sales on
    any advertising campaigns - because income claims are against the law ..


  0

  POBox-




                                                                               PX 8, pg. 16
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 92 of 484




                  PLAINTIFF'S EXHIBIT 9
                                  (PX 9)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 93 of 484




                           DECLARATION OF LINDER CAROTHERS

         I, Linder Carothers, declare the.followin_g:

     l. My name is Linder Carothers. I am a United States citizen who is over the age of

         eighteen. I live in Adelphi, Maryland.

     2. I have _personal knowled_ge of the facts stated in this declaration, and, if called to testify, I

        could and would testify competently to them.

     3. In 2019, I received emails from and saw Facebook posts by a man named Justin

        Verrengia, marketing a money-making opportunity called Digital Income System. In his

        Facebook posts, emails, and the links and videos included in his posts and emails, Justin

        explained that, by purchasing membership in Digital Income Syste·m, individuals could

        sell Digital income System membership to others for a 50% commission. Justin claimed

        that he had earned multiple thousands of dollars from Digital Income System. His videos

        showed him opening envelopes from Digital Income System and finding his commission

        checks worth thousands of dollars inside. Justin said that others who joined the system

        could earn similar income.

    4. Justin's emails, posts, links, and videos explained that there were different levels of

        Digital Income System membership, each for a different price. He said that Digital

        Income System would provide each member a website or "capture page" advertising the

        system. Digital Income System would then market each member's website to prospects

        or "traffic." He called this marketin_g "rotatin_g" a member's website through "traffic."

       Depending on a member's purchase level, the member's website w·ould be "rotated"

        through "traffic" a certain number of times. The higher the membership level, the more

        the traffic rotations. Prospects, or "leads," who visited a member's. website and wanted




                                                    1
                                                                                            PX 9, pg. I
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 94 of 484


    Declaration of Linder Carothers


           to learn more could enter their contact information and request a callback from a Digital

           Income System coach. Justin said that the coaches, who were experienced marketers,

           would then call each lead, advertise Digital Income System to them, and then attempt to

          "close" the sale. If a sale closed, the member would receive a 50% commission. Justin

          said members would not be required to call a single lead, and that the entire system ran

          on "autopilot." In sum, Justin represented that Digital Income System would rotate

          members' capture pages through traffic, generate leads, call the leads, close the sales, and

          send the members their 50% commission checks. Justin claimed that members could

          make substantial income through Digital Income System. (Attachments A, B, and C are

          true and correct copies of emails Justin sent me in September 2019 regarding Digital

          Income System).

       5. Justin put me in touch with a man named Derek Jones, who called himself"Coach

          Derek." Derek and I spoke by phone. Derek made the same representations about

          Digital Income System that Justin made, as stated in paragraphs 3 and 4 above.

      6. Both Justin and Derek represented to me that Digital Income System was offering a

          promotional upgrade that month, and that if I purchased a $5000 membership, I would be

          automatically upgraded to a membership worth $12,000.

      7. Based on the information I received from Justin and Derek, I thought I would make

          substantial income through Digital Income System. For that reason and to obtain the

          promotional upgrade, I decided to purchase a $5000 membership.

      8. On September 22, 2019, Coach Derek emailed me instructions for how to pay for Digital

          Income System membership. (Attachment Dis a true and correct copy of Derek's email.)

      9. Pursuant to Derek's instructions, I mailed Digital Income System two cashier's checks in



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                                                                                       PX 9, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 95 of 484


    Declaration of Linder Carothers


           September 2019-one for $2500 made out to Justin Verrengia and one for $2500 made

           out to Digital Income System. I mailed both to Digital Income System's address at 6619

           South Dixie Highway #329, Miami, FL 33143. (Attachment Eis a true and correct copy

           of the cashier's check that I made out to and mailed to Digital Income System.)

       10. Prior to mailing my payment to join Digital Income System, I did not, to my knowledge,

           receive a written disclosure document or a written earnings claim document that told me

          how many and what percentage of Digital Income System members earned specific

           commissions or a range of commissions. To my knowledge, I also did not receive such

          documents after I paid for the membership.

       11. On September 27, 2019, after I mailed my cashier's checks to Digital Income System, I

          received a welcome email from Digital Income System Customer Support with

          credentials to my account, also called a ''backoffice" page. (Attachment F is a true and

          correct copy of the welcome email from Customer Support.)

       12. My backoffice included a section that could show me the names and contact information

          of the leads who visited my capture page and asked to be contacted by a Digital Income

          System coach. That section also included a column in which Digital Income System

          coaches could document their phone calls to the leads.

       13. As of November 2019, I recall seeing only a small handful ofleads listed in my

          backoffice. I saw no documentation that Digital Income System coaches had ever

          actually called those leads.

       14. To test whether a Digital Income System coach was actually calling each lead-as Justin

          and Derek had initially promised me the Digital Income System coaches would do-I

          visited my own capture page and requested a call using a fake customer name and one of



                                                   3

                                                                                      PX 9, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 96 of 484


   Declaration of Linder Carothers


          my own phone numbers and email addresses. I never received a follow-up phone call

          from a Digital Income System coach.

      15. As a result, on November 20, 2019, I contacted Digital Income System Customer Support

          through the backoffice. My message stated that I needed "[h]elp with understanding how

          the contacts section works .. .leads, how and when they are contacted. Example, among

          mine is one that I know whose information was submitted, however, there has not been

          follow up in any way from DIS .... When joining my coach Derek informed me that

          leads would be followed up on automatically, that does not appear to be the case. Will

         someone please explain the action taken, or lack thereof with my leads." That same day,

         Customer Support responded, "Hey there Linder, leads will be contacted once they

         request a callback, you can see when they requested a callback because they will have a

         blue button next to their name. Leads are followed up with both emails and SMS with

         the preloaded autoresponders. Once a lead request a callback they will be contacted

         within 24 hours. Thank you so much and have a great day!" (Attachment G is a true and

         correct copy of my message to Customer Support and their response from November 20,

         2019).

      16. In short, Customer Support reiterated Justin's and Derek's initial promise that a coach

         would call each lead, but they failed to explain why my backoffice included no

         documentation of any phone calls by coaches to my leads.

      17. Later, on September 16, 2020, l attempted to log into my backoffice using my email

         address and password, and I received an error message stating, "That email does not exist

         in our system." I emailed Customer Support, requesting assistance in accessing my

         backoffice. (Attachment His a true and correct copy ofmy email to Customer Support.)



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                                                                                       PX 9, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 97 of 484


    Deciaration of Linder Carothers


       18. On September 16, 2020, I received a response from MAILER-DAEMON@yahoo.com,

           stating, "Sorry, we were unable to deliver your message to the following address.

           <customersupport@digitalincomesystem.com>: ... The email account that you tried to

           reach does not exist." (Attachment I is a true and correct copy of the email I received

           from MAILER-DAEMON@yahoo.com).

       19. On September 17, 2020, I sent Derek a text message, stating, "I attempted to log into my

           account ... , received a msg that it was not active. Sent email to support, received a mail

           failure, what's going on??" I did not receive a response from him.

       20. Ultimately, Digital Income System closed no sales on my behalf, and I made no money

          through it.

       21. Based on the information I received from Justin and Derek, I expected Digital Income

          System to close sales for me. It did not. Had I known it would not close any sales for

          me, I would never have paid any money for this supposed business opportunity. I lost

          $5000 to Digital Income System.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct. Executed on October~, 2020.           ~r

                                                        ~ut/            ~1,RAA/
                                                        Linder Carothers
                                                        Adelphi, Maryland




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 98 of 484




                         ATTACHMENT A




                                                                  PX 9, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 99 of 484




     From: Justin Verrengia <9571@digitalincomesystem.com>
    To:
    Sent: Fri, Sep 13, 2019 8:16 pm
    Subject: Digital Income. Simplified.




                   Our income system is fully-automated .

      We utilize cutting edge technology, advanced marketing automation
                           and a powerful sales force
        to close your leads and generate huge commissions checks paid
                            straight directly to you.

                               Vv'e make the sales, you get paid.

                                           Simple, right?




       Click the button above to schedule a call with a member of our sales team today.



                                                                              PX 9, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 100 of 484



                                     Find out what we can do to increase your income.

                                                              No Button? PRESS HERE




                                                Copyright Digital Income System Inc.
                                                        All Rights Reserved.

                              Disclaimer: This email is not meant to be an income claim of any kind.



     6619 South Dixie Highway #329, Miami, FL 33143 United States

     To stop receiving emaVs from us cjick here to unsubscribe

     You are receiving this email because you subscribed to our mailing list on 09/13/19 at 8:16pm EDT by filling out the form at
     http://digitalincomesystem.com/callback.php?id=653. Your IP when you joined our list was 162.158.78.92. If you did not join our list OR you are receiving
     excessive emails Click Here to Report Spam to the company that monitors our account




                                                                                                                                          PX 9, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 101 of 484




                          ATTACHMENT B




                                                                  PX 9, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 102 of 484




     From: Justin \/errengia <9571@digitalincomesystem.com>
     To:
     Sent: Sun, Sep 15, 2019 8:33 pm
     Subject: Brand New HIGH TICKET Program - FREE Traffic - Closers INCLUDED (And A 24 Hour
     BONUS You Can't Miss!




                        We get it. You want to make     more money.
                You know that money is online, but you aren't sure how to get it.
                Well get ready, because this is what you've been waiting for.


        •                          Instant High-Ticket Commissions
        •                            We Close Your Sales By Hand
        •                            Done-For-You Traffic Sources
        •                            High-Converting Sales System
        •                             Free Website Traffic For Life
        •                              No Admin Or Monthly Fees


                                 Do we have your attention yet???

                  Stop clicking around the internet, looking for the latest pitch.
                                 This is your ticket to success.




                                                                                ,_


                             No Button? PRESS HERE

                                                                                     PX 9, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 103 of 484




                                                     Copyright Digital Income System.
                                                           All Rights Reserved.


     6619 South Dixie Highway #329, Miami, FL 33143 United States

     To stop receiving emails from us   click here to uosubsgibe
     You are receiving this email because you subscribed to our mailing list on 09/15/19 at 8:33pm EDT by filling out the form at
     http://digitalincomesystem.com/ca:lback.p:ip?ici~653. Your IP when you juined uur list was 162.158.78.92. If you did not join our list OR you are receiving
     excessive emails Click Here to Report Spam to the company that monitors our account




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 104 of 484




                          ATTACHMENT C




                                                                 PX 9, pg.12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 105 of 484




    From: Justin Verren ia <9571@digitalincomesystem.com>
    To:
    Sent I ue, ep     , ,u 19 9:15 pm
    Subject: One is the most dangerous number.

    Hey it's Bill, founder of the Digital Income System here to give you a quick warning!

    Beware of the number one.

    Why?

    Because if you only have one of something you are at risk.

    One (Income) from one source - your job.

    One bank account

    One ad source

    One lead source

    One of anything related to your -Cash-Flow-

    The moment something happens to that one thing, you're left with NOTHING.

    I don't want this to happen to you.

    I started the Digital Income System to get you out of the serious danger of one.


    Go back to our website, watch the video again if you need to.


    Or you can go directly to our callback page and schedule a consultation with us.

    Don't fall prey to the danger of one ..

    CLICK HERE TO SCHEDULE A CALLBACK TODAY

    Bill



    6619 South Dixie Highway #329, Miami, FL 33143 United States

    To stop receiving emails from us click here to unsubscribe

    You are receiving this email because you subscribed to our mailing list on 09/24/19 at 9:15pm EDT by filling out the form at
    http://digitalincomesystem.com/callback.php?id=653. Your IP when you joined our list was 162.158.78.92. If you did not join our list OR you are
    receiving excessive emails Click Here to Report Spam to the company that monitors our account




                                                                                                                                    PX 9, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 106 of 484




                          ATTACHMENT D




                                                                 PX 9, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 107 of 484




    From: Derek Jones <coachderek@digitalincomesystem.com>
    To:
    Sent: Sun, Sep 22, 2019 4:57 pm
    Subject: ATTENTION: DIS Join Instructions SK- Professional

    Hey there Linder!
    It was great speaking to you today and congratulations on your decision to join
    the Digital Income System.
    Member ID# 9571 ( Justin Verrengia ) will be very pleased to hear the good news.

    The Digital Income System utilizes direct peer-to-peer payments for your
    convenience.
    The total amount for Level Ill is: $5,000.
    (Coach's Note: Authorize Upgrade to 12k (Ambassador) Level: DJ378S12U25}



    Instructions to join Digital Income System at Level Ill:

     Step 1) Please get 1 cashiers check for the amount of $2500 made payable to:
    Justin Verrengia

    Step 2) Get a 2nd cashiers check for the amount of $2500 made payable to:
    Digital Income System Inc.

    Step 3) Mail all checks to:
    Attention: Coach Derek
    Digital Income System Inc.
    6619 South Dixie Highway #329
    Miami, FL 33143
    *Send funds via FedEx/ UPS Overnight or USPS Express mail*

    Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
    receipt.
    My email is: coachderek@digitalincomesystem.com

    Step 5: Once you've sent the two payments to the address above, fill out the order
    form at:
    http://digitalincomeform.com

    *Note: Your referral ID# is: 9571 and your coach's name is Coach Derek*


   Once our DIS administrators have received your completed order form and your mailed
   payments, we will set up your marketing suite with your join bonus at the
   Ambassador ($12,000) Level.




                                                                             PX 9, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 108 of 484




    We will also email you login details which contain your own user ID # and detailed
    instructions for starting your first advertising campaign. Typically this process takes less
    than 24 hours from the time we receive your payment.

    Feel free to email or text message me with any questions during this process.
    Looking forward to your success on our team.




    Email: coachderek@digitalincomesystem.com
    Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 109 of 484




                          ATTACHMENT E




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 110 of 484


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 NORTHWEST-
 FEDBW.c.on-UNK)N·
 PO~ 1 2 2 8 • ~ VA20172--1221
                                                                          VOID AFTER SIX MONTHS
                                                                               09/24/19
    .***   'l'WO_. 'l'HOtJSAHD FIVE HONDRED   DOLLMS   AND OD ~ S   ***
                                                                               $2,500.00



           . DIGITAL DfC0MB SYSTDIS, DfC.
TO THE     . REF: LINDER D CAROTHBRS
ORDER<:E




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 111 of 484




                          ATTACHMENT F




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 112 of 484




    From: Digital Income System Customer Support
    <customersu art di italincomes stem.com>
    To:
    Sent: Fri, Sep 27, 2019 2:35 pm
    Subject: DIS Login info
    Hello Linder ,

    Welcome to the DigitallncomeSystem I Your personal Referral
    ID# is:
     Your Capture Page URL is:
     Your system is already set up to receive traffic and our
    consultants are standing by, ready to engage your potential
    buyers.
      Because we only purchase top-tier, live website traffic, the DIS
    Automatic Traffic Rotator may take a few days to start
    delivering new traffic to your website. Please remember that
    this traffic is a special bonus from our team to you, and is
    meant to supplement but not to replace your own traffic and
    efforts.
     Our list of "Done For You" traffic sources is outlined in the back
    office. Simply click the button that says "Get Traffic Here" to
    access our exclusive traffic resources.
     To be successful you have to be consistent with your
    advertising. The secret to success is filling up your pipeline with
    prospects and letting the system and our coaches work on your
    behalf. If you need assistance or have questions, please send
    an email to:       customersupport@digitalincomesystem.com




                                                                 PX 9, pg. 20
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 113 of 484




    Our DIS support team is always available to assist you
    technically, and if needed, to forward your request to a
    business consultant.
     Because our consultants are engaged with your leads and
    spends most of their time on the phone with potential
    customers, please make sure you do not contact them directly
    until you have given our customer support staff a chance to
    resolve the issue for you.

    You can log into your account here: Login link:

    Log in with this email:

   And type in this password:

   (Your login password can be changed in the account section,
   after your first login, if desired).

   When you log in, be sure you watch the fast start video because
   it will show you how to navigate the back office,
   how to access a few basic features, and most importantly, how
   to start your first marketing campaign.

   Welcome again from the DIS team, we look forward to working
   with you and to your continued success!

     -DIS Adm in




                                                                 PX 9, pg. 21
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 114 of 484




                          ATTACHMENT G




                                                                 PX 9, pg. 22
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 115 of 484




    From_ Customer_ Suo ort Team <support@bizsitesupport.desk-mail.com>
    To:
    Sent: e , ov z ,      9 9:09 am
    Subject: Re: Customer Support Center - Linder Carothers



     Type your response ABOVE THIS LINE to reply

     linproptey
     Subject: Re: Customer Support Center - Linder Carothers

     NOV 20, 2019   I 09:09AM EST
     Customer Support Team replied:
     Hey there Linder, leads will be contacted once they request a callback, you can see when they
     requested a callback because they will have a blue button next to their name. Leads are
     followed up with both emails and SMS with the preloaded autoresponders. Once a lead
     request a callback they will be contacted within 24 hours. Thank you so much and have a great
     day!

     -Customer Support Team
     ----   ·-----·-------·--··- .. ---··--   . .   ---·   -----------·-----------   ·--------
     NOV 20, 2019 / 12:40AM EST
     Original message
     eruoiue wrote:

     Customer Support Center



    Name Linder Carothers
    Email
    Phone Number
    Enter Your Support Request
    normal">Help with understanding how the contacts
    section works .. .leads, how and when they are contacted. Example, among mine is
    one that I know whose information was submitted, however, there has not been
    follow up in any way from DIS.<span style="font-size:12.0pt;font-family:
    "Times New Roman","serif';mso-fareast-font-family:"Times New Roman"">

    normal">Whenjoining my coach Derek informed me that leads would be
    followed up on automatically, that does not appear to be the case.

    normal"> Will someone please explain the action taken, or lack thereof with
    my leads. Thank You.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 116 of 484




     You can edit this submission
     (https://www.jotform.com/edit/45003 76178028936052 ?utm_ source=emailfooter&utm_ mediu
     m=email&utm_term=83304924673157 &utm_ content=edit_submissions&utm_ campaign=noti
     fication_email_footer_ submission_links&email_ type=notification) and view all your
     submissions
     (https://www.jotform.com/submissions/83304924673157?utm_ source=emailfooter&utm_ med
     ium=email&utm_term=83304924673157&utm_ content=view_ all_submissions&utm_ campaig
     n=notification_email_footer_submission_links) easily.

     This message was sent to         in reference to Case #: 61765.




                                                                              PX 9, pg. 24
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 117 of 484




                          ATTACHMENT H




                                                                 PX 9, pg. 25
  Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 118 of 484




From:-
To: cu~talincomesystem.com <customersupport@digitalincomesystem.com>
Sent: Wed, Sep 16, 2020 11:54 pm
Subject: DIS - Unable to Login

Despite receiving the below email from DIS, I followed instructions and set up my account,
established a permanent password and was able to access my account however, when attempting to
login a few minutes ago the bottom message was seen.

Your assistance is requested.


Linder Carothers



-----Original Message-----
From: Di ital Income S stem Customer Support <customersupport@digitalincomesystem.com>
To:




Hello Linder,


Welcome to the DigitallncomeSystem ! Your personal Referral ID#
is: 6210
Your Capture Page URL is: http://digitalincomesystem.com/6210
Your system is already set up to receive traffic and our consultants are
standing by, ready to engage your potential buyers.
  Because we only purchase top-tier, live website traffic, the DIS
Automatic Traffic Rotator may take a few days to start delivering new
traffic to your website. Please remember that this traffic is a special
                                                      1
                                                                                         PX 9, pg. 26
 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 119 of 484


bonus from our team to you, and is meant to supplement but not to
replace your own traffic and efforts.
 Our list of "Done For You" traffic sources is outlined in the back office.
Simply click the button that says "Get Traffic Here" to access our
exclusive traffic resources.
 To be successful you have to be consistent with your advertising. The
secret to success is filling up your pipeline with prospects and letting the
system and our coaches work on your behalf. If you need assistance or
have questions, please send an email
to:    customersupport@digitalincomesystem.com
Our DiS support team is always available to assist you technically, and if
needed, to forward your request to a business consultant.
 Because our consultants are engaged with your leads and spends most
of their time on the phone with potential customers, please make sure
you do not contact them directly until you have given our customer
support staff a chance to resolve the issue for you.


You can log into your account here: Login
link: https://digitalincomesystem.com/admin/login.php


Log in with this email:


And type in this password:


 (Your login password can be changed in the account section, after your
first login, if desired).



                                                                  PX 9, pg. 27
 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 120 of 484


When you log in, be sure you watch the fast start video because it will
show you how to navigate the back office,
how to access a few basic features, and most importantly, how to start
your first marketing campaign.


Welcome again from the DIS team, we look forward to working with you
and to your continued success!


 -DIS Ad min
I attempted to login into my account and received the following message




                                                                          PX 9, pg. 28
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 121 of 484




• . . ·'"-DP   $   cc police office• ass ...



                                                    Next, Check your email.

                                                          t:~-
                                                          ~
                                                                    DIGIT /\L
                                                                    -INCOMi:SYSTi:M--

                                                   That eman does not exist in our syste•r




                                                        For c·w~tomer Support: http://getsu porthelp.com




                                               -
                                               "




                                                                                    PX 9, pg. 29
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 122 of 484




                          ATTACHMENT I




                                                                 PX 9, pg. 30
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 123 of 484




    From: MAILER-DAEMON@yahoo.com
    To: . . . . . . . .
    S e n ~ O 11 :54 pm
    Subject: Failure Notice

    Sorry, we were unable to deliver your message to the following address.

    <customersupport@digitalincomesystem.com>:
    550: 5.1.1 The email account that you tried to reach does not exist. Please try
    5.1.1 double-checking the recipient's email address for typos or
    5.1.1 unnecessary spaces. Learn more at
    5.1.1 https://support.google.com/mail/?p=NoSuchUser s194si12000103ilc.138 - gsmtp

    -   Below this line is a copy of the message.

    DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed; d=aol.com; s=a2048; t=1600314863;
    bh=rJBGuxyjCDYjlbw3Yzl/D1 vrdg 1Kg6Rri/JqQyOpRXw=; h=Date: From: Reply-
    To:To:Subject: References:From:Subject;
    b=sV3ZcaVH4cajsLHKJ1TSQBsa/oJ1th7137bh8PiDcs3z/akvZ+4i4idgrHrALSEXbN4jrCxgnXNNPfvc+1rp
    2zkv6MABaXYftsCiw7kar81 JJiTcPGA3b3Wv+H+rlFMyDFPyP3gV5LVHUHy98uuYvctOhcMUgnBYLhq0k
    qif+6WRixXAHDU1uGIMA4BNhVFIOCl9O1YqQMgx70kwZ0kTERn4Qpv3ihAilts1K5KhKRYYCFjJGF4BSq
    8mPJurC6atu8Op+SeeqSJSbCb/RC/LMRMmS+elasa8ORgf1 buH 1Lc/3/z5OPr7+iwpHjzYxAoqlwx6tqHH6
    WbhLCG3ebzlrw==
   X-YMail-OSG: gql KsZQVM 1 k0. tnEQoStd2J9Z_9ruzq0yFeKD0soNXs 1iwuWSq93bbgOh9CAOyY
    nV.ZD6qgYv.KuVTEFltuzyvCcqpoTGeeRWPywluNMGag7SLd9N8dMUEgk9_QYJLEIZ9Oxnw4Zc21
    KFyE0rPykBo2etrLuONcu0ytgnH2A4n8DRjBbYSHzaLK1 HFfYx6xKiL.OD8hfvwlxSq8SF1 aWsHX
    8nUfec9W5HLiwW. tJ2KnEap5GJKNzRN 1N 1q 14j24VfvQ3okv5QK_ewHdm. HRzBIXEmPgwYB51DQz
   jdT2PANSdEQw8d9zP15DV7XBW3i0B1svr7fOdiNPAAohAmbXD.yBUSycBdajLXVxRbsv961 BJt9
   89QFCQMo6JecOr3rMP9Tda3Bxbg.1 WJQ3pZNYSHaGJL.qgS K_qCBosOEQBF .qHZ9yN0Gd6gQLR uq
   QawiX_jYFsPQ1 H 1h3QRmNzNlkJATI0jddl5GdjRFHOrg_DnpUCk5RF0o_zpksD8GlfFh 1QZ4. 06x
   25ATg11 FCnQpBkl7d8ixmZMOWeiFIRGjUg8yAecKzlCv9mAmX3orD143zyySvsPFyP_ZJLYo8M5
   D6SwSRnDrlRHGObyzL2M4rhks3co67nz2j8GYhmHDS6ipgw1_PSDI_OFjBj1zuOGkWQ1LPcQSoSt
   JCeJeQltUz33rTqrTgEsA 1uGIP_onKSxvBFHrDkbNLpiEmfxLZODDcwphyNFLlhKhEFGof958hxG
   xzSY31k8tAoqgxCtfhr_p0n 1cosZWEO6Sb2SHChev4cMiuEbMEdhXa0c8VbyyZaBldia2OCI 1aci
   jlylrVKcxh IrswSYADvR5eDuNTBe0xsisvdB9Er.Z07NISHeGJ E2CBsefNzs7eQwbB 158WcTDh2G
   _ 1tdlvFQAmDBN9BeXGGi4A6HpTGkYC1 YDB85U6HXPUvRczV.zusKSMXw. fUNnUBDZ_lol0gpfhWZ
   MDfbNNiklpql2Sxf_D4p4Y.ejywYeaBL2LDTtUA0ySUq82bNrQDUb4HJyWgnt3piPT5YJSJB.pMs
   .4yQiOtxeGuQa_A. tEER06QusjmgT_ vtVv83SBZj6f6YRRyo_OUwuoGof1 bNKpHhls0Cycfwvmpv
   J3Bstp8xaQWY_ VIEAQY6ZGIOcwc7. C4eX_FxxGJpHK0WrUbanqnmg.FFRapM5MzVEmeXeDo2cetg
   AVmhAvaY9xAqi6hjoBFueW3sCsVOTYNNwtK_oYOtTgRwMROm4gcSYe9ngf20kmAUcWv26g70iDv6
   9rWCDYISeisEkvV2hxvFZbkdRp87hzx88FL 1PdhTnUuZ05_M81AQ291Xz6rPWW2Cwcl0AFLyCwyj
   BFDwFt8_Gyh7iQRjYnyn713gvr51djqh1QUS0xyRFvhJG8JU1Efdw.M7wso14s_N.mZWViOaLUBb
   Tp8ZiC4_NFjN9aNL9RVQoOANyftDLA-
   Received: from sonic.gate.mail.ne1 .yahoo.com by sonic314.consmr.mail.ne1 .yahoo.com with HTTP; Thu,
   17 Sep 2020 03:54:23 +0000
   Date: Thu, 17 Se 2020 03:54:20 +0000 (UTC)
   From:
   Reply-,o:
   To:
      "customersupport@digitalincomesystem.com" <customersupport@diqitalincomesystem.com>
   Message-ID: <1895891248.3317889.1600314860993@mail.yahoo.com>
   Subject: DIS - Unable to Login
   MIME-Version: 1.0
   Content-Type: multipart/alternative;
       boundary="--=_Part_3317888_ 1641179260.1600314860984"
   References: < 1895891248. 3317889 .1600314860993.ref@mail .yahoo .com>




                                                                                        PX 9, pg. 31
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 124 of 484




    X-Mailer. WebService/1.1.16583 aolwebmail Mozilla/5.0 (Windows NT 10.0; Win64; x64)
    AppleWebKit/537.36 (KHTML, like Gecko) Chrome/85.0.4183.102 Safari/537.36
    Content-Length: 200922

    --=_Part_3317888_ 1641179260.1600314860984
    Content-Type: text/plain; charset=UTF-8
    Content-Transfer-Encoding: quoted-printable

    Despite receiving the below email from DIS, I followed instructions and set=
    up my account, established a permanent password and was able to access my =
    account however, when attempting to login a few minutes ago the bottom mess=
    age was seen.
    Your assistance is requested.

    Linder Carothers

    =C2=A0-Original Message--From: Digital Income System Customer Suppor=
    t <customersu ort di italincomesvstem.com>
    To:



     Hello=C2=AOLinder=C2=A0,=C2=A0Welcome to the DigitallncomeSystem!=C2=A0 =C2=
    =A0Your personal Referral ID# is:=C2=A06210=C2=A0Your Capture Page URL is:=
    =C2=AO=C2=A0http://digitalincomesystem.com/6210=C2=A0Your system is already=
    set up to receive traffic and our consultants are standing by, ready to en=
    gage your potential buyers.=C2=A0=C2=A0=C2=A0Because we only purchase top-t=
    ier, live website traffic, the DIS Automatic Traffic Rotator may take a few=
    days to start delivering new traffic to your website. Please remember that=
    this traffic is a special bonus from our team to you, and is meant to supp=
    lement but not to replace your own traffic and efforts.=C2=A0Our list of "D=
    one For You" traffic sources is outlined in the back office. Simply click t=
    he button that says "Get Traffic Here"=C2=A0to access our exclusive traffic=
    resources.=C2=A0=C2=A0To be successful you have to be consistent with your=
    advertising. The secret to success is filling up your pipeline with prospe=
    cts and letting the system and our coaches work on your behalf.=C2=A0 =C2=
    =A0lf you need assistance or have questions, please send an email to:=C2=A0=
    =C2=A0 =C2=A0 =C2=A0customersupport@digitalincomesystem.com=C2=AO=C2=AO=C2=
    =A0Our DIS support team is always available to assist you technically, and =
    if needed, to forward your request to a business consultant.=C2=A0=C2=A0=C2=
    =A0Because our consultants are engaged with your leads and spends most oft=
    heir time on the phone with potential customers, please make sure you do no=
    t contact them directly until you have given our customer support staff a c=
    hance to resolve the issue for you.=C2=A0You can log into your account here=
    :=C2=A0=C2=A0Login link:=C2=A0https://digitalincomesystem.com/admin/login.p=
    hp=C2=A0Log in with this email:=C2=A0 =C2=A0 =C2=A0 =C2=A0 =C2=A0 =C2=A0 =
    =C2=A0 =C2=A0=C2=AO=C2=A0 =C2=A0 =C2=A~=C2=A0And type in =
    this password:=C2=A0 =C2=A0 =C2=A0 =C2=AO~port1=C2=AO=C2=
    =A0(Your login password can be changed in the account section, after your f=
    irst login, if desired).=C2=A0=C2=A0=C2=A0=C2=A0When you log in, be sure yo=
    u watch the fast start video because it will show you how to navigate the b=
    ack office.how to access a few basic features, and most importantly, how to=
    start your first marketing campaign.=C2=A0=C2=A0=C2=A0Welcome again from t=
    he DIS team, we look forward to working with you and to your continued succ=
    ess!=C2=A0=C2=A0=C2=A0-DIS Adminl attempted to login into my account and re=
    ceived the following message




                                                                                          PX 9, pg. 32
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 125 of 484




    ---_Part_3317888_1641179260.1600314860984
    Content-Type: text/html; charset=UTF-8
    Content-Transfer-Encoding: quoted-printable


    <div style=3D"color:black;font: 1Opt arial;">
    <div style=3D"font-family: arial, helvetica; color: black;">
    <div id=3D"yiv7505899387" style=3D"">

    <div style=3D"font-style: normal; font-variant: normal; font-weight: normal=
    ; font-stretch: normal; line-height: normal; font-family: arial; color: bla=
    ck;">

    <div style=3D""><font size=3D"3">Despite receiving the below email from DIS=
    , I followed instructions and set up my account, established a permanent pa=
    ssword and was able to access my account however, when attempting to login =
    a few minutes ago the bottom message was seen.</font></div>

    <div style=3D""><font size=3D"3"><br>
    </font></div>

    <div style=3D""><font size=3D"3">Your assistance is requested.</font></div>

    <div style=3D""><font size=3D"3"><br>
    </font></div>

    <div style=3D""><font size=3D"3"><br>
    </font></div>

    <div style=3D""><font size=3D"3">Linder Carothers</font></div>

    <div style=3D'"'><font size=3D"3"><br>
    </font></div>

    <div style=3D""><font size=3D"3"><br>
    </font></div>

   <div style=3D"font-size: 10pt;">&nbsp;<span style=3D"background-color: rgb(=
   255, 255, 255); font-family: arial, helvetica; font-size: x-large;">--Or=
   iginal Message-</span></div>
   <font size=3D"5" style=3D"font-size: 1Opt; font-family: arial, helvetica; b=
   ackground-color: rgb(255, 255, 255);">From: Digital Income System Customer =
   Support &lt;<a href=3D"mailto:customersupport@digitalincomesystem.com" rel=
   =3D"noopener noreferrer'' style=3D"text-decoration-line: underline; color: b=
   lue;">customersu ort di italincomes stem.com</a>&gt;<br>
   To: linproptey &lt;<a href=3D"mailt                          "rel=3~er no=
   referrer'' s le=3D"text-decoration-line: un er ine; co or: l u e ; " ~
                </a>&gt;<br>
     en: n, ep 27, 2019 2:35 pm<br>
   Subject: DIS Login info<br>
   <br>
   </font><span style=3D"font-family: arial, helvetica; background-color: rgb(=
   255,255, 255); font-size: 10pt;"></span>
   <div id=3D"yiv8945382227" style=3D"font-size: 1Opt; font-family: arial, hel=




                                                                                   PX 9, pg. 33
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 126 of 484




    vetica; background-color: rgb(255, 255, 255);">
    <div dir-3D"ltr">
    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: Din Din 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1 "><sp=
    an style=3D"font-family: Calibri, sans-serif; color. rgb(26, 26, 26);">Hell=
    o&nbsp;</span>Linder&nbsp;<span style=3D"font-family: Calibri, sans-serif, =
    color: rgb(26, 26, 26);">, </span></span><span style=3D"font-family: Calibri=
    , sans-serif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818:e
    gmail-p1" style=3D"margin: Din 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp:e
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb:e
    (26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: Oin Din 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1 "><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">Welc=
    ome to the DigitallncomeSystem!&nbsp; &nbsp;Your personal Referral ID# is:&=
    nbsp;</span></span><span style=3D"font-family: Calibri, sans-serif; color:=
    rgb(26, 26, 26);"></span><span style=3D"font-family: Arial, Helvetica, sans=
    -serif;">621 0</span></font></div>

    <div class=3D"yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p2" style=3D"margin: Din 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s2"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;Your Capture Page URL is:&nbsp;</span></span><span class=3D"yiv8945382227=
    gmail-m-3480001258504290675m-1560740142454145818gmail-s2"><span style=3D"fo=
    nt-family: Calibri, sans-serif;">&nbsp;</span></span><a rel=3D"nofollow" ta=
    rget=3D"_blank" href=3D"http://digitalincomesystem.com/621 0" styie=3D"text-=
    decoration-line: underline; color. blue;"><span style=3D"font-family: Calib=
    ri, sans-serif; color: rgb(17, 85, 204);">http://digitalincomesystem.com/62=
    10</span></a><span style=3D"font-family: Calibri, sans-serif;"></span></fon=
    t></div>

    <div class=3D"yiv8945382227 gmail-m-348000 i 258504290675m-i 560740142454145818=
    gmail-p1" style=3D"margin: 0in Din 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color. rgb(26, 26, 26);">&nbs=
    p;Your system is already set up to receive traffic and our consultants are=
    standing by, ready to engage your potential buyers.&nbsp;</span></span><spa=
    n style=3D"font-family: Calibri, sans-serif, color: rgb(26, 26, 26);"></spa=
    n></font></div>

   <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
   gmail-p1" style=3D"margin: 0in Din 8.05pt;"><font size=3D"5"><span class=3D=
   "yiv8945382227 gmail-m-3480001258504290675m-156074014245414581 Sgmail-s 1"><sp=
   an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
   p;&nbsp;Because we only purchase top-tier, live website traffic, the DIS Au=
   tomatic Traffic Rotator may take a few days to start delivering new traffic=
   to your website. Please remember that this traffic is a special bonus from=
   our team to you, and is meant to supplement but not to replace your own tr-




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 127 of 484




    affic and efforts. </span></span><span style=3D"font-family: Calibri, sans-s=
    erif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-15607 4014245414581 Bgmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;Our list of "Done For You" traffic sources is outlined in the back office=
    .. Simply click the button that says "<b>Get Traffic Here"</b>&nbsp;to acces=
    sour exclusive traffic resources.</span></span><span style=3D"font-family:=
    Calibri, sans-serif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227 g mail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3O"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1 "><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;&nbsp;To be successful you have to be consistent with your advertising. T=
    he secret to success is filling up your pipeline with prospects and letting=
    the system and our coaches work on your behalf.&nbsp; &nbsp;lf you need as=
    sistance or have questions, please send an email to:&nbsp; &nbsp; &nbsp; &n=
    bsp;</span></span><a rel=3D"nofollow" ymailto=3D"mailto:customersupport@dig=
    italincomesystem.com" target=3D"_blank" href=3D"mailto:customersupport@digi=
    talincomesystem.com" style=3D"text-decoration-line: underline; color: blue;=
    "><span style=3D"font-family: Calibri, sans-serif; color: rgb(17, 85, 204);=
    ">customersupport@digitalincomesystem.com</span></a><span class=3D"yiv89453=
    82227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><span style=
    =3D"font-family: Calibri, sans-serif; color: blue;">&nbsp;&nbsp;</span></sp=
    an><span class=3D"yiv8945382227 gmail-m-3480001258504290675m-156074014245414=
    5818gmail-s1"><span style=3D"font-family: Calibri, sans-serif; color: rgb(2=
    6, 26, 26);">&nbsp;</span></span><span style=3D"font-family: Calibri, sans-=
    serif;"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
    gmail-p1" style=3D"margin: 0in Oin 8.05pt;"><span style=3D"font-family: Cal=
    ibri, sans-serif; color: rgb(26, 26, 26);"><font size=3D"5">Our DIS support=
    team is always available to assist you technically, and if needed, to forw=
    ard your request to a business consultant&nbsp;&nbsp;</font></span></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
    gmail-p1" style=3D"margin: Oin 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227 g mail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb=
    (26, 26, 26);">Because our consultants are engaged with your leads and spen=
    ds most of their time on the phone with potential customers, please make su=
    re you do not contact them directly until you have given our customer suppo=
    rt staff a chance to resolve the issue for you.</span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><span style=3D"font-family: Cal=
    ibri, sans-serif; color: rgb(26, 26, 26);"><font size=3D"5">&nbsp;</font></=
    span></div>

    <div class=3D"yiv8945382227gmail-m-348000125850429067 5m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in Din 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1"><sp=




                                                                                    PX 9, pg. 35
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 128 of 484




    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">You =
    can log into your account here:&nbsp;&nbsp;Login link:&nbsp;</span></span><=
    a rel=3D"nofollow'' target=3D"_blank" href=3D"https ://dig italincomesystem. co=
    m/admin/login.php" style=3D"text-decoration-line: underline; color: blue;">=
    <span class=3D"yiv8945382227 gmail-m-3480001258504290675m-156074014245414581 =
    8gmail-s3"><span style=3D"font-family: Calibri, sans-serif; color: rgb(16, =
    60, 192); text-decoration-line: none;">https://digitalincomesystem.com/admi=
    n/login.php</span></span></a><span style=3D"font-family: Calibri, sans-seri=
    f; color. rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in Oin 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818gmail-s1 "><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb=
    (26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">Log =
    in with this email:&nbsp; &nbsp; &nbsp; &nbsp; &nbsp; &nbsp; &nbsp; &nbsp;&=
    nbsp; </span></span><span class=3D"yiv8945382227 gmail-m-3480001258504290675m=
    -1560740142454145818gmail-s 1"><span style=3D"font-family: Calibri, sans-ser=
    if;">&nbsp; &nbsp; &nbsp;</span></span><span class=3D"yiv8945382227gmail-m-=
    3480001258504290675m-1560740142454145818gmail-s1 "><span style=3D"font-famil=
    y: Helvetica, sans-serif; back round: r b 242, 242, 242);"><a rel=3D"nofoll=
    ow" mailto=3D"mailt                           " target=3D"_blank" href=3D"mailto:=
                         " s e=      text- ecora ion~line: underline; color: blue;"=
                           </a></span></span><span style=3D"font-family: Arial, san=
    s-sen ; >< span>< ont></div>

   <div class=3D"yiv8945382227 gmail-m-348000125850429067 Sm-1560740142454145818=
   gmail-p1" style=3D"margin: 0in Qin 8. 05pt;"><font size=3D"5"><span class=3D=
   "yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818gmail-s1 "><sp=
   an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
   p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb=
   (26, 26, 26);"></span></font></div>

   <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607401424541458 i 8=
   gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
   "yiv8945382227 gmail-m-348000125850429067 Sm-1560740142454145818gmail-s 1"><sp=
   an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">And =
   type in this password:&nbsp; &nbsp; &nbsp; &nbsp; &nbsp; &nbsp; support1</s=
   pan></span><span style=3D"font-family: Calibri, sans-serif; color: rgb(26, =
   26, 26);"></span></font></div>

   <div class=3D"yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818=
   gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
   "yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818gmail-s 1"><sp=
   an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
   p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb=
   (26, 26, 26);"></span></font></div>

   <div class=3D"yiv8945382227 gmail-m-3480001258504290675rri-1560740142454145818=
   gmail-p1" style=3D"margin: 0in Oin 8.05pt;"><font size=3D"5"><span class=3D=




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 129 of 484




    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;(Your login password can be changed in the account section, after your fi=
    rst login, if desired).&nbsp;&nbsp;&nbsp;</span></span><span style=3D"font-=
    family: Calibri, sans-serif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p3" style=3D"margin: Oin Din 0.0001 pt;"><font size=3D"5"><span class=
    =3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s5">=
    <span style=3D"font-family: Arial, sans-serif; color: rgb(26, 26, 26);">&nb=
    sp;</span></span><span style=3D"font-family: Arial, sans-serif; color: rgb(=
    26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: Din Din 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1 "><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">When=
    you log in, be sure you watch the fast start video because it will show yo=
    u how to navigate the back office,</span></span><span style=3D"font-family:=
    Calibri, sans-serif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">how =
    to access a few basic features, and most importantly, how to start your fir=
    st marketing campaign. </span></span><span style=3D"font-family: Calibri, sa=
    ns-serif; color. rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-15607 40142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;&nbsp;&nbsp;</span></span><span style=3D"font-family: Calibri, sans-serif=
    ; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-3480001258504290675m-1560740142454145818=
    gmail-p1" style=3D"margin: 0in Oin 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">Welc=
    ome again from the DIS team, we look forward to working with you and to you=
    r continued success!</span></span><span style=3D"font-family: Calibri, sans=
    -serif; color: rgb(26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-348000125850429067 5m-15607 40142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227gmail-m-3480001258504290675m-1560740142454145818gmail-s1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;</span></span><span style=3D"font-family: Calibri, sans-serif; color: rgb=
    (26, 26, 26);"></span></font></div>

    <div class=3D"yiv8945382227gmail-m-348000125850429067 5m-i 560740142454145818=
    gmail-p1" style=3D"margin: 0in 0in 8.05pt;"><font size=3D"5"><span class=3D=
    "yiv8945382227 gmail-m-3480001258504290675m-1560740142454145818gmail-s 1"><sp=
    an style=3D"font-family: Calibri, sans-serif; color: rgb(26, 26, 26);">&nbs=
    p;&nbsp;</span></span><span style=3D"font-family: Calibri, sans-serif; colo=




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 130 of 484




    r: rgb(26, 26, 26);">-DIS Admin</span></font></div>
    </div>
    </div>
    <font size=3D"3" style=3D"font-size: 1Opt;">
    I attempted to login into my account and received the following message</fo=
    nt>

    <div style=3D"font-size: 10pt;"><font size=3D"3"><br>

    </font></d iv>



   <div style=3D"font-size: 10pt;"><img src=3D"data:image/png;base64,iVBORw0KG=
   goMAANSUhEUgAABVYAAAMACAYAAADPPjzCAAAgAEIEQVR4Aey9CXgdXZ32SzJ37ndnbvJ9d75v=
   Jk7CFggkAcPMMEkmTELAQGICcVYIIQ4DBMLiYExgYkww+wAJBMcYG4PxAl4w2BiDjG284QVbkmV=
   Llix5kbxJ3iQvsnbbWv2/z7+6q7uqejl9zukjHUnveR6pt1 rf+nV1 n/dUV5+2Z281 JfNXfaiWGp=
   uP08nWNurs6iJ8oAAU6DkF+Bzkc5HPyYOHapM6I5M57xE2uX4SekEvMAAGwAAYAANgAAyAATAAB=
   sAAGAADfZ+B05Jp5PrG5p5zkJAzFIACCRWob2iGuZrkj0XJ9IEl2/cvimhjtDEYAANgAAyAATAA=
   BsAAGAADYAAMRGUgsrHa2tae0NRBACgABXpegdbWdpirMFfBABgAA2AADIABMAAGwAAYAANgAA
   y=
   AATCQYQYiGav1 DU097xahBFAACkRWoK6hKdbOc3dlRxR2LOovPAiHXwPBABgAA2AADIABMAAGw
   A=
   AYAANgAAyAgd7GQEJj9WDN0chmDgJCASiQPQocqDkaq7na_2zo3IBcXZDAABsAAGAADYAAMgAEwA
    =
   AbAABgAA2AgkwwkNFabmo9nj1 OEkkABKBBZAX6hVSY7D6S NixMYAANgAAyAATAABsAAGAADYAA
    M=
   gAEwOJ8ZSGis8hvH8YECUKD3KXDyZFtqxmpVDBeFONllmX6gP3faqHsMflKt1 PoG6AbdwAAYAAN=
   gAAyAATAABsAAGAADGgMJjdWuU6d6n6OEEkMBKECdnV3ayQ5DDoYcGAADYAAMgAEwAAbAABg
   AA2=
   AADIABMAAG4mMgobEKfwoKQIHeq0BSnWUmRplmlk38OgbDHAyAATAABsAAGAADYAAMgAEwAAb
   AA=
   8jlAgYyYqzWLy+jkn95hCrumkJtB+ocV+pUV5e1jlGwjiZYgQKZVCApYzULOiSUN75fzaAltAQD=
   YAAMgAEwAAbAABgAA2AADICBdBk47bTTKOwv3ITnn/6GWfQwsXLAk1nPsZh4so3I8bqrj/Mooo=
   v3E8bPz+cKm96IRo/LKbOppOaf3QK5qqmBzagQCYUiKujQDq4GIMBMAAGwAAYAANgAAyAATAABs=
   AAGOh/DLCpGtTuYceC4mR6vzRO/czVsGOplisjxmrZqJX0yedG04Yz76U933iajtwylWpGvUPNq=
   7dTR2MLddQ2UmfziUz4SEgTCkABRYFUO4aweL +95166c9jwwl41 LC6O9b+LMNocbQ4GwAAYAANg=
   AAyAATAABsAAGOh9DISN UpWGqlxmW/v6Gah+++lod0aM 1V2jiuj9f5hK71 /8Iu2++ TXaNehP1 HT=
   7dDrOyGw6UbabTh5pJuq0pwUgouRGr1bTh/deTZcNUv7u/YBqFTOp9v376LKXNil7/FejhlNjc5=
   yR71 eru+z1 TTRh0MtU5nMk63YVvazo1 0vKrlnoZWBCkRYgwxtHaO3zw+j+B/9Aox97 gp57fhZta=
   cxwlikmH0cnYaYhzz1 zP7Z734USbYY2AwNgAAyAATAABsAAGAADYAAMgAE/BsJMU3IMLv3i9/Q+=
   1UhV1 +MuV0aM 1X2PIND6z71 L73xnCnWe 7KC6t/OpdsxHdHxLDTW/dZAOLDxC5R3tdLy907GLTjl=
   riVbYVLuPPIS8TWGQpmtqstkY0Yzt1cZq9Qc0UtWq+gP6MAVTsuylq6I7zUyVC4M8s05q0FTXOU=
   3DsHeTYmP 1BcqXbn 79JsqZslYOuwFSXrvhpqH07J+f98TnfXws2U/cHQanB2MVF91 MclU0wRUYA=
   ANgAAyAATAABsAAGAADYCB7GAgzTeUxuczWdpOGaqJ5V9MpfOaM 1co/bqJtn 19MOf8+jToU87Tp=
   42N0ZGgxNa86QSVEVNJwkg61dRKdckevJjaODFPNjhA8kjPveiijEfzFVVl9YzkVVp77aySPxOJ6hB=
   6PBljleppy7z3qKlpNMVI B18aP0EYl6q5yutsZvKXZD/pdA5BcWGsZs+FLqiNsB9tBAbAABgAA2=
   AADIABMAAGwAAYyA4G2HyM8pdt7RVmmspjcpltZZfl6bXG6u6HC2nnF5bR2u+8R+0n2+hU 1ynrc=
   f9TRO0HjtO84jpa0HCCljd 1OprmLlpd 10pbjZdbBRtlASaaYo TpJis/oi+nDXiZPIQe5XfCaY/G=
   W6NhrVGwbjz5iL8Tx1 NAZSoAuyxlPCWByFsfYUtqfs6oSK6XzO9qbfSsZWK69eCRom759LQ5rDS=
   +gkfWXu2ZzkCkp4 7Y5Tql ka 16uThvNY/LZPIFeJm3O72Apdcmp26iTEr9Uxv1 ajCgtL 1olpCySG=
   3c0cne+pEW329krjFiVTFWT+5aTYs/Wkpr1q6jok37Sc4k3NXaTB0dHR5q/HY88yfLSGVDVZqqv=
   C+Vj+xM4IxKDeNME2llxwUf7YB2AANgAAyAATAABsAAGAADYAAMgAFmlMw0lcfkMhuZkaYqL9X1=
   uMuakRGre/5YRBWf/4g2D1 pKp9r8H/KvPtlBz+0+Rndtr6Wflx6iHxQfoPxjzRG8I8NUkzEUc80=
   1Py3TzDUYLXNSbrvhilTZqRqLMl2yTEzfOEoYlsNYHeSal5ppKUw713i0kjDLaZmXMk/LyLTj2K=
   afPKambRmwslABOonDVn5skLnGplJ+tc4BI1y1vBTtRfJKHFG+QdL8tc1hqTOHk8asLHakpVt+Y=



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 131 of 484




     fKpaQSWRa+flY2pkRLGTEcrl2GsVi2nl+eV0nEtDFH7kQra)(99ORK1 0ouEE+Z8JRiR70zJXrxlm=
     eaqmKieVbofBL6qSRmqiJV5ohYtvurwhPhgCA2AADIABMAAGwAAYAANgAAxkBwNhpikfk3/Z2F5=
     +RqrfvjjKnhlj9ZEiqvjiEir/4Vo61WY95t91yrW./Wjo6adreWro8dyd9PXc3Xbn5MP1880Eqa2=
     71d5mOvaYZZh9kl8w27FzDVDHK7GDuMd0w9RqrtgkoR7t60tYKRR5jNcDsU/N3U9hEE9TwfEAx9=
    jQTUzVwOZxJYhpmo11 u1zh1 c3PXrDrKMG4+isZcDsUklnHdsHYZpE5yaddHr6+SLiek1 FGmK5Z2=
     npaRZ5rQlqlyzy7XQRq3YW./Vx9dF0NtpYIN1OK6hsooDmy6uWkzvl7xHa7oxYLabyw2y3dlBrcwN=
     1dESf8kKOVP3OoKt951zV9ArZSLeTSMZY5bDp5of42XEBRTugHcAAGAADYAAMgAEwAAbAABgAA/=
    2bgUTGarbyEWaghh1LtT4ZMVZ3PVxlNedvoB0/WEddrZ2kmqrv799J319dSucs205fWr6dzlxQR=
     Ufvl/2nmglsYfUQ4Y5Zx9io08dxSnWfcwx1 eh T112DkhP0MetiMIY1 Q9KpVlzGqmlwOmknWHGM=
    Wdvo5HqybnZ9ZWzWio1OrwmrmrsytlvUNDbnQvVpHzdm2JrBgFoHdd0vCc6TDVRRP25nP+M2xPQ=
    VaRojVp18aqhk3mraJ4euNu23jVU7QMS5hKWpyiNVrZGrqZurqXYMYfHkyNWwMDjWvy/AaH+0Px=
    gAA2AADIABMAAGwAAYAANgoHczlEekBi2ztX0TvahKmqtxlT92Y5XHpe5+cCMdNERNa2XrO0nW=
    I97kH6VP49OX5BDpy/cRl/8oJB+vGorrTnU4NhSp5RRrc5Oz4phqpE956cyEtE186xRitlMtAxT=
    HwOW81ANOWG+uYYbm6FyTk43bbNgiklnGobqNufjMfOsckpjmFNWjWLdjFXyMcqtltMsnbNd9LJ=
    jjvl+YZg6JiqXw5qH 1tXMialppJVJ6OVv6up6GW2n6qJkk3JVSEcYtrbpG 1IWN 12poVd3J0xo2Q=
    KM1aZy+mReCdXZiTTvkyNWnVQTrsiXV6mP/0tzFS+v6t0Xpbg6baQDDsAAGAADYAAMgAEwAAbAA=
    BgAA2AADGQHA7Ebq+wctW9tpDW1h+nh4+W0rbGWRhWvpLMXvExnLJ1Bp3+4mb6zrlxm7DIMnbaR=
    ymasO1 FAlu/JMsPkqDmxdlxBK65m5gmjzX2pku/Lq0Q0Nts4nGUQCpPSfqx9wksvx2esSjPTTtu=
    dY1 Tmb5dVqZNmYgZOBcCVMLVxzWFXVSOMYkhzGGG0qvuEEezqJ1 /iJYxoroMMq4ULMK8zNWKVC
    6=
    4a1 r5I0N1jWN9v1 MfRUs3rFQxwFhl/YrnOy+v2r9PjljlOVZ5KoDEL6+6/pe/EqNUZU5yyeYqH=
    0v2k4mOVp57mUgbaWbHhQHtgHYAA2AADIABMAAGwAAYAANgAAyAATCQmlHYjdUdbc004eReuvR
    g=
    HI 1cuoS+sfYdOrnPZFDp9yat0wcKP6ZnSajp80p 1LtSu6o5qsp+QbXjcpfYP0652aKd2vlegblc9=
    EJwhjNXHHmgndkSZ0BwNgAAyAATAABsAAGAADYAAMgAEwkF0MxG6slrU1 0cPV2+ifq9bSxVs+oi=
    +XL6JzCt6mu0vW0JZ6OfkkOaNVu9W+EqNX/UZxdmspsjgzHr3p/0h/FhcaRQtRIBMdlr+kCi+qy=
    q6OPBPtjDTRxmAADIABMAAGwAAYAANgAAyAATAABslZiN 1Y2Y9nSsM+urZtD1249SO6YftKWtVY=
    41 g//CKraHOpOIHSWIEf6ZeP+aeVYB+NLKYAUF5O1 Uer2e+qhQ4wvAOEPtAHDIABMAAGwAAYAAN=
    gAAyAATAABsAAGEiVgdiNVTZOd7UdpyfrdtHb9fvpZJc1 rySbqXwMHygABbpPgVQ7BsTDRQUMgA=
    EwAAbAABgAA2AADIABMAAGwAAYAAPhDMRurHafZYScoAAUSKRAMh3g7r3hnUUyacmwmUhTpo1I/
    =
    O0FTaEpGAADYAAMgAEwAAbAABgAA2AADICB6AyEGqt7DxxK5NvgOBSAAlmsAJ/D68Cjd4jQClq8=
    ATAABsAAGAADYAAMgAEwAAbAABgAA 1EZCDVWDx05IsWWEYoGBaBAlgVqjhxL2liNY5RpHGIE7cQ
    =
    QDhc8MAAGwAAYAANgAAyAATAABsAAGAADYKAnGAg1VusarnhL5NjgOBaBAFitQV9+UtLHaExOR8s
    =
    QFEAyAATAABsAAGAADYAAMgAEwAAbAABjobQwEGquV+2qoo6MziyOjFAOKQIFECvA53Ns6JZQXF=
    1IwAAbAABgAA2AADIABMAAGwAAYAANgoDcwEGis1jc2J/JscBwKQIFeoEB9QzPM1Qy8mKs3dPAo=
    I25EwAAYAANgAAyAA TAABsAAGAADYAAMZl4BX2P14KHaxmAXoYhQAApEVeDgoaMwV2GuggEwA
    Ab=
    AABgAA2AADIABMAAGwAAYAANglEYGPMYq5IWNalUhHBToXQpgvtXM/UKFX/+gLRgAA2AADIABMA
    =
    AGwAAYAANgAAyAgf7HwGl79x+i6sO1 VFvXSK2tbb3LKUJpoQAUSEqBk61 t4Izncx4dfv/r8NHma=
    HMwAAbAABgAA2AADIABMAAGwAAYAAPxMXBaUq4MAkMBKAAFoAAUgAJQAApAASgABaAAFIAC
    UAAK=
    QAEoAAWgAMFYBQRQAApAASgABaAAFIACUAAKQAEoAAWgABSAAIAACkCBJBWAsZqkYAgOBaA
    AFIA=
    CUAAKQAEoAAWgABSAAIAACkABKAAFoAAUgLEKBqAAFIACUAAKQAEoAAWgABSAAIAACkABKAA
    FoA=
    AUgAJJKgBjNUnBEDyxAp2dncQvSWo5cYKaWo5TY3MUqABGAADYAAMgAEwAAbAABgAA/2SAf5Ox
    =
    N+N+DsSf1 fCBwpAASgABfqOAjBW+05b9nhN2to7YKTiZrlf3izjxwP8eAIGwAAYAANgAAyAATAO=
    IQE2Wvm7Ez5QAApAASjQ+xWAsdr727DHa9De0UHN3TUytakZxh3MWzAABsAAGAADYAAMgAEwAA
    b=
    iYaAHv1/wdyj+LoUPFIACUAAK9F4FYKz23rblipLzjUDUX2bTDteEX8HT1 hA34N3HK7SG1 mAADI=
    ABMAAGwAAY6B0M9PD3jl4OTA+QFV9uUQgoAAViU48/OJr/0XJ6YswEunnEKPr+0N+ KP17nfUvX5=



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 132 of 484




    loBerFl2IMJwVjtQfF7e9Z8AwCjD2YvGAADYAAMgAEwAAbAABgAA2AgPQYwcrW3fztG+aEAFGAF=
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 133 of 484




                  PLAINTIFF'S EXHIBIT 10
                                  (PX 10)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 134 of 484

    Declaration of Dianne Carr


                                 DECLARATION OF DIANNE CARR

           I, Dianne Carr, declare the following:

       I. My name is Dianne Carr, and I am a United States citizen who is over the age of

           eighteen. I live in Punta Gorda, Florida.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

       3. In July 2019, I was following Kaitlyn Scott on Facebook as I had for some time. She was

          promoting a money-making opportunity called Digital Income System. On many days,

          she was showing the checks that she was getting from people signing up with Digital

          Income System. She would show large envelopes that she said that she was getting in the

          mail. She would open the envelopes and show the checks that she was getting. On some

          days, she showed several checks from the same envelope. Checks were for $500, $1500,

          $2500, and $6000 each. Kaitlyn was describing how easy it was to make money with

          Digital Income System. She said that once you join Digital Income, the coaches at

          Digital Income would do all of the work. She said that Digital Income would set up a

          website for each member and load traffic into the website for that member. She said that

          Digital Income's coaches would follow up by using the contact information of the leads

          that were captured in a member's website.

      4. At some point, I also asked some questions of Derek Foley, Kaitlyn Scott's coach. I also

          looked at Digital Income's website and saw how the company was saying that people

          could make money; the website iooked iegitimate. I also exchanged Facebook messages

          with several Kaitlyn followers -- all said they were making money. Derek Foley told me

          that Digital Income System invests the money in a marketing program and that we would



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 135 of 484

    Declaration of Dianne Carr


           get our money back plus profit. He told me that, at each level, the customer would be

           guaranteed a certain number of leads and sales. He told me that the higher the level that I

          joined, that would generate more leads and more sales; he said someone could join at a

          higher level and expand quicker. The more you invested, you would get more leads

          through the traffic rotator quicker. Derek said that the system would work for me. Derek

          made all the promises in the world about lead generation and income building. He also

          told me that ifljoined at the $5000 level, they would move me to the $12,000 level,

          which would mean even more leads and sales.

       5. After much thought, I decided to go forward. I told Derek that I decided to join at the

          $5000 level. On July 23, 2019, he sent me an e-mail congratulating me on deciding to

          join and instructing me on how to send him the money to get started. I was supposed to

          send two cashier's checks to him, one made out for $2500 for Kaitlyn Scott, and one for

          $2500 made out to Digital Income System. I was to mail the two checks to Digital

          Income's Miami, Florida, address. (Attachment A is·a true and correct copy of the e-mail

          that I received from Derek Jones.)

      6. I bought the two cashier's checks and mailed them to the attention of Coach Derek at

          Digital Income System Inc. at 6619 South Dixie Highway, #329, Miami, Florida 33143.

          I then sent the UPS tracking number to Coach Derek's email.

      7. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received any such documents after I paid for the

          membership.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 136 of 484

    Declaration of Dianne Carr


       8. On July 25, 2019, I received an e-mail from Digital Income's customer support with my

           DIS Login information including my capture page URL and my reference ID number.

           (Attachment Bis a true and correct copy of that e-mail.)

       9. At the beginning, I received automated e-mails that showed that leads were being

           generated. But no sales came from them.

       10. It seems that the only activity at Digital Income was the selling of memberships. Th.ere

          was no product that was being sold.

       11. I questioned why I was not getting any sales. I was seeing on Facebook that Kaitlyn was

          continuing to talk about the all of the sales that she was making. Derek told me I needed

          to be patient. That was the first time that I heard that I was supposed to be patient.

          Everyone had indicated that the sales would start happening quickly.

       12. On my third phone call to Digital Income two or three months later, I left a voicemail and

          a text message asking what else do I need to do to generate leads and sales. I pointed out

          that Derek was my coach, but I was not getting help on how I could start having sales

          made for my account. Within six months, Digital Income cut me off without any

          explanation. I could not get into my own dashboard anymore to see what was happening

          with my leads. I tried to call a number of times but could not get through on customer

          service's phone number or Derek's phone number. I have not heard anything from Derek

          or Digital Income since then.

      13. No sales have been made for my account. I have made no money with Digital Income

          System.

       14. I have lost $5000 to Digital Income System. If I had known that Digital Income was not

          going to get me leads that would tum into sales, as they told me that they would do, I


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 137 of 484

    Declaration of Dianne Carr


           would not have invested any money with them.

                    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
           is true and correct. Executed on August ..1u., 202 .



                                                                Dianne
                                                                Punta Gorda, Florida




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 138 of 484




                          ATTACHMENT A




                                                                  PX 10, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 139 of 484




   From: Derek Jones <coachderek@digitalincomesystem.com>
   Date: Tue, Jul 23, 2019, 10:24 AM
   Subject: ATTN: DIS Join Instructions Sk-Professional
   To:-


   Hey there Dianne,

   It was great speaking to you today and congratulations on your decision to join
   the Digital Income System.

   Member ID# 5729 (Kaitlyn Scott) will be very pleased to hear the good news.

   The Digital Income System utilizes direct peer-to-peer payments for your
   convenience.

   The total amount for Level Ill is: $5,000.

   (Coach's Note: Authorize Upgrade to 12k Level: DJ378S3U5)



   Instructions to join Digital Income System at Level Ill (Professional):

   Step 1) Please get 1 cashiers check for the amount of $2500 made payable to:

   Kaitlyn Scott

   Step 2) Get a 2nd cashiers check for the amount of $2500 made payable to:

   Digital Income System Inc.

   Step 3) Mail all checks to:

   Attention: Coach Derek
   Digital Income System Inc.
   6619 South Dixie Highway #329
   Miami, FL 33143

   *Send funds via FedEx/ UPS Overnight or USPS Express mail*




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 140 of 484




    Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
    receipt.

   My email is: coachderek@digitalincomesystem.com

    Step 5) Once you've sent the two payments to the address above, fill out the order
   form at:

   http://digitalincomeform.com

   *Note: Your referral ID # is: 5729 and your coach's name is Coach Derek*



   Once our DIS administrators have received your completed order form and your
   payments, we will set up your marketing suite with your join bonus at the
   Ambassador ($12,000) Level.

   We will also email you login details which contain your own user ID. Typically this
   process takes less than 24 hours from the time we receive your payment.

   Feel free to email or text message me with any questions during this process.

   Looking forward to your success on our team.




   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 141 of 484




                          ATTACHMENT B




                                                                 PX 10, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 142 of 484




    From: Digital Income System Customer Support
    <customersupport@digitalincomesystem.com>
    Date: Thu, Jul 25, 2019, 11:31 PM
    Subject: DIS Login info
    To:-

    Hello Dianne ,



    Welcome to the DigitallncomeSystem! Your personal Referral ID# is:       9747
    Your Capture Page URL is: http://digitalincomesystem.com/9747

    Your system is already set up to receive traffic and our consultants are standing by, ready to engage
    your potential buyers.

     Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a
    few days to start delivering new traffic to your website. Please remember that this traffic is a special
    bonus from our team to you, and is meant to supplement but not to replace your own traffic and
    efforts.

     Our list of" Done For You" traffic sources is outlined in the back office. Simply click the button that says
    "Get Traffic Here" to access our exclusive traffic resources.

    To be successful you have to be consistent with your advertising. The secret to success is filling up your
   pipeline with prospects and letting the system and our coaches work on your behalf. If you need
   assistance or have questions, please send an email to:   customersupport@digitalincomesystem.com

   Our DIS support team is always available to assist you technically, and if needed, to forward your
   request to a business consultant.

    Because our consultants are engaged with your leads and spends most of their time on the phone with
   potential customers, please make sure you do not contact them directly until you have given our
   customer support staff a chance to resolve the issue for you.



   You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php



   Log in with this email:



   And type in this password:         support!



    (Your login password can be changed in the account section, after your first login, if desired).




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 143 of 484




    When you log in, be sure you watch the fast start video because it will show you how to navigate the
    back office,

    how to access a few basic features, and most importantly, how to start your first marketing campaign.



    Welcome again from the DIS team, we look forward to working with you and to your continued success!



    -01S Admin




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 144 of 484




                    PLAINTIFF'S EXHIBIT 11
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 145 of 484




                 PLAINTIFF'S EXHIBIT 12
                                 (PX 12)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 146 of 484

   Declaration of Gina Eason


                                  DECLARATION OF GINA EASON

          I, Gina Eason, declare the following:

      1. My name is Gina Eason, and I am a United States citizen who is over the age of eighteen.

          I live in York, Pennsylvania.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. In early September 2019, I was looking for an opportunity to make some money online

          from home. I saw on Facebook someone named Shari Vanleer who was showing how

          she was making a lot of money with a business opportunity called Digital Income

          System. I also talked with Shari on the phone and communicated through Facebook

          Messenger. She was telling me that I would never have to advertise myself in order to

          get sales. She told me that I would buy into the system and all of the leads would be free.

          Her coach, Coach Derek, would close all of the leads. She said that she was making

          $5000 a month. She told me that I would do so well.

      4. I next talked with Coach Derek. He described the system as a qualified referral program

          where I would be an affiliate selling customer relationship management systems to

          anyone needing such a system. He also said that this was a total affiliate program not

          sold in retail stores. He said that he could bring me in so much money. He described the

          different levels and said the higher you go, the more traffic you would get. He said that I

          would get tons of leads at the $5000 level. He said that he would make my sales for me;

          I would not have to advertise it or do anything after I signed up. He said that this was an

          amazing opportunity.

      5. I decided to buy a membership in Digital Income System. After I told Coach Derek that I



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 147 of 484

   Declaration of Gina Eason


          would join at the $5000 level, he sent me an e-mail congratulating me about joining and

          telling me how to send the money to him. I was to send a cashier's check for $2500

          made out to Digital Income System and another $2500 cashier's check made out to Shari

          Vanleer. I was to send the two checks to Coach Derek at Digital Income System's

          address in Miami, Florida.

      6. I bought the two checks on August 30, 2019, and sent them to Coach Derek at the Miami,

          address. (Attachment A is a true and correct copy of the cashier's check that I had made

          out to Digital Income System.)

      7. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

      8. I got very few leads in the system. I also paid $150 for extra traffic to try to get leads

          and sales. The company that I bought the extra traffic from was recommended by Coach

          Derek.

      9. Several months later, there were still no sales. I also never saw anything that looked like

          customer relationship systems. There seemed to be nothing that we were selling other

          than getting more recruits.

      10. I called Coach Derek to find out why and he told me that there was a glitch in the system.

          I pressed him about it and he told me that they were fixing it. He said that I was one of a

          couple of people who ran into glitches. This was really upsetting. I eventually

          threatened to go to a lawyer if they could not get it right and start getting me leads and



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 148 of 484

   Declaration of Gina Eason


          sales, as they promised. Coach Derek told me that my membership would be null and

          void if I went to a lawyer.

      11. My last contact with Digital Income System was about six months ago. Finally, in July

          2020, I tried to go into my back office that had been set up by Digital Income. But I was

          locked out of it. I called Coach Derek to find out what was happening and left a message,

          but he never responded to me.

      12. I have lost over $5000 to Digital Income System. If I had known that Digital Income

          System was not going to make sales for me and send me commission checks, as they

          promised that they would do, I would not have paid them any money.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that-the foregoing
          is true and correct. Executed on September _J_, 2020.



                                                                tltna1 Bwtw
                                                               Gina Eason
                                                               York, Pennsylvania




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 149 of 484




                         ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 150 of 484



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 151 of 484




                  PLAINTIFF'S EXHIBIT 13
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 152 of 484




                           DECLARATION OF BEVERLY FRANKLIN

          I, Beverly Franklin, declare the following:

      1. My name is Beverly Franklin. I am a United States citizen who is over the age of

          eighteen. I live in Ellenton, Florida.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In 2019, I saw Facebook posts by a woman named Tammy Montgomery, marketing a

         money-making opportunity called Digital Income System. In her Facebook posts and

         emails she sent me, Tammy explained that, by purchasing membership in Digital Income

         System, individuals could sell Digital Income System membership to others for a 50%

         commission. She said that Digital Income System "coaches," who were experienced

         marketers, would call prospects and sell membership to them on my behalf. Tammy

         claimed that she had earned substantial income from Digital Income System-to the best

         of my recollection, tens of thousands of dollars. She said that others who joined the

         system could earn similar income. She showed photographs of commission checks or

         money orders she had received that were worth thousands of dollars.

      4. To learn more, I contacted Tammy, who put me in touch with Derek Jones, or "Coach

         Derek."

      5. Derek and I spoke by phone. Derek explained that there were different levels of

         membership, each for a different price. He said that Digital Income System would

         provide each member a website. Digital Income System would then market each

         member's website to prospects or ''traffic." He called this marketing "rotating" a

         member's website through "traffic." Depending on a member's purchase level, the




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 153 of 484

    Declaration of Beverly Franklin


           member's website would be "rotated" through traffic a certain number of times. The

           higher the membership level, the more the traffic rotations. Prospects, or "leads," who

           visited a member's website and wanted to learn more could enter their contact

           information and request a callback from a Digital Income System coach. Derek said that

           the coaches, who were experienced marketers, would then call each lead, advertise

           Digital Income System to them, and then attempt to "close" the sale. If a sale closed, the

           member would receive a 50% commission. Derek said members would not be required

          to call a single lead, and that the entire system ran on "autopilot." Derek claimed that I

           could make substantial income through Digital Income System.

       6. Based on the information I received from Tammy and Derek, I thought I would make

          substantial income through Digital Income System. As a result, I decided to purchase a

          $1000 membership.

       7. Coach Derek emailed me instructions for how to pay for Digital Income System

          membership. (Attachment A is a true and correct copy of Derek's email.)

       8. Pursuant to Derek's instructions, I mailed Digital Income System two money orders in

          September 2019-one for $500 made out to MBA Holdings, Inc. (a company I believe is

          uwned by Tammy) and one for $500 made out to Digital Income System. I mailed both

          to Digital Income System's address at 6619 South Dixie Highway #329, Miami, FL

          33143. (Attachment Bis a true and correct copy of the check that I made out to and

          mailed to Digital Income System.)

       9. Prior to mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 154 of 484

    Declaration of Beverly Franklin


           range of commissions. I also never received such documents after I paid for the

           membership.

       10. After I mailed my money orders to Digital Income System, I received credentials to a

           Digital Income System "backoffice" page. My backoffice included a section that could

           show me the names and contact information of the leads who visited my website and

           asked to be contacted by Digital Income System. To the best of my recollection, the last

          time I checked my backoffice in approximately May 2020, it listed fewer than 15 leads.

       11. To boost my sales, I paid approximately $500 for extra marketing, provided by two

          individuals recommended by Tammy.

       12. Ultimately, however, Digital Income System closed no sales on my behalf, and I made no

          money through it.

       13. Based on the information I received from Tammy and Derek, I expected Digital Income

          System to close sales for me. It did not. Had I known it would not close any sales for

          me, I would never have paid any money for this supposed business opportunity. I lost

          $1000 to Digital Income System.

          Pursuant to 28 U.S.C. § 1746, I,~eclare under penalty of perjury that the foregoing is true
   and correct. Executed on September Ji_, 2020.

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 155 of 484




                          ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 156 of 484




     On-··----
          SeJ>-·-----··-·------
                9, 2019, at 10:16         PM, Derek Jones
                                - ·-- -·~--·---·----- - -· ·- -
                                                                  <coachderek@djgitaljncomesystem.com> wrote:




       Hey there!

       Congratulations on your decision to join the Digital Income System.

       Member ID# 39791 ( Tammy Montgomery) will be very pleased to hear the good
       news.



       The Digital Income System utilizes direct peer-to-peer payments for your
       convenience.

       The total amount for Level I is: $1,000.




       Instructions to join the Digital Income System at Level I (Entrepreneur):




       Step 1) Please get 1 cashiers check (or money order) for the amount of $500 made
       payable to:

       MBA Holdings Inc



       Step 2) Get a 2nd cashiers check (or money order) for the amount of $500 made
       payable to:

        Digital Income System Inc.



       Step 3) Mail all checks to:

       Attention: Coach Derek
       Digital Income System Inc.

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 157 of 484



      6619 South Dixie Highway #329
      Miami, FL 33143

      *Send funds via FedEx/ UPS Overnight or USPS Express mail*



      Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or
      USPS receipt.

      My email is: coachderek@digitalincomesystem.com



      Step 5) Once you've sent the two payments to the address above, fill out the order
      form at:

      http:lldigitalincomeform.com


      *Note: Your referral ID# is: 3791 and your coach's name is Coach Derek please
      make sure to enter "Level 1 - Entrepreneur" for the join level in the form.*

      Once our DIS administrators have received your your payments, we will set up your
      marketing suite at the Entrepreneur ($1,000) Level and email you login details
      which contain your own user ID.

      Feel free to email or text message me with any questions during this process.

      Looking forward to your success on our team.




      Email: coachderek@di gitaljncomesystem .com
      Phone: (305) 720-6952




                                               6                             PX 13, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 158 of 484




                          ATTACHMENT B




                                        7                        PX 13, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 159 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 160 of 484




                  PLAINTIFF'S EXHIBIT 14
                                  (PX 14)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 161 of 484


   Declaration ofTania Gonzales


                               DECLARATION OF TANIA GONZALES

          I, Tania Gonzales, declare the following:

      1. My name is Tania Gonzales, and I am a United States citizen who is over the age of

          eighteen. I live in Boca Raton, Florida.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. In December 2019, I was looking for an opportunity to make some money online from

          home. I had been following a woman named Jennifer Hedrick on Facebook for some

          time. She was promoting a money-making opportunity called Digital Income System

          that would require very little work for someone who bought into the program. I had a

          part-time job and a child, and I wanted to be able to make some extra income without

          needing to put a lot of time into it.

      4. In July 2019, Jennifer Hedrick had sent me a text message that described Digital Income

          System as having "autopilot income":

                          So I Sent You Details In The Voice Chat Above. Please Listen to
                          that first And Then To our Site For All The Details And Video----
                          Www.Autopilot.Money.

                          PS: Make Sure To Request A Call Back From a Coach To Answer
                          Your Questions or To Get Started Making Money On Autopilot.

                          PPS: Yes, This is A World Wide Opportunity. AutoPilot Income.
                          autopilot money.

         (Attachment A is a true and correct copy of a text message that I had with Jennifer

         Hedrick t.1.at was one of the things that got me interested.)

      5. On December 11, 2019, I texted Jennifer to tell her that I had the money to invest at the

         $1000 level. I told her that "I could save $1000 by doing Shipt [where I work] at night. I



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 162 of 484


   Declaration of Tania Gonzales


          was wondering if you could walk me through on how to invest? Thank you."

      6. Jennifer wrote back "Yay! That's awesome! I can send you the instructions on how to

          get started once you have the $1k." I told her that I had the $1000 right then. On

          December 12, 2019, Jennifer sent the instructions to join Digital Income System at Level

          I (Entrepreneur Level).

      7. I then expressed some concerns and asked Jennifer to solve my doubts. I asked Jennifer

          for more detail about what would happen. She told me that "Our coaches get half

          because they do all of the calling, speaking with leads, closing them and sending them

          instructions. She told me that the product that is sold through Digital Income System is

          marketing videos. There is no other Product that we sell as part of the membership." She

          also explained the traffic rotator. She told me that, depending on the level someone joins

          is how many times my website was placed in the lead rotator. One rotation per cycle

          means that is "how many times my website is sent to so many people" for them to sign up

          with Digital Income System.

      8. Jennifer told me that I would see money soon. She said that everyone makes money

          within weeks.

      9. The instructions on how to join were to send one cashier's check for $500 made payable

          to Jennifer Hedrick and a second cashier's check for $500 made payable to Digital

          Income System. I was then instructed to mail the checks to: Coach Derek, Digital

          Income System, 6619 South Dixie Highway, #329, Miami, Florida 33143.

      10. On December 19, 2019, I bought two money orders instead of cashier's checks and sent

          them to Digital Income System in Miami. (Attachment Bis a true and correct copy of the

          money order that was made out to Digital Income System.)



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 163 of 484


   Declaration of Tania Gonzales



      11. I was also instructed to then send the tracking number of the Express Mail package.

          Jennifer asked me to send her the tracking number after which she would send me the

          order form to fill out. I sent her the tracking number and then got the order form from

          her. I filled out the order form and sent that to her.

      12. Jennifer had told me when we first started talking that I would he moved to the next level

          ($3000 level) after I joined, which sounded like a good deal and one of the reasons I

          joined. But, after I bought, when I mentioned to her that I thought that I was supposed to

          be upgraded to the next level, she said that she was mistaken when she told me that. She

          then told me that the automatic increase to the next level did not start unless someone

          bought in at least at the $3000 level.

      13. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

      14. Shortly after I signed up, Jennifer Hedrick sent me personal training videos. As I was

          checking the videos, I saw one telling how she creates fake accounts in Facebook and

          telling how she comments on her own comments with those fake accounts so that people

          think these fake accounts are real people with good reviews. The video talks about

          certain people getting money when it is actually Jennifer faking it.

      15. Shortly after I bought the membership in Digital Income System, I also paid $ i 00 to

          "Point Click Cash System" for extra traffic so that I could get more leads. That source

          was one recommended in the website Digital Income System set up for me.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 164 of 484


   Declaration of Tania Gonzales


      16. Jennifer told me that my coach was the same person that she had as a coach, Derek Jones

          Foley. She gave me his contact information. I started texting with Derek. He told me

          that at my level I would get 40 rounds of traffic a year.

      17. I texted with Derek a number of times about how I was not making any money. At one

          point, I asked him, "aren't you the coach who should be looking leads for me?" He told

          me, "Nope, we don't look for leads. We purchase leads as a company and distribute to

          members in proportion to their level. It's an automatic process headed by our marketing

          department."

      18. I texted Jennifer too and told her that I was not making any money, but she had no

          solution for me not making money. About April 29, 2020, I wrote her that I was not

          seeing any results and did not think it would work for me. She wrote back that she was

          sorry that I felt that way. She said that she knows the System works. She said that ifl

          don't want to promote it myself, I can order traffic from my back office from Digital.

      19. In June 2020, Derek told me that "DIS is still active -there's no issue whatsoever." I

          then texted back to Derek, "I haven't received a penny in 6 months. When you talk about

          DIS, you say you will receive money and I see nothing."

      20. It is now eight months since I bought the membership and there has not been one sale for

          my account. I have lost $1100 to Digital Income System.

      21. If I had known that I would not make any money from Digital Income System, since they

          promised me that I would make money, I would not have paid the money to them.


                                                                        :i /
                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on September 23 , 2020.

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                                                                Tania Gonzales
                                                                Boca Raton, Florida

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 165 of 484




                         ATTACHMENT A




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 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 166 of 484


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 167 of 484




                          ATTACHMENT B




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        Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 168 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 169 of 484




                  PLAINTIFF'S EXHIBIT 15
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 170 of 484


   Declaration of Janie Guzak


                                DECLARATION OF JANIE GUZAK

          I, Janie Guzak, declare the following:

      1. My name is Janie Guzak, and I am a United States citizen who is over the age of

          eighteen. I live in Palm Desert, California.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. In August 2019, I learned about Digital Income System through Alex Zubarev, who was

         promoting a money-making opportunity on Facebook called Digital Income System. On

         Facebook, he showed that he was receiving envelopes, opened them, and showed the

         checks that he was getting from people signing up with Digital Income System. On some

         days, he had several envelopes sent to him with anywhere from $500 to $6000 each.

         Alex was describing how easy it was to make money with Digital Income System. He

         said that once you join Digital Income, they would do all of the work. He said that

         Digital Income would set up a done-for-you system that would include a capture page

         with a back office with trainings and traffic vendors. He said that their coaches would

         follow up on the leads that would be placed in a member's back office that was located in

         the website.

      4. Alex's membership ID number was entered into a callback page for a DIS coach to call

         me back. I then called the DIS number and left a message that I was referred by Alex

         Zubarev. I then called Alex back and told him that I wanted to upgrade a level. The

         video presentation in the DIS website that did the telling and selling for DIS said to get

         back to the coach within 24-72 hours to take advantage of the upgrade to the next level.

         When I talked with Alex, he told me that Bill Foley would call me on Monday and I



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 171 of 484


    Declaration of Janie Guzak


           would still get the upgraded level.

       5. Bill Foley called on Monday, and he sold me on how this was a DONE FOR YOU

           SYSTEM. All I would have to do was to send traffic (which I did aggressively to get

           fast results). Bill Foley gave me a hopeful, motivational, and super inspirational sales

           pitch and told me repeatedly how this DONE FOR YOU SYSTEM can be done easily.

           Bill talked a lot about how well Digital Income System was doing. He saw how hungry I

          was to retire my husband from over 40 years of dental practice. I told Bill Foley that "it

          was necessary for me to succeed. My husband is trusting me to make this work. I cannot

          afford for this to fail." I told Bill Foley that I work with my husband's dental practice

          and need to supplement our income fast to get my husband retired quickly because of

          life-threatening medical issues. Bill said, "No problem. You can get your husband out of

          dentistry." He told me that the system would work for me and I could expect sales from

          Digital Income System right away. Bill Foley told me that, at each higher level that

          someone joined, the consumer would be guaranteed more traffic from the company's

          traffic rotator. That would generate more leads and more sales. He also told me that if I

          joined at the $5000 level, they would automatically move me to the $12,000 level, which

          would mean even more leads and sales.

       6. When I asked him about the company, he told me that Digital Income was legitimate.

       7. Since I was working full-time, I needed something easy to do. Bill told me that this

          would be super easy. He said that Digital Income coaches would follow up all of the

          leads and do all of the selling and that I would not have to taik to anyone myseif.

       8. After much thought and discussion with Bill Foley, I decided to go forward. I told Bill

          that I decided to join at the $5000 level. On August 13, 2019, he sent me an e-mail



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 172 of 484


    Declaration of Janie Guzak


           congratulating me on deciding to join and instructing me on how to send him the money

           to get started. I was supposed to send two cashier's checks to him, one made out for

           $2500 for Alex Zuberav, and one for $2500 made out to Digital Income System. I was to

           mail the two checks to Digital Income's Miami, Florida, address. (Attachment A is a true

           and correct copy of the e-mail that I received from Coach Bill.)

       9. On August 19, 2019, I sent in the two $2500 cashier's checks to the Digital Income

           address in Miami, Florida. (Attachment Bis a true and correct copy of the cashier's

           check to Digital Income System, Attn.: Bill Foley.)

       10. Before mailing my payment to join Digital Income System, I never received a written

           disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

       11. As I signed up, Bill Foley told me that when I was upgraded from the $5000 level to the

          $12,000 level, my capture page would get more traffic from the traffic rotator and more

          preference on traffic from Digital Income System.

       12. After I bought into Digital Income System, I wanted to increase my chances of making as

          many sales as possible. I decided to buy more traffic so that Digital Income could make

          more sales for me. I asked for traffic suggestions from Bill Foley. He gave me

          traffic sources, and I kept pushing traffic with no results. I spent somewhere between

          $8,000 - 15,000 on additional traffic.

       13. Bill Foley sold me on one of his traffic vendors to test out - with zero results. He then

          told me about the postcards he designed with a picture of all the checks he received in the



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 173 of 484


    Declaration of Janie Guzak


           truck of his car. He said, "Just try the postcards; they are working." In September 2019,

           I paid for 1000 of those postcards to be sent out to prospects. I lost money on the

           postcards because they did not work. (Attachment C is true and correct copies of the front

           and back of the postcard that I was told was designed for me.)

       14. I kept telling Bill Foley that my husband was getting very upset with me for pushing all

           of this traffic and getting no results. Bill said to give it one more try, which I did. I also

           asked Bill for another coach after I found out that he was the owner of Digital Income

           System. I told him that he did not have the time to put into my leads and I was not

           getting any results. I requested a new aggressive coach to help me close sales. I was

          ignored; no new coach was given to me.

       15. Every week during my involvement with Digital Income System, I attended Alex's

          weekly team Zoom meetings, and then these trainings would be posted in Alex's private

          team Facebook group. Alex would show proof of his sales and make motivational

          speeches to his team ''to just keep pushing traffic to the Digital Income System." The

          weekly trainings included the traffic sources for the system or whatever Alex was

          promoting at the time. They were really pep talks where he would encourage people to

          pay more to increase to the next level. In the chat room, a number of people would

          express their frustration at not having any sales. Many of these people appeared to be

          senior citizens who had put their life savings into this opportunity. But they seemed to be

          getting no sales.

       16. Since I was not getting any saies in the first coupie of months, I called Bili and

          complained. I repeatedly asked Bill Foley and Alex Zubarev for help. (Attachment D is a

          true and correct copy of October 16, 2019 e-mail that I sent to Alex.) Bill kept giving me



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 174 of 484


    Declaration of Janie Guzak


           the same excuses about it taking time to make sales and telling me that his coaches were

           making the calls. He said that some people they called did not really have the money to

           invest. Alex also did very little to help me.

       17. I also tried to send messages to Derek Jones, the son of Bill, to get some help to possibly

           start calling my leads. Alex said he messaged Derek Foley, but I was again left with no

          help to follow through with leads and with zero results. We were told to allow the

          coaches to call the leads and that this was a "Done for you system."

       18. I told Bill Foley that I had personally talked with a number of my leads and that they told

          me that they had never been called by any Digital Income System coach. That included

          at least 5 people who were interested in investing at the $25,000 level. Bill told me that

          they had been called. It was very frustrating for me. As I continued to call people, I was

          told that either the leads were not interested in joining after they heard the sales pitch or

          that they had never been called in the first place. Others told me that they did not know

          what I was talking about, that they were not expecting to be presented with a sales pitch

          by anybody; they did not know how I had gotten their names.

       19. I was desperate enough to call my own phone line for DIS and to start talking with

          another coach, whose name was "Elvis." After giving Coach Elvis the leads that were

          interested in talking to a coach, he gave me zero results as well. Elvis was though the

          only coach that put some notes in my back office about contacting a lead. Coaches were

          supposed to put notes in the back office so that we would know what the status was of

          any contacts with the leads, but I did not see any other notes in my back office except for

          Coach Elvis. I asked Bill repeatedly for notes and updates for my leads only to be told

          "nobody is interested or they do not have any money." I told Bill "over 80 callback



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 175 of 484


    Declaration of Janie Guzak


           leads, and there is not one person interested?" Bill Foley said "correct" and gave me the

           same excuses. Bill Foley told me "we do not have the time to put in notes in the back

           office, as we are too busy making phone calls."

       20. At one point, I had over 1700 leads in my Digital Income back office. These leads were

          ignored or disregarded. Nothing was sold by Digital Income.

       21. Bill knew I wanted an exit strategy for my husband, but he was getting me no results. I

          kept calling Bill asking for immediate help to get the success that I was promised. He

          just gave the same insulting and demeaning excuses on the phone and by e-mail. When I

          last talked to Bill in October 2019, he promised to help me get results. Nothing

          happened.

       22. Digital Income System presented false promises and had dishonest dealings with me, and

          Bill misrepresented Digital Income System as a company with integrity and value. I

          stopped promoting Digital Income to other people after I did not get any results myself.

          I could not present this company to any more people because of the way that I was taken

          advantage of. I put my trust and faith in Bill Foley to help me get my husband retired,

          but he decided to take advantage of people in desperate situations. This experience was

          very frustrating. I had put a lot into money, time and energy into this process.

      23. No sales have been made for my account. I have made no money with Digital Income

          System. As of the last time I checked in mid-August 2020, Digital Income was still

          putting new leads into my back office, I suppose through the use of the traffic rotator.

          There were two pages of callback leads in the back office and 36 pages of ieads

          altogether- 1758 contacts. But nothing has come of any of them.

      24. The approximate amount of money invested in marketing, advertising, and system was



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 176 of 484


    Declaration of Janie Guzak


           $15,000-20,000. That is how much I lost. Bill Foley took advantage ofmy family's

           health situation. He has no compassion for what is said and done to his members that

          joined Digital Income System. He left me with a lot of emotional and financial distress.

           The false promises and the unjust actions of Bill Foley and Digital Income System left

           me stressed out. If I had known that Digital Income was not going to get me leads that

          would turn into sales, as they told me that they would do, I would not have invested any

          money with them.

                    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury tha the foregoing
           is true and correct. Executed on September .J.k._, 2020.              _       ·   .




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 177 of 484




                          ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 178 of 484




   Janie Guzak <                         > Mon, Aug 19, 2019 at 3:07 PM
   To: Coach Bill <coachbill digitalincomesystem.com>
   Bee: janie guzak <                        , terry guzak -
   Awesome, thank you so muc . rea         ing to you! Janie Guzak


   On Mon, Aug 19, 2019 at 3:05 PM Coach Bill <coachbill@digitalincomesystem.com>
   wrote:


   Hey there Janice,

   It was great speaking to you today and congratulations on your
   decision to Purchase the Digital Income System.

   Member ID# 9811 (Alex 2.) will be very pleased to hear the good
   news.

   Here's the simple process to Purchase the DIS Level 3 Product ($ 5,000 )
   which includes a free upgrade to Product Level 4 ($12,000 )

   DIS has a 50 - 50 split payment plan set up to have the members
   make peer to peer Direct payments to one another and
   the total amount for the DIS Level 3 Product is:             $5,000.
   Here are the Payment Instructions for Digital Income System

   Step 1) Please get 1 cashiers check in the amount of$
   2,500 made payable to:
   Alex Zubarev

   Step 2) Get a 2nd cashiers check In the amount of$ 2,500
   made payable to:
   Digital Income System Inc.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 179 of 484




   Step 3) Send the checks in the same envelope via FedEx /
   UPS Overnight or USPS Overnight Express mail to:
   Attention: Coach Bill
   Digital Income System Inc.
   6619 South Dixie Highway #329
   Miami, FL 33143

   * Make sure to Send funds via FedEx/ UPS Overnight or
   USPS Overnight Express mail* and Email me with the tracking
   number from your Fed-Ex/UPS Overnight or USPS receipt.

   My email is: coachbill@digitalincomesystem.com

   To get your DIS marketing System set up ASAP, Once you've
   sent the two payments to the address above, fill out the order
   form at:
   http://digitalincomeform.com

   *Note: Your referral ID # is: 9811 and your coach's name
   is Coach Bill*

   Once our DIS administrators have received your completed order
   form and your mailed payments, we will set up your marketing
   suite with your purchase bonus at the
   Ambassador ($12,000) Level 4.

   We will also email you login details which contain your own user
   ID #. Typically this process takes less than 24 hours from the
   time we receive your payment.

   Feel free to email or text message me at 786-385-2048 with any
   questions during this process.
   Looking forward to your success on our team.
   Coach Bill


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 180 of 484




                          ATTACHMENT B




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 181 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 182 of 484




                          ATTACHMENT C




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 183 of 484




     A Picture Is Worth 1000 Words!




Are You Ready For A Trunk Full Of Checks?

                 Visit The Web Site Below Right Now.

                  www.ezcashlife.com




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 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 184 of 484


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 185 of 484




                          ATTACHMENT D




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 186 of 484




   Janie Guzak
   To: Alex Zubare
   Bee: janie guzak

   Alex,
   Thank-you so much for your help with Derek. I appreciate help with him calling my leads.

   Update on status of some new leads. Some of my recent leads are calling back twice or more to
   talk to a coach. Rabin called back three times but put incomplete phone number so I emailed
   him to send correct phone number. Please forward this to Derek for me. I call all my leads within
   24-48 hrs and it stresses me out to not see any coaches notes. I have lot interested people that
   are calling back more than once. I look at each callback in my DIS back office 2 pages now.
   1600 leads from 5k traffic. I sent above email to Bill.

   People not getting calls from coaches .. Help appreciated. 12k and 5k leads called twice.

   Let's make some money, we have the leads! They need coach calls. Help appreciated.

   Wrth sincere appreciation, Janie Guzak .




                                                                                     PX 15, pg.17
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 187 of 484




                  PLAINTIFF'S EXHIBIT 16
                                  (PX 16)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 188 of 484




                               DECLARATION OF CONNIE HARN

          I, Connie Harn, declare the following:

      1. My name is Connie Harn. I am a United States citizen over the age of eighteen, and I

          live in Sheridan, Wyoming.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In 2019, I saw Facebook posts, including videos, by a woman named Jennifer Hedrick,

         marketing a money-making opportunity through a company called Digital Income

         System. Jennifer's posts explained that, by purchasing membership in Digital Income

         System, individuals obtained the right to sell Digital Income System membership to

         others for a 50% commission. Jennifer claimed that members were not required to do

         any marketing, as Digital Income System would do all of the marketing on behalf of its

         members. Digital Income System "coaches," who were experienced marketers, would

         call potential purchasers and "close" all sales on behalf of its member. In short, she said

         the system worked on "autopilot." Jennifer's posts included videos of her opening

         envelopes from Digital Income System with commission checks inside. To the best of

         my recollection, some of these checks were for $500, some were for $2,500, and some

         were for more. To the best ofmy recollection, Jennifer's posts stated that she had made

         at least tens of thousands of dollars through Digital Income System. She indicated that

         others could also earn substantial income by purchasing membership in Digital Income

         System. (Attachment A is a true and correct copy of some of Jennifer Hedrick's

         Facebook posts regarding Digital Income System.)

     4. After I contacted Jennifer to learn more, she connected me to someone called Derek




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 189 of 484

   Declaration of Connie Harn


          Jones, or Coach Derek, to further discuss Digital Income System.

      5. Derek and I then spoke by telephone. Derek explained that Digital Income System

          offered multiple levels of membership, each at a different price. Like Jennifer, Derek

         explained that, by purchasing membership in Digital Income System, individuals

         obtained the right to sell Digital Income membership to others for a 50% commission.

         Once a participant purchased membership, he or she would receive access to a Digital

         Income System website associated with his or her member account. Digital Income

         System would then advertise the member's website to viewers, also called "leads" or

         ''traffic," using a Digital Income System ''traffic rotator." Membership included a base

         level of "free lifetime traffic." Beyond that, the higher a member's level, the more

         Digital Income System would generate leads by rotating the member's website through

         traffic. Each member's website included a place for leads to enter their names and

         contact information to request a callback from a Digital Income System coach.

         According to Derek, a coach would then call each lead who had requested a callback and

         attempt to sell membership to them. In sum, Derek described Digital Income System as

         an "autopilot" and "hands free" way to earn money. He said there would be "no long

         hours, no outbound calls, and no prospecting" on my part because Digital Income System

         would generate the leads, call the leads, and close the sales for me. In fact, he claimed

         that the average member spent only "4.2 minutes per week" using Digital Income

         System's "automated" system.

      6. Based on the information provided by Jennifer and Derek, I believed I could earn

         substantial income through Digital Income System. As a result, I decided to purchase

         membership.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 190 of 484

   Declaration of Connie Harn


      7. I told Jennifer that I wanted to purchase a $5000 membership but did not have the money

          available. She referred me to a lender. I ended up taking out a loan with an interest rate

          over 10%.

      8. Derek then provided me instructions by phone on how to pay for my membership.

      9. In October 2019, pursuant to those instructions, I mailed two checks-one for $2500

          made out to Jennifer Hedrick and one for $2500 made out to Digital Income System-to

          Digital Income System's address at 6619 South Dixie Highway #329, Miami, FL 33143.

          (Attachment Bis a true and correct copy of the two checks.)

      10. Prior to mailing my payment to join Digital Income System, I never received a written

         disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the

         membership.

      11. After I mailed my checks to Digital Income System, I received a welcome email with a

         link to my website and credentials to a Digital Income System account or backoffice

         page. (Attachment C is a true and correct copy of the welcome email.)

      12. My backoffice included a section that could show me the names and contact information

         of viewers, or leads, who visited my website and asked to be contacted by Digital Income

         System.

      13. To the best of my recollection, sometime after purchasing membership, I recall seeing

         between ten and twenty leads listed in that section. But no sales resulted.

      14. As a result, I decided to purchase extra marketing, or traffic, available through the

         backoffice. To the best of my recollection, I spent approxii"11ately $100 on extra traffic.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 191 of 484


   Declaration of Connie Harn


           Still, no sales resulted.

       15. I later wrote Jennifer Hedrick through Facebook Messenger and told her I was earning no

           sales. I do not recall her response. However, I do recall that when others publicly posted

          to her that they were not making sales, she would refer them to her training videos,

          explaining how to proactively market Digital Income System using their Facebook

          profiles. That response contradicted her earlier claims (and Derek's earlier claims) that

          Digital Income System would do all of the marketing for its members and that the system

          worked on "autopilot."

       16. Ultimately, I obtained no sales. As a result, I have made no money through Digital

          Income System.

      17. If I had known that Digital Income System was not going to close any sales for me, as

          Jennifer and Derek promised it would, I would never have paid any money for this

          supposed business opportunity. I lost approximately $5100 to Digital Income System.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct. Executed on September!}__, 2020.        A                   1
                                                         J,. .
                                                        ConnieH
                                                        Sheridan, Wyoming




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 192 of 484




                          ATTACHMENT A




                                        5                        PX 16, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 193 of 484




      A         Jennifer Hedrick                                    •••
      ~         Jan8·0




          ~.+$1,500 Made Today &
          I Haven't Lifted A Finger
                                    ~-i~
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                #auto ilotMone \+


     00                     and 47 others          30 Comments 1 Share

          [(J    Like          CJ   Comment               ~ Share




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 194 of 484




     ~         Je. nnifer Hedrick                                     •••
     \U'       Jan17·0




           \l,QMG I Made $7,000
                  Yesterday~
           Going Live Today With
               ~-9·s1ok
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     IA,o••
     ..., •·                   and 86 others             60 Comments

          (6    Like           CJ   Comment              ~ Share




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 195 of 484




              Jennifer Hedrick is    9   feeling excited.                  • ••
     •        Jan 21 ·   0


             Just Got Another
           Person Approved With
               Bad Credit
             START $0 OUT OF
                POCKET
           Make $1,500 Per Sale
           Coach Closes For You
     00~ 105                                 201 Comments 2 Shares


          ~ Like               CJ   Comment                 e:;)   Share




                                         8                           PX 16, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 196 of 484




     ~ Jennifer Hedrick is 'if, feeling blessed.                           • ••
     \U'
       Sep 12, 2019 · 0

     *   ~ I'm Just Still In Shock ~ ·~

     I NEVER EVER In 1Million years did I expect to be where I am
     Today. A Few Years Ago I decided I'd Try This " work from
     home" thing That Everyone Thought Was A Big SCAM~ ....

     They All Thought This Was A Scam
     & Id Be Scammed Out Of $$$$ ..... We'll I went with My Gut
     & Said .....

     TOOOO FLIPPING BAD. I'm Going yo Try this because             ~   "
     IF YOU NEVER TRY, YOULL NEVER KNOW"                ~


     I Started and When I actually Got Paid EVERYONE was in
     SHOCK~~~~~ ( lmao ..who's laughing now~) ....

     -:;~ -i,
           ,..... Now Here I am Years later , thanking God, a Mother To

     My Precious Daughter , 6 figure earner , homeowner,
     Educational Trainer, spoke on Stage Several Times & STILL
     an Entrepreneur     4, ~':.:

     Moral Of The Story      '..J JUST GO FOR IT, DO IT, TAKE THE
     CHANCE , BECAUSE" AIF YOU NEVER TRY YOULL NEVER
     KNOWJ4...   II




                                       9                         PX 16, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 197 of 484




                          ATTACHMENT B




                                       10                       PX 16, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 198 of 484




   Check: 2021 Amount: $2,500.00 Date: 10/7/2019
   Run: 1004, Batch: 6, Seq: 124, Source: C21-FromFed
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   Check: 2021 Amount: $2,500.00 Date: 10/7/2019
   Run: 1004, Batch: 6, Seq: 124, Source: C21-FromFed




   Check: 2020 Amount: $2,500.00 Date: 10/15/2019
   Run: 1004, Batch: 1, Seq: 542, Source: C21-FromFed



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   Check: 2020 Amount: $2,500.00 Date: 10/15/2019
   Run: 1004, Batch: 1, Seq: 542, Source: C21-FromFed

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 199 of 484




                          ATTACHMENT C




                                       12                       PX 16, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 200 of 484




    From: Digital Income System Customer Support <customersupport@digitalincomesystem.com>
    To:
    Sent: Friday, October 4, 2019, 04:18:09 PM MDT
    Subject: DIS Log In

    Hello Connie ,



    Welcome to the DigitallncomeSystem! Your personal Referral ID# is: 4090

    Your Capture Page URL is: http://digitalincomesystem.com/4090

     Your system is already set up to receive traffic and our consulta-nts are standing by, ready to engage
    your potential buyers.

     Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a
    few days to start delivering new traffic to your website. Please remember that this traffic is a special
    bonus from our team to you, and is meant to supplement but not to replace your own traffic and
    efforts.

    Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button that says
    "Get Traffic Here" to access our exclusive traffic resources.

     To be successful you have to be consistent with your advertising. The secret to success is filling up your
    pipeline with prospects and letting the system and our coaches work on your behalf. If you need
    assistance or have questions, please send an email to:   customersupport@digitalincomesystem.com

    Our DIS support team is always available to assist you technically, and if needed, to forward your
    request to a business consultant.

     Because our consultants are engaged with your leads and spends most of their time on the phone with
    potential customers, please make sure you do not contact them directly until you have given our
    customer support staff a chance to resolve the issue for you.



   You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php



    Log in with this email:



   And type in this password:



    (Your login password can be changed in the account section, after your first login, if desired).


   When you log in, be sure you watch the fast start video because it will show you how to navigate the
   back office,

   how to access a few basic features, and most importantly, how to start your first marketing campaign.




                                                         13                                   PX 16, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 201 of 484




    Welcome again from the DIS team, we look forward to working with you and to your continued success!



     -DIS Ad min




                                                    14                                PX 16, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 202 of 484




                  PLAINTIFF'S EXHIBIT 17
                                  (PX 17)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 203 of 484

   DECLARATION OF CANDISS HENKING


                              DECLARATION OF CANDISS HENKING

          I, Candiss Henking, declare the following:

      1. My name is Candiss Henking, and I am a United States citizen who is over the age of

          eighteen. I live in Grand Prairie, Texas.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In early 2020, I was looking for an opportunity to make some money online from home.

         I saw a promotion by Jennifer Hedrick who was promoting a program called Digital

         Income System on her personal Facebook account, on her YouTube channel, and on

         Instagram. Jennifer was advertising that the program offered "high-ticket sales" with

         digital marketing products to help people with their respective businesses. She showed

         off cashier's checks from people who she said joined her team. She said that she made a

         multiple six-figure income in just eight months of work. On her video, she said that she

         received $6000 in one particular week and $8000 for the week when she made the video

         that I saw. She has made multiple videos persuading people to friend her or her team

         members (her downline) so that she could send them information to get them to the

         Digital Income website.

      4. She emphasized that, now more than ever, people need to learn to make money from their

         phone because of the coronavirus and being laid off or out of a job.

      5. Jennifer stated that she won an award for being one of the top marketers for the company.

      6. Once on the Digital Income System website, I saw a generic video claiming that people

         could make thousands of dollars online with a "done-for-you high-ticket" business as

         long as traffic is sent to the website that Digital Income builds for you. The sales team,



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 204 of 484


   DECLARP1TION OF CANDISS HENKING


          who I think were Derek Foley, William Foley, and Coach Elvis, would help find the leads

          and then close sales and send commission checks to the person whose leads they were

          assigned to.

      7. The amount that someone would receive depended on the level you signed up for, like a

         Multi-Level Marketing scheme. There were five levels: $1000; $3000; $5000; $12,500;

         and $25,000. Each level guaranteed you a 50% commission of the level you signed up

         for. If one of your leads signed up to join a higher level, you received a 50% commission

         of the level you had joined at. Since everything was done on "autopilot," there appeared

         to be very little work involved.

      8. Unfortunately, I had to get a loan to sign up. I was told to send in $3000 to join; I had a

         cashier's check for $1500 made out to Jennifer and one for $1500 made out to Digital

         Income System, and mailed them both in February 2020 to Digital Income System, 6619

         S. Dixie Hwy., Suite 329, Miami, Florida 33143.

      9. Before mailing my payment to join Digital Income System, I never received a written

         disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the

         membership.

      10. I was also convinced to buy more leads. I paid $250 to a service recommended by

         Digital Income System for the additional leads. After two months, I had no income

         despite the promises of ieads supplied by Digitai Income and despite spending $250 more

         for extra leads.

      11. I had Facebook Messenger communications with Derek Foley, but no direct phone calls.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 205 of 484

   DECLARATION OF CANDISS HENK.ING


         I also tried to call a phone number that was attached to someone named Elvis Cardenas at

         Digital Income Systems, but the call always went to voicemail. Coach Elvis sent me log-

         in information at first by Messenger, but I have not been able to get him to respond since

         then. I tried to contact Derek Foley a number of times, but he did not respond. In fact,

         the last time I tried to contact Derek was in April 2020. I messaged him and got a receipt

         that showed that he looked at the message, but he never responded back to me.

      12. The Facebook advertisements and the physical website of the company told me that I

         would make money with this program. I did not make any money.

      13. The website stated that there would be no refunds, so I was not able to ask for one.

      14. As of this date, I still have received no leads of any sort and no sales from this company

         or from Jennifer Hedrick.

      15. I have lost over$3000 to Digital Income System and Jennifer Hedrick. Ifl had known

         that they were not going to get me productive leads, or any leads whatsoever, or that I

         would not make any money, as they promised I would make, I would never have paid

         them anything.

                  Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
         is true and correct. Executed on August j__]_, 2020.


                                                               Candiss Henking
                                                               Grand Prairie, Texas




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 206 of 484




                  PLAINTIFF'S EXHIBIT 18
                                  (PX 18)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 207 of 484

   Declaration of Justin Hofstetter


                               DECLARATION OF JUSTIN HOFSTETTER



          I, Justin Hofstetter, declare the following:


      1. My name is Justin Hofstetter, and I am a United States citizen who is over the age of

          eighteen. I live in Edgar, Nebraska.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. In early September 2019, my fiance and I were looking for an opportunity to make some

          money online from home. We had previously purchased a business opportunity called

          30-Day Success, but it turned out to be a scam. I was talking with someone about leads

          for the 30-Day scheme, trying to make some of the money back that I had already plowed

          into it. That person was Cassandra Goode, who then told me about a work-at-home

          opportunity where I could make some money. Ms. Goode told me that she would give

         my phone number to Digital Income System and ask them to call me.

      4. On September 4, 2019, we received a phone call from Derek Jones, who said that he was

         with Digital Income System and that he would be our coach while we were working with

         Digital Income. Derek made all sorts of promises to us. He told us that we would make

         our investment back and then some and that we would make enough to recover our losses

         from the 30-Day Success scam, which I had told him about. I asked Derek how long it

         would take to recoup our funds because I was going to have to cash in my retirement to

         pay the upfront cost to Digital Income for the $12,000 level, which was the level he told

         me that I should join in order to make any real money. Both Derek and Cassandra told

         me that it would take less than a month to make our ·money back if I invested at the

         $12,000 level. Derek told us that we would have to send in our membership payment

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 208 of 484


   Declaration of Justin Hofstetter


          within 24 hours from bis call in order to be upgraded to the $25,000 level.

      5. On September 4, 2019, based on the claims made by Derek Jones and Cassandra Goode,

          we decided to invest in Digital Income System. Mr. Jones then sent us a text with the

          instructions on how to send the $12,000. He told us to send two cashier's checks, one for

          $6000 made out to Digital Income System and one for $6000 made out to Cassandra

          Goode. He instructed us to send both checks to Coach Derek at the Digital Income

          System address in Florida. (Attachment A is true and correct copies of the text that we

          received from Derek Jones.)

      6. We bought the cashier's checks and sent the money to Digital Income System.

      7. There was no physical product that we were purchasing, just the ability to sell

          memberships to other people.

      8. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

         what percentage of Digital Income System members earned specific commissions or a

         range of commissions. I also never received such documents after I paid for the

         membership.

      9. We decided that, in order to speed up the process of making money, we should invest in

         the purchase of additional leads from Digital Income. So we spent close to $8,000 more

         for traffic to be sent to our website. When we signed up for the $12,000 level, we were

         supposed to be upgraded to the $25,000 level, which would include more traffic in what

         they called Digitai Income's traffic rotator, and many other perks.

      10. The way I think the rotator worked was that Digital Income received lists of names of

         people who had somewhere expressed interest in getting information about work-at-home



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 209 of 484


   Declaration of Justin Hofstetter


          opportunities. The rotator would generate e-mails or other communications to be sent to

          the people whose names and contact information Digital Income received. Anyone

          interested in more information would fill in his or her contact information into the capture

          page, and a coach would then call that prospective buyer. The number of leads that

          someone would get placed into their capture pages depended on how much money they

          had invested. Someone buying in at the $12,000 level would get more traffic from the

          rotator than someone buying in at a lower level.

      11. The extra traffic that we were buying was through traffic packages that we purchased

          from Digital Income System, from Cassandra, and from third parties who were

          recommended by Digital Income.

      12. Our website did not work for well over a month after signing up; there was a small

         number of leads when the system seemed to show that other leads were supposed to be

         coming to our website. I had several text messages from Derek talking about nothing

         being wrong with the website. When I proved it to him that the site was not working, he

         made it out to be an isolated incident. Our back office, which was part of the website that

         Digital Income built for us, and which was supposed to keep track of the leads, never

         worked correctly from day 1. We requested a refund, and Derek told us that he and

         Cassandra would send extra traffic to make up for our lost time and money. At that

         point, Derek told us that he had produced a new website for us. We waited for the extra

         traffic, but Derek never sent it. When I asked him in an e-mail when he was going to

         send the extra traffic, he told me not to question him.

      13. On January 9, 2020, my fiance sent Derek and Cassandra an email expressing our

         feelings about how messed up the system was. That resulted in Derek deactivating our



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                                                                                        PX 18, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 210 of 484

   Declaration of Justin Hofstetter


          account. We have not had access to our account ever since. We did not get any of the

          leads that we thought we had purchased. We have not made any money from the Digital

          Income investment. (Attachment Bis a true and correct copy of the complaint letter we

          sent to Digital Income.)

      14. On January 31, 2020, I filed a complaint with the Better Business Bureau, but on March

          20, 2020, the BBB told us that Digital Income never responded.

      15. We lost $20,000 to Digital Income System. If we had known that Digital Income was

          going to take our money and not make money for us, instead of making the money that

          they promised, we would not have paid them any money at all.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on August lL_, 2020.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 211 of 484




                         ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 212 of 484




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      <   Derek Jones                                  ..
          10:18AM, Sep 4


      (No subject)
      Hey there Justin!
      It was great speaking to you
      today and congratulations on your
      decision to join the Digital Income
      System.
      Member ID# 3132 (Cassandra
      Goode) will be very pleased to hear
      the good news.

      The Digital Income System utilizes
      direct peer-to-peer payments for
      your convenience.
      The total amount for Level IV is:
      $12,000.
      (Coach's Note: Authorize
      Upgrade to 25k (Executive) Level:
      DJ378S1 2U25)



      Instructions to join Digital Income
      System at Level IV:

                                      <
                                     Share




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 213 of 484




      4:18   ~   ..   79•                "9'   ,,I   81%1!

      <      Derek Jones                                .•
             10:18 AM, Sep4                             •


      (No subject)
      Instructions to join Digital Income
      System at Level IV:

       Step 1) Please get 1 cashiers
      check for the amount of $6000
      made payable to:
      Cassandra Goode

      Step 2) Get a 2nd cashiers check
      for the amount of $6000 made
      payable to:
       Digital Income System Inc.

      Step 3) Mail all checks to:
      Attention: Coach Derek
      Digital Income System Inca
      6619 South Dixie Highway #329
      Miami, FL 33143
      *Send funds via FedEx/ UPS
      Overnight or USPS Express mail*

      Step 4) Email me with the tracking
      number from vour Fed-Ex/UPS
             al                  <
               Cooytex~              Share




                                                                 PX 18, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 214 of 484




      4:18        ~       ..   79•      ~•.,,   81%:=

      <         Derek Jones                        ..•
                 i0:18 AM, Sep 4


      (No subject)

      Step 4) Email me with the trackjng
      number from your Fed-Ex/UPS
      Overnight or USPS receipt
      My email is:
      coachderek@digitalincomesystern
      .com

      Step 5: Once you've sent the two
      payments to the address above, fill
      out the order form at:
      http://digitalincomeform.com

      *Note: Your referral ID # is: 3132
      and your coach's name is Coach
      Derekif


      Once our DIS administrators have
      received your completed order form
      and your mailed payments, we will
      set up your marketing suite with
      your join bonus at the ($25,000)
      I ...,.,. .,,,,.!



                     Copy text
                                      <
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 215 of 484




      4:18   ~   ,.    79°               "9,'.,., 81% •

      <      Derek Jones                             •••
             10:18 AM, Sep 4


      (No subject)
      and your coach's name is Coach
      Derek*


      Once our DIS administrators have
      received your completed order form
      and your mailed payments, we will
      set up your marketing suite with
      your join bonus at the ($25,000)
      Level.
      We will also email you login details
      which contain your own user ID
      # and detailed instructions for
      starting your first advertising
      campaign. Typically this process
      takes less than 24 hours from the
      time we receive your payment.

      Feel free to email or text message
      me with any questions during this
      process.
      Looking forward to your success on
      ourteamo
                      al
               Copy text
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                                     Share
                 I',
                 ' !



                                                                 PX 18, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 216 of 484




                                           ~•. ,   81%11

      <   Me
          2:40 PM, Sep 22
                                                      ••
                                                       •


      (No subject)

      Hey Derek, was just wondering of
      there was anything looking promis-
      ing in our account. Were not sure
      how all this works yet. We have
      had several with the dot beside
      them. Cassandra said that was a
      call back request. We were just
      curious if anything we have been
      doing is working. We have been
      sending a lot of traffic. Thank you.




                       aJ             <:
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                  'I                       ' ''-
             ''.


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 217 of 484




                         ATTACHMENT B




                                                                 PX 18, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 218 of 484




   Justin & Crystal Hofstetter                                                              Jan 9,
                                                                                        2020, 2:01
                                                                                                 PM
   to Derek, Cassandia, bee: crystal

   Really Cassandra ... you have the audacity to send this to us ... Happy New Year! I am so
   Happy for you two this is absolutely awesome. There you go and never give up! You
   guys Rock!!!!

   Glad you did send because I've been meaning to tell you two some things ...

   Do you or Derek have any conscience whatsoever? Everything you two have ever said
   is lies. Your New Years Resolution is spot on for ya Derek: To follow Christ more
   closely... don't insult our God like that you got a long way to go there buddy. Derek has a broken
   back office system let alone callback system (WHICH Cassandra I have you saying it on
   recording from 10/25/19)... here we are January 9th with the DIS still going but have had
   a TOTAL of 7 leads from the rotator SINCE WE STARTED with DIS which was 4
   months ago on Sept 5th! (when signing up within 24 hrs put into the next level up you
   "get what's in that higher up level" ... not the case with# of rotations ... came in as
   Ambassador 12 rotations, but moved up to Executive 25 rotations ... we only get 12 ... no
   one told us that we wouldn't get 25 rotations from DIS .. per Cassandra on 10/25/19).

   We did what they say to do DRIVE TRAFFIC ... guess the "and wait for your profits to
   show up at your front door'' means years, not days. We stuck in thousands of dollars in
   advertising to it which in turn we LOST because DIS had to set up a new account for us,
   in which Derek said he was going to give us leads for because it was THEIR FAULT
   NOT OURS and NEVER stood up to what he said. Heck he's our coach and wouldn't
   even respond to me asking how our leads were coming or if they got called back,
   WHICH their callback system is so messed up some of our leads that requested
   NEVER did.

  Then there's you Cassandra through all this from day one telling Justin not to listen to
  Thaddious because he went a BAD vendor and DON'T use vendor in BACKOFFICE OF
  DIS, they were getting a new one and you would take care of us with your rotator and
  lead sources and you KNEW Justin was turning some of his retirement in but you said
  you'd make sure he had that back right away ... here we are January 9th with
  NOTHING. You say congrats ... we had to spend$ with another company that does
  KNOW THEIR SHIT and I have help from people that DO CARE ABOUT OTHERS and
  NOT JUST THE MONEY. Heck I can get ahold of them ... they don't have excuses every
  other day on why they don't answer the phone or emails.

  Oh yes, yes you both will say don't blame us for your failure ... well this wasn't OUR
  failure ... ! was busting my ass like anyone in the industry, running constant leads to a



                                                                                      PX 18, pg.12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 219 of 484




   system like you do in this industry, but sending BAD leads from a BAD vendor that was
   provided to us (btw Cassandra you said on 10/25/19 to expect profit in a couple of days
                                                                        ..
                                                                      .;,
                                                                          ~~,
                                                                            •;
                                                                      (:~-:-"
   because you were going to send some great leads our way ,,;~"- · still waiting) ... to a
   CORRUPT system ... what part offailure here was OUR fault?! I definitely beat myself
   up enough for listening to the likes of you two and not my gut or others.

   You know how our Christmas was ... SHIT. I wanted SO badly to take my kids to
   DisneyWorld for the New Year, but I see you guy's got your trips in on our dime and the
   dime of others. You know the depression I go through to get up in the morning because
   of you two blowing smoke up people's asses just for you two to get ahead. What was it
   Cassandra that you told Justin ... tell Crystal to relax it'll be ok I'll make sure of it... if you
   or Derek would like the emails OR recorded phone conversations of all the things you
   two said you'd do to make things RIGHT because of their broken system that wasn't our
   fault or a lead vendor that gave bad leads ... (your other leads were crap too btw) I can
   certainly forward.

   Better yet, I can't wait to be the FIRST to go to BBB and put in a complaint against
   Derek and DIS.

   Cheers. It will be a Happy New Year!
   Crystal and Justin


   FROM DIS WEBSITE:
   There is nothing for you to do but sit back and collect the huge commission the
   DIS program generates for you and all money will be sent directly to you.
   Our automated advertising, websites and our trained Sales Consultants do 100% of the
   hard work, all you do is drive traffic and wait for your profits to show up at your front
   door.
   That's why we hold ourselves and our members to the highest ethical
   standards. JOKE. .. ethical. .. lmao


   On Thu, Jan 9, 2020 at 5:55 AM Cassandra Goode <                            wrote:
   Happy New Year! I am so Happy for you two this is absolutely awesome. There you go
   and never give upl You guys Rock!!!!




                                                                                       PX 18, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 220 of 484




                 PLAINTIFF'S EXHIBIT 19
                                 (PX 19)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 221 of 484


    Declaration of Charles Larsen


                              DECLARATION OF CHARLES LARSEN

           I, Charles Larsen, declare the following:

       1. My name is Charles Larsen, and I am a United States citizen who is over the age of

           eighteen. I live in Lima, Montana.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, T

           could and would testify competently to them.

       3. In early September 2019, I was looking for an opportunity to make some extra money

           online from home. I saw an advertisement on the Facebook page of Shari Vanleer for a

           work-from-home opportunity. This ad pictured several people making testimonials about

          how well they were making money with Digital income System. One person making the

          testimonial was Christopher Frye. Another was Jeff Ruiz, who claimed that he had made

          one million dollars with Digital Income System so far.

       4. I clicked on a link in the advertisement that sent me to a landing page where I could put

          my contact information to be sent to Digital Income System. I put my phone number on

          the page to request a call back. A coach from Digital Income was supposed to then

          contact me.

       5. Next, I received a telephone call from someone calling himself Coach Derek, who was

          Derek Jones who told me he was an owner of Digital Income System.

       6. Coach Derek described this work-from-home opportunity and told me that I could expect

          to make a decent income through Digital Income System. He told me how simple it was

          to make money. He described how others had made a lot of money from the system.

      7. Derek Jones told me about the different levels that I could buy into the system. He told

          me that the higher the level, the more traffic that I would get that would give me leads



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 222 of 484


    Declaration of Charles Larsen


           and sales. Each check that I would get from sales that would be made on my behalf

           would be for a minimum of $500 up to $2500 if I became a member of Digital Income

           System at the $5000 level.

       8. Derek Jones told me that I would not have to do any of the work in order to get

           commission checks. Digital Income System would get me the leads, make the sales

          presentations to these leads, and close the sales. He told me that I would not even have to

          talk with anyone. He told me that all I would have to do is sit back and watch the

          commission checks roll in.

       9. Coach Derek told me that the company would set up a website that included a landing

          page or capture page for me in which interested individuals would submit their contact

          information if they wanted to find out about Digital Income System. The new

          individual's information would then be available to Digital Income System.

       10. Coach Derek explained the coaches at Digital Income System would take that consumer

          information and contact the consumer to sell that person on this opportunity. I would

          then get my commission check once the person was sold.

       11. Coach Derek did a good job of selling me on the opportunity. I was led by Coach Derek

          to believe that the money would start rolling in soon after I joined. That is why I was

          willing to purchase the membership.

       12. On August 31, 2019, I received an e-mail from Coach Derek congratulating me on my

          decision to purchase the Digital Income System membership and explaining how to send

          my money to them. (Attachment A is a true and correct copy of the e-mail from Derek

          Jones.) I then bought a membership at the $5000 level. The e-mail gave me the details

          on how to join. I was instructed to send Digital Income System two cashier's checks for



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                                                                                       PX 19, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 223 of 484


    Declaration of Charles Larsen


           $2500 each. One cashier's check for $2500 would be made out to Digital Income

           System, and the other $2500 cashier's check would be made out to Shari Vanleer. Both

           of the cashier's checks were to be sent to the Digital Income System address in Miami,

           Florida. I assume that Digital Income sent Shari Vanleer's check to her.

       13. I sent the two cashier's checks to the Digital Income System address. (Attachment Bis a

           true and correct copy of the cashier's checks made out to Digital Income System and

           Shari Vanleer.)

       14. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

       15. Derek Jones had given me his cell phone number for me to call any time 24/7. I tried to

          call several times to get more information about the next things to expect. But I could

          never get a return call from him or anyone at Digital Income System.

       16. After a short time, I was blocked out from my website so that I could not see if there were

          any leads or sales. I called to ask why, but I did not get any answer.

       17. I asked for a refund, but the company had a strict no refund policy.




                                                    3

                                                                                       PX 19, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 224 of 484


    Declaration of Charles Larsen


       18. I lost $5000 to Digital Income System. If I had known that they were not going to close

           sales and send me commission checks, as they led me to believe that they would do, I

           would never have paid them any money.

                    Pursuant to 28 U.S.C. §1746, I declare unqer penalty of perjury that the foregoing
           is true and correct. Executed on September~ 2020.



                                                                Lima, Montana




                                                    4

                                                                                        PX 19, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 225 of 484




                         ATTACHMENT A




                                                                 PX 19, pg. 5
   Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 226 of 484
8/31/2019                                             ATTN: DIS Join lns1ructions SK.Professional - Yahoo Mall

   ATTN: DIS Join Instructions SK-Professional
                                                                                                                              Aug 31 at 9:50 AM




   Hey there Chuck!
   It was great speaking to you today and congratulations on your decision to join the Digital Income System.
   Member ID# 4136 (Shari vanleer) wHI be very pleased to hear the good news.

   The Digital Income System utilizes direc:t peer-to-peer payments for your convenience.
   The total amount for Level Ill is: $5,000.
   (Coach's Note: Authorize Upgrade to 12k Level: DJ378S3U12)


   Instructions to loin Digital Income System at Layel m(ProfassjqnaQ:
    Step 1) Please get 1 cashiers check for the amount of $2500 made payable        to:
   Shari Vanleer

   Step 2) Get a 2nd cashiers check for the amount of $2500 made payable to:
    D;gital Income System Inc.

   Step 3) Mail au checks to:
   Attention: Coach Derek
   Digital Income System Inc.
   6619 South Dixie Highway #329
   Miami, FL 33143
   *Send funds via FedEx / UPS Overnight or USPS Express mar

   Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS receip~                  /J - ,,..,
   My email is: coachderek@digltallncomnystem.com                                                  J      ~
   Step 5: Once you've sent the two payments to the address above, fill out the order fonnat:
   .!!ttRifldigitalincomefonn.com

   *Note: Your referral ID # Is: 4136 and your coach's name is Coach Derek*

   Once our DIS administrators have received your completed order form and your malled payments, we will set up your marketing suite
   with your join bonus at the Ambassador ($12,000) Level.
   We will also email you login details which contain your own user ID #. Typically this process takes less than 24 hours from the time we
   receive your payment.

   Feel free to email or text message me with any questions during this process.
   Looking forward to your success on our team.




   Email: coarode[llk@gjg~
   Phone: (305) 720-6952




https://mall.yahoo.com/b/folders/1/messages/AH4AAVsWEpVJXWqXLQOPwEOl3Ko?.src:=ym&reason=myc&foldarl'ype=INBOX~l'Q&Ses=lnle&ol'f.,,                1/1
                                                                                                                          l'X 1,,   pg.   b
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 227 of 484




                         ATTACHMENT B




                                                                  PX 19, pg. 7
          Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 228 of 484




     0004315               11-24
   OfficeAU#            1210(8)                                      CASHIER'S CHECK

 ~==
                                                                                                                  SERIAL#:


                      1:r: :• r
 Remltter:            CHARLES LARSEN
                                                                                                                ACCOUNT#:
             Aceou~
 Operator I.D.:       u 185311
 Funding Source:      Electronic ltenlll(;_l

 PAYTOTHEOROEROF                               **DIGITAL INCOME SYSTEM, INC.***                                   September 03, 2019


 ***Two thousand five hundred dollars and no cents***
Payee Add'918:                                                                                                  1nlr$2,500.00**
Memo:

wet.LS FARGO BANK, N.A.
20 N MONTANA ST                                          NOTICE TO PURCHASER-IF THIS INSTRUMENT IS LOST          VOID IF OVER US i 2,500.00
DILLON, MT 59726                                         STOLEN OR DESTROYED. YOU MAY REQUEST CANCEL.LATION
FOR INQUIRIES CALI. (480) 394-3122                       ANO F!EISSUANCE. AS A CONDITION TO CANCELI.ATION ANO
                                                         REISSUANCE. WELLS FARGO I COMPANY MAY IMPOSE A          NON-NEGOTIABLE
                                                         FEE ANO REQUIRE AN INOEMNm' AGREEMENT ANO BOND.



                                                                     Purchaser Copy




    0004315               11-24
  ~AU#                1210(8)                                        CASHIER'S CHECK                             SERIAL#:. -
Remltter:             CHARLES LARSEN                                                                            ACCOUNT#: -
Purchaser:            EVELYN LARSEN
Purohaser Account:
Operator 1.0.:
                      lliiiii
                      •1111111
                                                                                                                 September 03, 2019
~;ri~~~ o:;:';tma(~**SHARI VANLEER''"'*

***Two thousand five hundred dollars and no cents***                                                            **$2,500.00...
Payee Addre11:
Memo:
                                                                                                                 VOID IF OVER US S 2,500.00
WELLS FARGO BANK, N.A.                                   NOTICE TO PURCHASER-IF THIS INSTRUMENT IS LOST,
20 N MONTANA ST                                          STOLEN OR DESTROYED, YOU MAY REQUEST CANCELLATION
DILLON, MT 59725                                         AND REISSUANCE. AS A CONDmON TO CANCELI.ATION AND       NON-NEGOTIABLE
FOR INQUIRIES CALL (480) 394-3122                        REISSUANCE, WELLS FARGO I COMPANY MAY IMPOSE A
                                                         FEE AND REQUIRE AN INDEMNITY AGReE!MENT ANO 80NO.



                                                                     Purchaser Copy


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 229 of 484




                  PLAINTIFF'S EXHIBIT 20
                                  (PX 20)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 230 of 484


   Declaration of Rita Lopez


                                   DECLARATION OF RITA LOPEZ

          I, Rita Lopez, declare the following:

      1. My name is Rita Lopez, and I am a United States citizen who is over the age of eighteen.

          I live in Deltona, Florida.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In 2019, I was not working, but I had been looking on-line for a while to find work that I

         could do from home since I have a young child at home. In early October 2019, I

         contacted Jennifer Hedrick, who I had been following on Facebook. Jennifer had been

         showing herself either at her computer desk or in her car, describing her work with

         Digital Income System, and showing the checks and money orders that she was getting

         by getting new members to join Digital Income System. She showed the deposit slips

         that she was using to put the money in her bank account and showed what she was

         buying with all of that money. These checks and what she was saying about them

         convinced me that I could make money through Digital Income System. She said that

         she has had some days where she made $3000, some days where she made $8000, and

         some days where she made other amounts, always in the hundreds or thousands. She

         implied that anyone else joining could made similar amounts. She also said that Digital

         Income System would do all of the work for anyone who joined---- that the company had

         coaches who would do all of the work contacting consumers and selling consumers. This

         was especially attractive to me because I do not like to sell and am not good at it.

     4. In a text she sent me, she told me to "Make Sure To Request A Call Back From A Coach

         To Answer Your Questions or To Get Started Making Money On Autopilot."



                                                    1

                                                                                          PX 20, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 231 of 484


   Declaration of Rita Lopez


      5. Through Facebook Messenger in October 2019, I told Jennifer that I was interested in

           joining.

      6. On October 9, 2019, Jennifer Hedrick then asked me for my name, phone number, and a

           good time for her coach to call me.

      7.    The next thing that happened was that I got a phone call from Coach Derek. Coach

           Derek gave me the instructions on how to become a member. He told me that I would be

           making money very soon.

      8. Coach Derek also told me that "we do everything for you" and that the coaches do all of

           the contacting and selling.

      9. What I heard from Jennifer and Coach Derek convinced me to join Digital Income

           System. I told Coach Derek that I was going to join. The next thing that I got from

           Digital Income System was an e-mail on October 9, 2019, from Derek Jones (Coach

           Derek), congratulating me on deciding to become a member at the $1000 level.

      10. The e-mail also gave me the instructions on how to pay the money to join. The e-mail

           said that I was to get a cashier's check or money order for $500 made out to Digital

           Income System and another one for $500 made out to Jennifer Hedrick. I was to send the

           checks or money orders to Coach Derek at Digital Income System, Inc., at 6619 South

           Dixie Highway, #329, Miami, Florida 33143. I was then to e-mail him the tracking

           number for the overnight package. (Attachment A is a true and correct copy of the e-mail

           from Coach Derek Jones.)

      11. I had to borrow money from my father to take advantage of this opportunity. He got the

           money from his 401 k.

      12. On October 9, 2019, I purchased the two money orders and sent them to Coach Derek by



                                                    2

                                                                                       PX 20, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 232 of 484


   Declaration of Rita Lopez


          FedEx. After I sent off the money orders, I then followed the next instructions and went

          on-line to fill out an order form for Digital Income System. (Attachment B is a true and

          correct copy of the money order that I sent to Digital Income System.)

      13. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

         membership.

      14. On October 11, 2019, I received an e-mail with the log-in for my website that the

         company set up for me. Within a few days, I was supposed to start getting traffic from

         Digital Income System's Automatic Traffic Rotator, which was supposed to get me leads

         for potential buyers. (Attachment C is a true and correct copy of the e-mail that I received

         telling me about the traffic rotator.)

      15. I was told by Coach Derek that I would receive e-mails telling me that I had a lead on my

         website. I received one e-mail about one lead, but I never received another e-mail about

         leads after that.

     16. As of January 2020, I had received 10-15 leads that I saw in my website pages. But

         nothing came of them. Something strange happened with the leads; when I went into my

         website to see what leads were there, I had the ability to change the names and phone

         numbers, which meant that anyone could change the names and numbers. That made it

         seem to me like these names and numbers had just been made up.

     17. I even bought more traffic to get more leads. I paid $250 to a marketing company

         recommended by Digital Income System to get more traffic. Nothing came of that effort.



                                                  3

                                                                                       PX 20, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 233 of 484


    Declaration of Rita Lopez


       18. On February 27, 2020, I e-mailed Derek Jones to complain about the fact that I had no

           sales. I told him that it made no sense that an all-done-for-you company had not made

           even one sale. I never heard back from him. (Attachment D is a true and correct copy of

           the e-mail that I sent to Derek Jones,)

       19. It has now been over nine months and still no sale. I feel like I have been scammed.

           People who are struggling and who trust people they talk to are getting hurt. I have lost

           $1250 to Digital Income System. Ifl had known that Digital Income System was not

          going to make any sales for me, as they promised they would do, I would not have paid

          them any money.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on A.:..gum: ·   ; iQ;;!(?::-- a
                                            0(},:XY<J    ~ ,90~~
                                                                  ta Lopez
                                                                Deltona, Florida




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                                                                                        PX 20, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 234 of 484




                         ATTACHMENT A




                                                                  PX 20, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 235 of 484




   On Wed, Oct 9, 2019 at 4:39 PM Derek Jones <coachderek@digitalincomesystem.com> wrote:
   Hey There!

   Congratulations on your decision to join the Digital Income System.

   Member ID# 8392 ( Jennjfer Hedrkk) will be very pleased to hear the good news.



   The Digital Income System utilizes direct peer-to-peer payments for your
   convenience.

   The total amount for Level ~ is: $1,000.




   Instructions to join the Digital Income System at Level I {Entrepreneur):



   Step 1) Please get 1 cashiers check (or money order) for the amount of $500 made
   payable to:

   Jennifer Hedrick



   Step 2) Get a 2nd cashiers check (or money order) for the amount of $500 made
   payable to:

   Digital Income System Inc.



   Step 3) Mail all checks to:

   Attention: Coach Derek
   Digital Income System Inc.
   6619 South Dixie Highway #329
   Miami, FL 33143

   *Send funds via FedEx/ UPS Overnight or USPS Express mail*




                                                                               PX 20, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 236 of 484




   Step 4) Emaii me with the tracking number from your Fed-Ex/UPS Overnight or USPS
   receipt.

   My email is: coachderek@digitalincomesystem.com



   Step 5) Once you've sent the two payments to the address above, fill out the order
   form at:

   http://digitalincomeform.com



   *Note: Your referral ID# is: 8392 and your coach's name is Coach Derek please make
   sure to enter "Level 1 • Entrepreneur" for the join level in the form.*

   Once our DIS administrators have received your your payments, we will set up your
   marketing suite at the Entrepreneur ($1,000) Level and email you login details which
   contain your own user ID.

   Feel free to email or text message me with any questions during this process.

   Looking forward to your success on our team.




   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 237 of 484




                          ATTACHMENT B




                                                                  PX 20, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 238 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 239 of 484




                         ATTACHMENT C




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 240 of 484




   From: Digital Income System Customer Support
   <customersupport@digitalincomesystem.com>
   Date: Fri, Oct 11, 2019 at 6:08 PM
   Subject: DIS Lo
   To:


   Hello Rita,



   Welcome to the DigitallncomeSysteml Your personal Referral ID# is: 2407

   Your Capture Page URL is: http://digitalincomesystem.com/2407

   Your system is already set up to receive traffic and our consultants are standing by, ready to engage
  your potential buyers.

   Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a
  few days to start delivering new traffic to your website. Please remember that this traffic is a special
  bonus from our team to you, and is meant to supplement but not to replace your own traffic and
  efforts.

   Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button that says
  "Get Traffic Here" to access our exclusive traffic resources.

   To be successful you have to be consistent with your advertising. The secret to success is filling up your
  pipeline with prospects and letting the system and our coaches work on your behalf. If you need
  assistance or have questions, please send an email to:   customersupport@digitalincomesystem.com

  Our DIS support team is always available to assist you technically, and if needed, to forward your
  request to a business consultant.

   Because our consultants are engaged with your leads and spends most of their time on the phone with
  potential customers, please make sure you do not contact them directly until you have given our
  customer support staff a chance to resolve the issue for you.



  You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php



  Log in with this email:



  And type in this password:         Lopez07


   (Your login password can be changed in the account section, after your first login, if desired).




                                                                                                PX 20, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 241 of 484




   When you log in, be sure you watch the fast start video because it will show you how to navigate the
   back office,

   how to access a few basic features, and most importantly, how to start your first marketing campaign.



   Welcome again from the DIS team, we look forward to working with you and to your continued success!



    -DISAdmin




                                                                                            PX 20, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 242 of 484




                         ATTACHMENT D




                                                                 PX 20, pg. 13
  Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 243 of 484




From: Rita Lopez
Date: Thu, Feb 27, 2    at :
Subject: Re: Attention DIS Join Instructions lk-Entrepre
To: Derek Jones <coachderek@digitalincomesystem.com>


Hey Derek I was just wondering why I haven't seen any results yet it's been all most 5 months and not one sale
I understand I came in the bottom level but if people do not have success with this level why was it even offered
I even spent 250 more dollars for more marketing and still nothing. Now for this to be a done for you business it
makes no sense that this company has not even made 1 sale for me I'm very dissapointed




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 244 of 484




                  PLAINTIFF'S EXHIBIT 21
                                  (PX 21)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 245 of 484


    Declaration of Asher Lortz


                                 DECLARATION OF ASHER LORTZ

           I, Asher Lortz, declare the following:

       1. My name is Asher Lortz, and I am a United States citizen who is over the age of eighteen.

           I live in Wichita, Kansas.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

       3. In August 2019, I was looking for an opportunity to make some money online from

           home. I had been following various people that I had friended on Facebook, including

           someone named Alex Zubarev. Alex was describing a money-making opportunity called

           Digital Income System, He was showing all sorts of checks that he was getting and

           saying that he was getting these from people that Digital Income System was signing up

          for him. He said once you bought into the Digital Income System, they did all the

          advertising for you, all of the lead gathering, and all the selling. He said that it was all

          hands-free for someone to make money. The checks that he was showing were for $500,

          $1500, and $2500.

       4. Alex made it seem very easy and hands-off to make money. He said that it would not

          take very long to make your money back.

       5. Alex said to click on his link to be taken to a page where I could put in my contact

          information so that someone from Digital Income would call me about this opportunity. I

          clicked on his link and put in my contact information.

       6. Around August 26, 2019, I had my first contact with Coach Derek when he called me.

          From what Derek said, it was my understanding that, once someone joined, Digital

          Income would do the lead gathering, make the sales presentations, and close the leads.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 246 of 484


    Declaration of Asher Lortz


           He described the levels at which someone could join. He said that the higher the level

           that someone would join, the more traffic someone would get. He said that would mean

           more leads and greater chances of increased sales. Derek told me that Digital Income

           coaches had a good record of closing sales. Derek also described Digital Income System

           as an old company with a new product. He said that the company had been around since

           2009.

       7. I was interested in buying into the company and told Derek I was interested in getting a

           lot of traffic. Derek told me that ifl bought in at the $12,000 level, they had a special

          going on and could enter me into the $25,000 level, which he said was the highest level

          and the level that would get the most leads. In fact, he told me that, at that level, I would

          get 25 rotations of traffic every 10 days. Derek told me that Digital Income would be

          buying traffic and providing it to its members based on the level at which someone

          joined. I know how hard it is to get good leads, so I thought that this sounded like a good

          opportunity.

       8. Because of the amount ofleads that I would be getting, Derek made it appear that I would

          make my investment back quickly. Because of what Alex and Derek told me, I decided

          to join and told Derek that I would join at the $12,000 level. I next received an e-mail

          from Derek congratulating me on joining Digital Income System, telling me that he

          would be my coach, and indicating that I was to be placed at the $25,000 level.

      9. The e-mail told me to write two cashier's checks of $6000 each, one made out to Digital

          Income System and one made out to Alex Zubarev. I was to mail both checks to Digital

          Income System at a Miami, Florida address. I then bought the two cashier's checks and

          sent them to the Miami address. (Attachment A is a true and correct copy of the e-mail I



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 247 of 484


    Declaration of Asher Lortz


           received from Digital Income System.)

       I 0. I started getting some leads, but not nearly as many as Derek had told me that I would

           get. I contacted Derek, who I found out that I could only contact by text. I asked him

           why I was not getting the 25 rotations every IO days. He always gave me some excuse.

           At one point, Derek told me to "hang tight." I asked him what that meant, and he

           responded with one word- "wait."

       11. I only received 20 leads in my back office. I got very frustrated because Derek and Alex

           had been lying to me. My last contact with Derek was on March 3, 2020. I was asking

           again where my leads were and what was going on. I did not get a response at that point.

       12. When I checked my back office in July 2020 to see if anything was happening, I found

           out that I was locked out ofmy own website. I don't know why that is the case since I

           was told by Derek that this was a lifetime opportunity.

       13. I never got any sales. I was never sent any commission check. I lost $12,000 to Digital

          Income System. If I had known that Digital Income was not going to make any sales for

          me, as they promised that they would do, I would not have sent them any money, much

          less $12,000.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on September~ 2020.

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                                                        Asher Lortz
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                                                        Wichita, Kansas




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 248 of 484




                         ATTACHMENT A




                                                                 PX 21, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 249 of 484




   From: Customer Support Team <support@bizsitesupport.desk-mail.com>
   Date: Wed, Sep 25, 2019 at 9:38 AM
   Subject: Re: Customer Support Center -Asher Lortz
   To:-

    Type your response ABOVE THIS LINE to reply

    asherl.va
    Subject: Re: Customer Support Center - Asher Lortz

    SEP 25, 2019 I 10:38AM EDT
    Customer Support Team replied:
    Hey there Asher, your leads are automatically followed up by the autoresponders. You can
    check the emails and texts that are being sent out from the autoresponder tools. Thank you so
    much and have a great day!

    -Customer Support Team

               I 05:I 7PM EDT
    SEP 24, 2019
    Original message
    eruoiue wrote:

    Customer Support Center

    Name Asher Lortz
    Email
    Phone Number (682) 2250069
    Enter Your Support Request Does DIS automatically send followup emails? Or is this
    something I am suppose to do?

    If DIS does the automatic emails, how can I find out what is being sent?

    Thank you,

    Asher

    You can edit this submission
    (https://www.jotform.com/edit/44516902989596885 l 4 ?utm source=emailfooter&utm mediu
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    um=email&utm term=83304924673157 &utm content=view all submissions&utm campaign
    =notification email footer submission links) easily.

    This message was sent to asherl.va@grnail.com in reference to Case#: 61275.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 250 of 484




                  PLAINTIFF'S EXHIBIT 22
                                  (PX 22)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 251 of 484


   Declaration of Stacey McGovern


                                DECLARATION OF STACEY MCGOVERN

          I, Stacey McGovern, declare the following:

      1. My name is Stacey McGovern, and I am a United States citizen who is over the age of

          eighteen. I live in Pope, Mississippi.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. I had been following Jennifer Hedrick on Facebook off and on for several years when, in

          the spring of 2019, I saw she was promoting a business opportunity that she described as

          being on "autopilot." She described how she was making a lot of money through this

          system. Jennifer stated that this business did all of the marketing for you. I would not

          have to do any of the marketing myself. Jennifer described that this system would set up

         websites for members and that leads for customers would be placed in the websites from

         the funneling process operated by this business.

      4. I was skeptical at first, but Jennifer kept posting lots of checks that she was getting and

         stating that she was making over $100,000 with this system. Jennifer told about her

         friends making a lot of money by using this system. She said that she had found this

         excellent way of making money without bugging your friends and family to buy

         anything. She implied that we too could make money on this system. She said that we

         could make 50% commissions that would go directly to us.

      5. Because Jennifer Hedrick convinced me that I could make money, I told her that I would

         buy a membership in the system. I then received an e-mail from Coach Derek

         congratulating me on deciding to join Digital Income System at the $1000 level and

         instructing me on how make the payment to them. I was to send two money orders to



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 252 of 484


   Declaration of Stacey McGovern


          Digital Income's address in Miami, Florida. One money order for $500 was to be made

          out to Digital Income System and one for $500 made out to Jennifer Hedrick. I bought

          the two money orders around September 19, 2019, and sent them to Digital Income

          System's address in Miami, Florida.

      6. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

      7. Later in September, Jennifer told me that Derek had agreed to upgrade my level to the

          $12,000 level ifl increased my membership to the $5000 level. She told me that I could

          send them $4000 more in order to increase to the $5000 level, and then they would

         upgrade me to the $12,000 level. I thought that sounded like a good deal, so I did that.

          On September 30, 2019, I sent in $3000 in money orders to Digital Income System and

         another $1000 directly to Jennifer through a cash-app. (Attachment A is true and correct

         copies of two of the money orders that I sent to Digital Income System.)

      8. By increasing to the $12,000 level, I was supposed able to get even more leads that could

         lead to more sales.

      9. I started getting leads in my back office -- five leads per month were sent for the first

         couple of months, but then they started drying up. I received one lead in January and one

         in February.

      10. On October 3, 2019, I texted Jennifer Hedrick that I was still seeing zero for my sales.

         She now recommended that I buy extra leads and told me that it was not an instant thing.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 253 of 484


   Declaration of Stacey McGovern


          She said that it will happen. I told her that I needed the money pretty quick because I was

          out $5000. On October 6-7, 2019, I left her several voicemails about my concerns.

      11. I decided to buy additional traffic to increase the number of leads and sales that I would

         get. I spent about $1500 on additional traffic from sources recommended by Digital

         Income System, including udimi.com and Tess Mahan at getgreatclicks.com. However,

         no sales were ever made.

      12. On October 24, I reached Jennifer and told her there were no sales. She said that it is a

         process and that I would get there.

      13. On November 15, I left Jennifer another voicemail and said that I was trying to be

         patient. I told her that I bought more traffic, but still no sales. On November 22, I sent

         her a message that I was concerned and that I was out of pocket $6500 with no sales.

      14. In January 2020, I again told Jennifer that I was not getting any communication from

         Digital Income System about sales made for my account. That was the last thing that I

         sent to her. She:: never responded.

      15. In early August 2020, I checked with my Digital Income web page and saw that I had 11

         leads that had come in during July. But still no sales have been made.

      16. I have lost $5000 to Digital Income System and $1500 more because of the extra traffic

         that I bought. If I had known that Digital Income System was not going to make any

         sales for me, as they indicated that they could do, I would not have made any payments to

         them.

                  Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
         is true and correct. Executed on September ~ . 2020.

                                                               ~L~
                                                               Stacey McGovern
                                                               Pope, Mississippi


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 254 of 484




                          ATTACHMENT A




                                                                  PX 22, pg. 4
              Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 255 of 484




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                 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 256 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 257 of 484




                  PLAINTIFF'S EXHIBIT 23
                                  (PX 23)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 258 of 484


     Declaration of Jessica Olp


                                  DECLARATION OF JESSICA OLP

            I, Jessica Olp, declare the following:

        1. My name is Jessica Olp, and I am a United States citizen who is over the age of eighteen.

            I live in York, Pennsylvania.

        2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

            could and would testify competently to them.

        3. In the fall of 2019, I was looking for an opportunity to make some money online from

           home. On Facebook, I saw the information that Kaitlyn Scott was posting about Digital

           Income System and how much money she was making. She was saying that you don't

           have to do anything and you would start malting money by joining Digital Income

           System. She said that you could always advertise the System yourself, but you did not

           have to do anything in order to have sales made for you by Digital Income System. She

           said that people would sign up under your capture page once you joined. By Facebook

           Messenger, Kaitlyn sent me more information and said that she could set me up with her

           coach. (Attachment A is some of the material that Kaitlyn was showing through

           Facebook.) She told me that the coaches at Digital Income System would follow all of

           the leads, make the sales presentations, and make the sales. Kaitlyn then set me up with a

           phone call with Derek Jones, who she said was her coach.

       4. Derek Jones called me and described the Digital Income System to me. He told me that it

           was an automated system. Once people signed up on my capture page with their contact

           information, the coaches at Digital Income System would get that information from my

           capture page and would use that information to call those leads to sell them the Digital

           Income System. I asked Derek how quick would it be before I made money. He told me



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 259 of 484


    Declaration of Jessica Olp


           that I would make money, but that he could not say that I would make a certain specific

           amount of money. When I asked him again, he said to ask Kaitlyn. In fact, Derek told

           me that, for most anything that I needed, I should ask Kaitlyn.

       5. When I asked Kaitlyn, she indicated that I would definitely make money from this

           System. She said that everyone who buys into Digital Income System is different. The

           higher the level at which someone would join, the more that person's name goes through

           Digital Income System's automated process to get leads. Those leads would then be

           called by the coaches and sold through the System. She told me that people were making

           money from within a couple of weeks of joining Digital Income to a couple of months

           after joining --- at any of the levels of membership.

       6. Derek had described the different levels at which I could join, and I decided to join at the

           $3000 level. After I told him about my decision to join, he sent me an e-mail that told me

           how to send the money to him. (Attachment Bis a true and correct copy of the e-mail that

           Derek Jones sent to me.) I was told to get two cashier's checks, one made out to Digital

          Income System for $1500 and one made out to Kaitlyn Scott for $1500. I was told to

           send the two checks to Digital Income System at an address in Miami, Florida.

       7. I then bought the two cashier's checks and sent them to Digital Income System at the

           Miami address. (Attachment C is a true and correct copy of my check to Digital.)

       8. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 260 of 484


    Declaration of Jessica Olp


       9. Both Kaitlyn and Derek told me that I could post myself on social media, encouraging

           other people to join, in addition to what Digital Income System would do to get me leads.

           Digital Income System sent me a 12-minute video describing this opportunity, and I

           posted it on social media. A number of people contacted me through social media to get

           more information. About 70 people contacted my capture page, and about 50 people

           filled out a form to be contacted by Digital Income coaches.

       10. But no one seemed to be joining, and I was not receiving any commission checks.

       11. In February 2020, I contacted Kaitlyn and asked her why I was not getting any sales. She

          told me that I needed to contact her about training. She was offering one of her own

          training videos on how to sell online, but I was frustrated that she was basically telling

          me that I had to do the marketing myself, when Derek and Kaitlyn had made it clear that

          Digital Income System would get leads and follow up to sell them.

       12. A little while after I had joined, I told a friend of mine, named Mike, about the promises

          that Digital Income System was making, and he looked into joining them. Mike told me

          that he talked over the phone with Derek and asked him a lot of questions about Digital

          Income but Derek would not answer some of his questions, and for the questions that he

          did answer, Derek was not reassuring. So Mike decided not to join.

       13. I was so completely frustrated by this experience and mad about what Digital Income did

          to me that I deleted almost all of my messages back and forth with them.

      14. Sometime in spring 2020, I tried to log into my Digital Income System webpage to see

          what ieads were going into my capture page, but I was locked out. They were not letting

          me into my webpage anymore. The experience that I had with Digital Income was

          different from what was promised. I had been told that the relationship with Digital



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 261 of 484


     Declaration of Jessica Olp


            Income System was a lifetime relationship. But it does not seem like it now.

        15. I have lost $3000 to Digital Income System. IfI had known that Digital Income System

            was not going to close any sales and not send me any commission checks, like they

            promised that they would be doing, I would never have paid them any money.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
            is true and correct. Executed on September~ 20 .




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 262 of 484




                          ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 263 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 264 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 265 of 484




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       INCOMESYSTEM. A package with a Click-N-
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       to be shipped on 10/01/2019. If the "Shipped To"
       address information is not correct, please
       contact the Shipper.

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           Click-N-Ship® Shipping Details

           Shlpped from:               Shipped to:
           mGITAL INCOI\JESYSTEM       KAITIYN ~GOTT




           Type of Service: Priority Mail®
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           Note To Recipient: Level 1
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 266 of 484




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        Your Click•N-Ship<!J shipping notification

       This ship notification is being sent to you by the
       U.S. Postal Service® at the request of DIGITAL
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       to be shipped on 10/03/2019. If the "Shipped To"
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       contact the Shipper.
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         DIGITAL INCOt..tESYSTEM                                               KAiTLYN SCOTT




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 267 of 484




        KAITLYN SCOTT: SAVINGS ACCOUNT 10                          I

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        TRUST FEDERAL CR 6011 (2019-10-08)              $3,000.00


        Shared branch Deposit / CAROLINA
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               Kaitlyn Scott
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 268 of 484



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        KAITLYN SCOTT: CHECKING ACCOUNT 900
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        Available                                          $
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        ACH Deposit/ PAYPAL PAYPALSD11
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 269 of 484




                                      Kaitlyn Scott
                                               Mon, Oct 7

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 270 of 484




                         ATTACHMENT B




                                                                PX 23, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 271 of 484




    From: Derek Jones <coachderek@digitalincomesystem.com>
    Date: November 18, 2019 at 3:37:56 PM EST
    To:
    Subject: Attention DIS Join Instructions 3k Director



    Hey there!

   It was great speaking to you today and congratulations on your decision to join
   the Digital Income System.

   Member ID# 5729 ( Kaitlyn Scott)
   will be very pleased to hear the good news.



   The Digital Income System utilizes direct peer-to-peer payments for your
   convenience.

   The total amount for Level II is: $3,000.

   (Coach's Note: Authorize Upgrade to 5k Level: DJ378S3U5




   Instructions to join Digital Income System at Level II (Director):



   Step 1) Please get 1 cashiers check for the amount of $1,500 made payable to:

   Kaitlyn Scott



   Step 2) Get a 2nd cashiers check for the amount of $1,500 made payable to:

    Digital Income System Inc.



   Step 3) Mail all checks to:




                                                                            PX 23, pg.14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 272 of 484




    Attention: Coach Derek
    Digital Income System Inc.
    6619 South Dixie Highway #329
    Miami, FL 33143

    *Send funds via FedEx/ UPS Overnight or USPS Express mail*



    Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
    receipt.

   My email is: coachderek@digitalincomesystem.com



   Step 5) Once you've sent the two payments to the address above, fill out the order
   form at:

   http://digitalincomeform.com



   *Note: Your referral ID# is: 5729 and your coach's name is Coach Derek*




   Once our DIS administrators have received your completed order form and your
   payments, we will set up your marketing suite with your join bonus at the
   Professional ($5,000) Level.

   We will also email you login details which contain your own user ID. Typically this
   process takes less than 24 hours from the time we receive your payment.

   Feel free to email or text message me with any questions during this process.

   Looking forward to your success on our team.




   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 273 of 484




                          ATTACHMENT C




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 274 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 275 of 484




                     PLAINTIFF'S EXHIBIT 24
                                (PX 24)


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 276 of 484




                  PLAINTIFF'S EXHIBIT 25
                                  (PX 25)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 277 of 484

    Declaration of Julio Pantaleon


                            DECLARATION OF JULIO PANTALEON

           I, Julio Pantaleon, declare the following:


       1. My name is Julio Pantaleon, and I am a United States citizen who is over the age of

           eighteen. I live in La Habra, California

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

       3. I have a full-time job, but I was interested in earning some additional income. I had a

           contact on Facebook by the name of Victoria Scott. She told her viewers that there was a

           money-making opportunity with Digital Income System. She told us about the

           commission checks that she was getting with Digital Income and showed us checks of

         . $500 or more that she was getting. She also told us that Digital Income System would do

           the all of the marketing for us ifwe didn't want to do it ourselves. I would have my own

           website that visitors looking for at-home work would see; they would put in their contact

           information and would be contacted by Digital Income System.

      4. Victoria sent me an e-mail from her Digital Income System address that contained

           information about the Digital Income offering. It included a sales pitch that was very

           enticing. It described the return on investment for Digital Income and said the following:

                                     No games. Let's talk ROI.

                           Return on Investment (ROI) is a serious subject.
                               Especially if you are a member of DIS.

                        Each DIS sale can bring in as much as $12,500 in profit.
                              That is net profit. Not gross revenue.



                        You see? ROI for the Digital Income System is so high.

                                                        1

                                                                                          PX 25, pg.1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 278 of 484

    Declaration of Julio Pantaleon


                                     You can't afford NOT to do it.

                                       So here is your chance.

                      Click the button below, and request a call back right now.
                                 Time is wasting. Money is waiting.

           (Attachment A is a true and correct copy of the e-mail from Victoria Scott.)

       5. I was interested in Digital Income System, and I talked with Victoria Scott about it. She

           gave me the number to call her coach, Derek. I called Derek and left a message, and he

           called me back. Derek told me about the ability to make money with Digital Income

           System. I asked him if this was legit and whether it was true that I would make money.

           He told me yes and that I just needed to send in two money orders and, within 90 days, I

           would have a few sales and would start making money. I said to Derek, if I can make

           some sales within 90 days, that sounds reasonable. Derek also told me that I did not have

           to do any marketing ifl did not want to. Digital Income System would give me my own

           website that would have my own unique personal ID number that would be used to keep

          track of the sales that Digital Income System made for me. Derek told me that my name

           would automatically come up in a traffic rotator that was used by Digital Income System

          to generate leads for members. The leads would then be called by the coaches at Digital

          Income to make sales.

      6. Derek then told me about the different levels that I could join at. The higher the level, the

          more times my website would be put through the traffic rotater so that people would see

          my website.

      7. I was convinced by what Victoria Scott and Derek told me, so I decided to join at the first

          level, which was the $1000 level. On August 27, 2019, I sent in two money orders, one

          for $500 made out to Digital Income System and one for $500 made out to Victoria Scott.


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 279 of 484

    Declaration of Julio Pantaleon



            I mailed both checks to Digital Income System at a Florida address; I figured that they

            sent Victoria Scott's money order to her. (Attachment Bis a true and correct copy of the

            money order that I made out to Digital Income System.)

       8. Before mailing my payment to join Digital Income System, I never received a written

            disclosure document or a written earnings claim document that told me how many and

            what percentage of Digital Income System members earned specific commissions or a

            range of commissions. I also never received such documents after I paid for the

            membership.

       9.   After I paid the money and my website was set up by Digital Income System, I tried to

            access my website. My e-mail address was my password to get into the website, but

            when I tried to review it, I could not get into my website. I could not tell if I was getting

            any contacts or not. I called Derek and told him about the problem. Derek told me that

            he would get his tech people to work on the problem. But nothing happened. I called

            Derek again and told him about the problem, and he said that they would look into it.

       10. Again, nothing happened. I was not able to get into my website to see if anyone had

            accessed it. As a result, I could not see if there were any leads that were coming through

            my website. I was never able to get in touch with Derek again.

       11. I never received any commission checks, although I had been told by Derek that I could

            expect them within 90 days.

       12. I have lost $1000 to Digital Income System. If I had known that they were not going to




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 280 of 484

    Declaration of Julio Pantaleon


            get me leads and turn them into sales, as they promised they would do, I would never

           have sent them any money.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on August~ 2020.


                                                          Zl~
                                                         Julio Pan on
                                                         La Habra, California




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 281 of 484




                          ATTACHMENT A




                                                                  PX 25, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 282 of 484




    From: Victoria Scott <2678@digitalincomesystem.com>
    Tc:"julio                      -
    Sent: Tuesday, August 27, 201 , 05:29:05 PM PDT
    Subject: Digital Income: Lets Talk ROI




                 No games& Lets talk ROIS

                     Return on Investment (ROI) is a serious subject.
                         Especially if you are a member of DIS.

                 Each DIS sale can bring a~ much as $12,5000 in profit.
                         That's net profit. Not gross revenue.

      In case you're new to business , that is a LOT of profit per sale, with a
                                very low overhead.


                               So lets do some math.
              Lets pretend that you are doing a text message campaign.

     (I think we are supposed to do a disclaimer here about how prices and
                             commissions can vary.
    Obvfously, not everyone who starts a marketing campaign makes a bunch
                                    of money.
     Of course, some do. And we are pretty awesome at making sure those
                           someones are our clients.
                              ok ... lets continue.)

     The average text message campaign costs about S150 bucks and reaches
                             about 2,000 people.

      The average DIS sale? about $2,500 dollars in profit, per sale (a little
                            more, but lets estimate).

    Since the number of sales per campaign varies, instead of calculating ROI
                              lets go BACKWARDS.




                                                                          PX 25, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 283 of 484




     Lets take the average amount of profit, and figure out how many people
                      we can reach at the break even point.


            $2,500 dollars, SMS campaign at $150 per 2,000 people is ...

                                    wait for it ...

                                      33 ...
                                THOUSAND PEOPLE.

                            33,334 people, to be exact.

     Perspective: 33 thousand people is approximately the size of this entire
                                   stadium.




                                  So imagine this:

                Every ... single ... person ... in the-entire stadium.

         Watches a 20 minute presentation on the Digital Income System.

                The every one who joins pays you $2,500 dollars.


                        If you only get 1, you break even.

                          At two you double your money.


                        If you get 12, you get $30,000.
          And that assumes your leads don't buy a higher membership.

                 What if the commissions were $6,000 ($72,000)




                                                                         PX 25, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 284 of 484




                                                     What if they were S12, 500?

                          You see? ROI for the Digital Income System is so high.
                                     You can't afford NOT to do it.

                                                          So here is your chance.

                      Click the button below, and request a callback right now.
                                  Time is wasting. Money is waiting.

                                                                   Make a move.



                                                          No Button? Press Here




                                                 Copyright Digital income System Inc.
                                                         All Rights Reserved.


    6619 South Dixie Highway #329, Miami, FL 33143 United States

    To stop receiving emails from us click   here to unsubscrfbe
    You are receiving this email because you subscribed to our mailing list on 08/27/19 at 8:29pm EDT by filling out the form at
    http://dlgitartncomesystem.com/cp71.php?id=401. Your IP when you joined our list was 172.69.33.111. If you did not join our list OR you are receiving
    excessive emails Click Here to Report Spam to the company that monitors our account




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 285 of 484




                          ATTACHMENT B




                                                                  PX 25, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 286 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 287 of 484




                  PLAINTIFF'S EXHIBIT 26
                                  (PX 26)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 288 of 484




                              DECLARATION OF DEBRA PEREZ

          I, Debra Perez, declare the following:

       1. My name is Debra Perez. I am a United States citizen who is over the age of eighteen,

          and I live in Greenville, South Carolina.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

      3. In the summer of 2019, I saw Facebook posts and online videos by Jennifer Hedrick,

          marketing a money-making opportunity through a company called Digital Income

          System.

      4. Jennifer's posts explained that, by purchasing membership in Digital Income System,

          individuals obtained the right to sell Digital Income System membership to others for a

          50% commission.

      5. Jennifer explained that Digital Income System would do all of the marketing for its

          members. She said that, once a participant purchased membership, he or she would

          receive access to a Digital Income System "capture page" associated with his or her

          member account. The capture page included a place for interested individuals, or

          "leads," to enter their names and contact information to request a callback from a Digital

         Income System "coach." Jennifer said that the coaches, who were experienced

         marketers, would then call each lead and attempt to sell Digital Income System on behalf

         of the member associated with the capture page. She said that if a sale closed, that

         member would receive a 50% commission. in sum, Jennifer described Digital Income

         System as an "autopilot" way to earn money.

      6. Jennifer's posts included photographs of the commission checks she had received




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 289 of 484

    Declaration of Debra Perez


           through Digital Income System. To the best ofmy recollection, some of these checks

           were for $500, some were for $2,500, and some were for more. At one point, she posted

           that she had made over $600,000 total in commissions. Jennifer's Facebook posts

           suggested that others could also earn substantial income by purchasing membership in

           Digital Income System.

       7. Jennifer and I began to communicate with each other regarding Digital Income System

          through Facebook messenger. Jennifer then connected me to someone called Derek

          Jones, or Coach Derek, to learn more about Digital Income System.

       8. Derek called me by telephone and told me the same information that Jennifer had told me

          about Digital Income System-that is, that Digital Income System would call all my

          leads and close sales for me, resulting in 50% commissions. Derek further explained that

          Digital Income System would advertise my capture page to viewers or ''traffic."

          Depending on the membership level I purchased, my capture page would be "rotated"

          through traffic a certain number of times. The higher my membership level, the more the

          traffic I would receive. Derek described the entire process as "autopilot" and "hands-

          free." In fact, he said I could "be in a coma, wake up, and still have earned money." He

          guaranteed that I would earn a commission.

       9. I was hesitant to purchase membership, given the price. However, based on my

          conversation with Derek, I believed I would recover the $1000 cost of membership and

          potentially make much more. I planned to use the proceeds to help support my daughter.

          As a result, I decided to purchase a $1000 membership.

       10. I told Jennifer I could not afford to pay the full $1000, so she recommended that I take

          out a loan, pointing me to Lending Tree and OppLoans. She said "a lot of people" were



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 290 of 484


    Declaration of Debra Perez


           financing their purchase of Digital Income System membership.

       11. She also gave me very specific advice, should I choose to pursue a loan with Lending

           Tree. She said I should ask for a personal loan, advising me that a business loan would

           not be approved because I did not have an established business. She said that, when

          asked to provide the reason for the loan, I should write "credit consolidation or

          remodeling a home." She also advised me to ask for a $5,000 minimum.

       12. She advised me that, alternatively, I could pursue a line of credit and that a credit card

          company might be "more lenient." She then sent me a link to PayPal Extra Mastercard.

       13. I ultimately decided to take out a loan from OppLoans for $900 at an annual interest rate

          of 199%.

       14. Jennifer messaged me instructions explaining how to pay for my Digital Income System

          membership. (Attachment A is a true and correct copy of the message that Jennifer sent

          to me.)

       15. Pursuant to those instructions, I mailed two money orders--one for $500 made out to

          Jennifer Hedrick and one for $500 made out to Digital Income System-to the following

          address:

          Digital Income System, Inc.
          6619 South Dixie Highway #329
          Miami, FL 33143

          (Attachment B is a true and correct copy of the receipt for my money orders. Attachment

          C is a true and correct copy of the money order that I made out and mailed to Digital

          Income System.)

      16. Prior to mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 291 of 484


    Declaration of Debra Perez


           what percentage of Digital Income System members earned specific commissions or a

           range of commissions. I also never received such documents after I paid for the

           membership.

        17. After I mailed my money orders to Digital Income System, I received credentials to a

           Digital Income System "backoffice" page. My backoffice included a section that could

           show me the names and contact information of viewers, or "leads," who visited my

           capture page and asked to be contacted by Digital Income System. The last time I

           checked on August 7, 2020, my backoffice listed only twelve such leads.

        18. Ultimately, I obtained no sales. As a result, I have made no money through Digital

           Income System.

        19. If I had known that Digital Income System was not going to close any sales for me, as

           Jennifer and Derek promised it would, I would never have paid any money for this

           supposed business opportunity. I lost $1000 to Digital Income System.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perj    hat the foregoing is true
    and correct. Executed on September 2_, 2020.         (7




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                                                                                       PX 26, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 292 of 484




                          ATTACHMENT A




                                        5                         PX 26, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 293 of 484
      Instructions to join Digital Income System at Level I
      (Entrepreneur):


       Step 1) Please get 1 cashiers check for the amount
      of $500 made payable to:

      Jennifer Hedrick



      Step 2) Get a 2nd cashiers check for the amount of
      $500 made payable to:

      Digital Income System Inc.



      Step 3) Mail all checks to:                             I
      Attention: Coach Derek
      Digital Income System Inc.
      6619 South Dixie Highway #329
      Miami, FL 33143

      "Send funds via FedEx / UPS Overnight or USPS
      Express mail"



      Step 4) Email me with the tracking number from your
      Fed-Ex/UPS Overnight or USPS receipt.




                                                       6          PX 26, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 294 of 484




                           ATTACHMENT B




                                        7                         PX 26, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 295 of 484




                                        8                         PX 26, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 296 of 484




                           ATTACHMENT C




                                        9                         PX 26, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 297 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 298 of 484




                  PLAINTIFF'S EXHIBIT 27
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 299 of 484


    Declaration of Sharon Thompson Pritchard


                     DECLARATION OF SHARON THOMPSON PRITCHARD

           I, Sharon Thompson Pritchard, declare the following:


       1. My name is Sharon Thompson Pritchard, and I am a United States citizen who is over the

           age of eighteen. I live in Lanham, Maryland.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

       3. One day last year, I was on Facebook where I follow a Facebook group of Kaitlyn Scott,

           who was advocating for others in the group to become members of a company called

           Digital Income System. Kaitlyn said that all we had to do is buy into the system and we

           would start making money. She said that the more you pay, the more you make. She

          posted videos almost every day showing the checks that she had coming to her.

       4. Kaitlyn described the different levels at which someone could join: the $1000

          Entrepreneur Level; the $3000 Director Level; the $5000 Professional Level; the $12,500

          Ambassador Level; and the $25,000 Executive Level. I could only afford the $1000

          level, and I told Kaitlyn so.

       5. When I asked her how quickly I would be making money, Kaitlyn told me that one of her

          teammates made money in the first 48 hours and another made money in 5 days.

       6. Kaitlyn then gave my phone number to Digital Income System. In October 2019, I got a

          call from Derek at Digital Income System. He said he was following up on the lead that

          he had received from Kaitlyn. He told me that I was guaranteed to make money with his

          system.

      7. Kaitlyn and Derek had me thinking that I could make money at the $1000 level quickly.

       8. The phone call from Derek led me through the process of joining Digital Income System


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 300 of 484


    Declaration of Sharon Thompson Pritchard


           as a $1000 member.

       9. Derek and Kaitlyn both told me that Digital Income System handles all leads, including

           leads that they would generate for me. They told me that I would not have to cold call

           anyone or bother anyone because the company does all the work for me.

       10. Derek told me that Digital Income System would set up a website for me that included a

           landing page and a back office so that I could keep track of my leads that came in through

           my webpage's landing page. The deal was that everyone that was a lead attributed to me

           would result in me getting a check for $500; Digital Income System would get the

           remainder. If I increased my membership level, I could get larger commission checks.

       11. Because Kaitlyn Scott and Derek Jones convinced me that I could make money from this

           opportunity, I decided to join at the $1000 level. After my phone call with Derek, he sent

           me an e-mail, telling me congratulations on the decision to join Digital Income System.

           (Attachment A is a true and correct copy of the e-mail that Derek Jones sent to me.) The

           e-mail told me that they wanted their money by either cashier's checks or money orders.

           On October 9, 2019, I sent a money order for $500 made out to Digital Income System

          and another $500 money order made out to Kaitlyn Scott. The Derek Jones e-mail told

           me to send both money orders, which I did, to Digital Income System's address at 6619

           South Dixie Highway, #329, Miami, Florida 33143. (Attachment Bis a true and correct

           copy of the money order that I sent to Digital Income System.)

       12. Prior to mailing my payment to join Digital Income System, I never received a written

           disclosure document or a written earnings ciaim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a




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                                                                                       PX 27, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 301 of 484


     Declaration of Sharon Thompson Pritchard


            range of commissions. I also never received such documents after I paid for the

            membership.

        13. I saw in my back office a list of additional references to get additional leads. I thought

            that I should buy additional marketing so that I could increase the number of leads that

            were available to turn into memberships. I purchased for $422 a postcard campaign from

            MSI Direct Response, one of the companies listed in my back office. (Attachment C is

            the invoice from MSI Direct Response.)

        14. The postcards had the same information that I was told by Derek before I paid my money

            to Digital Income System - that Digital Income System closes all sales and that I would

            get paid between $500 and $12,500 for each sale of a membership. The postcard states:

           "Earn up to $12,500 Per Sale Just By Mailing This Cheap Little Postcard- No Selling-

           No Talking -- No Rejection. . . . Everyone wants a simple way to earn money without

           having to talk with anyone or sell anything. That is why we are breaking old sales

           records every day. You do one simple step: Mail this Postcard. We take care of

           everything else including making the sale for you. You get $500 - $12,500 per sale."

           (Attachment D is a true and correct copy of the postcard.)

        15. I also purchased sales leads/traffic from Desmond Akil Smith from an affiliate site called

           U dimi. I paid U dimi $100 for 100 clicks. Each click is a consumer looking at my offer.

        16. At the end of October, I told Kaitlyn that I had not gotten a penny yet. She told me that it

           takes some time if you come in at the lowest level of membership. But that was not

           something that she had told me before I bought.

        17. I was very concerned that I was not getting any leads and results by the first of the year.

           Kaitlyn had told me that she would get an e-mail every time that she would get a



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                                                                                           PX 27, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 302 of 484


    Declaration of Sharon Thompson Pritchard


           commission check, so I expected to get such an e-mail from Derek; but none ever came.

       18. On January 10, 2020, and again on January 17, I told Kaitlyn that I still had not made a

           penny. I told her that there was no activity in my account and no money coming in. We

           talked about my ability to buy into a higher level of DIS membership, but I told her that I

           did not have the money to do it.

       19. I tried to contact Derek, but he would not return my calls or messages. I texted him in

           January 2020, asking what was happening because I was not getting any activity.

       20. On January 18, I texted Kaitlyn that I was having trouble getting Derek to contact me.

           She told me that she would ask Derek to contact me.

       21. Derek finally called me and told me that DIS was a lifetime membership and that I would

           have to wait for sales to come. It was only after the fact that he told me that any sales

           might not be made right away. He told me that he would follow up with me, but nothing

           happened. I still had no sales made for my account.

       22. On January 29, after I complained again, Kaitlyn told me that the more money that I

           would put in, the more likely I would make money.

       23. As of this date, I have had no notification that a sale has been made, and have not

          received any commission check in the mail.

       24. I have lost over $1800 to this Digital Income System business. If I had known that they

          were not going to get and convert leads into sales, as they promised they would do, I

          would never have sent them any money.

           Pursuant to 28 U.S.C. § 1746, ~are under pena
    and correct. Executed on September      , 2020.


                                                           aron Thompson P
                                                         Lanham, Maryland


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 303 of 484




                          ATTACHMENT A




                                                                   PX 27, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 304 of 484




    On Tuesday, October 8, 2019, 01:23:55 PM EDT, Derek Jones <coachderek@digitalincomesystem.com>
    wrote:


    Hey there Sharon!

    Congratulations on your decision to join the Digital Income System.

    Member ID# 5729 ( Kaitlyn Scott) will be very pleased to hear the good news.



    The Digital Income System utilizes direct peer-to-peer payment& for your convenience.

    The total amount for Level I is: $1,000.




    Instructions to join the Digital Income System at Level I (Entrepreneur):



   Step 1) Please get 1 cashiers check (or money order) for the amount of $500 made payable to:

   Kaitlyn Scott




   Step 2) Get a 2nd cashiers check (or money order) for the amount of $500 made payable to:

    Digital Income System Inc.




   Step 3) Mail all checks to:

   Attention: Coach Derek
   Digital Income System Inc.
   6619 South Dixie Highway #329
   Miami, FL 33143

   *Send funds via FedEx/ UPS Overnight or USPS Express mail*



   Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS receipt.

   My email is: coachderek@digitallncomesystem.com




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 305 of 484




    Step 5) Once you've sent the two payments to the address above, fill out the order form at:

    http://digitalincomeform.com




    *Note: Your referral ID# is: 5729 and your coach's name is Coach Derek please make sure to
    enter "Level 1 - Entrepreneur" for the join level in the form.*

   Once our DIS administrators have received your your payments, we will set up your marketing suite at
   the Entrepreneur ($1,000) Level and email you login details which contain your own user ID.

    Feel free to email or text message me with any questions during this process.

   Looking forward to your success on our team.



   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952




   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 306 of 484




                          ATTACHMENT B




                                                                   PX 27, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 307 of 484

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                                                                   PX 27, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 308 of 484




                          ATTACHMENT C




                                                                 PX 27, pg. 10
   Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 309 of 484




       MSIDR.OOM LLC
       406 Orchid Ave, #852
       Corona Del Mar, CA 92625
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       us
       (949) 722-2524
       info@msidr.com

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      ALL SALES ARE FINAL                                                               PAYMENT                                                   422.00




       MSIRDR.COM does not own or control third party affiliate programs. We assume no liability related to the printed materials. We do not endorse any
          program or company. It Is your responsibility to make sure the claims in the postcard are true for the product or program you are promoting.


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 310 of 484




                          ATTACHMENT D




                                                                  PX 27, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 311 of 484




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                                  HOVrl do l get started?

                                 Contact Our Direct Mat! Liason:

                                 419-565-7963 Cindy Bernard
                                 printandmail@aol.com


                                 Our office hours are:         .
                                                               ' Friday
                                 8:30am to 4:30pm EST - Monday to




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 312 of 484




                  PLAINTIFF'S EXHIBIT 28
                                  (PX 28)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 313 of 484

    Declaration of Bill Rodgers


                               DECLARATION OF BILL RODGERS

           I, Bill Rodgers, declare the following:

       1. My name is Bill Rodgers, and I am a United States citizen who is over the age of

           eighteen. I live in Hartsville, South Carolina.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

       3. In about June 2019, I received an e-mail from a guy named Brandon Frye about a new

          program called Digital Income System. He made it sound like the greatest thing in the

          world. I read over the information that he sent me, and the part that got me interested

          was where it said "Free High Converting Traffic for Life... and the Coaches Close All

          The Sales For You And Send You The Checks." Frye also told me that I did not need

          any computer skills to make money with Digital Income System.

      4. I also saw the website of Digital Income System, which showed the ridiculous amounts

          of money that a couple of people were making.

      5. The lowest level that I could join was at the $1000 Level. Frye told me that I would get

          50% of that amount ($500) in every check for any new member that they closed for me.

      6. I told Frye that the only way that I could afford to join was to get a cash advance on my

          credit card because I live on Social Security. I asked him if I would get at least two

          checks within the first two months, and he said that I should.

      7. This sounded good to me. I figured if I could get just two checks within two months

          before the interest kicked in, I could pay back the credit card advance and would be ready

          to make a profit.

      8. I next heard from the company, Digital Income System. Derek at the company told me


                                                Page 1 of 4

                                                                                          PX 28, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 314 of 484

    Declaration of Bill Rodgers


           the same things that Frye had told me about getting me leads and about the coaches

           closing all of the sales for me. I told Derek that I would join at the $1000 level. I then

           received an e-mail from Derek at Digital Income System, which told me how to send my

           money in. Derek told me that I needed to send in two money orders, one made out to

           Digital Income System for $500 and one made out to Christopher (Brandon) Frye for

           $500. The e-mail told me to send both money orders to Digital Income's address in

          Florida. I sent the two orders. (Attachment A is copies of the two money orders I sent on

          June 27, 2019, one for Digital Income System and one for Christopher Frye.)

       9. On July 10, 2019, I received another e-mail from Brandon Frye that had the same

          information that he had sent to me in June. The information described the ability of

          people with Digital Income System to make money because of the "high converting

          traffic that is included for life," the fact that the company's "sales teams close all of the

          sales," and the fact that no skills, computer or otherwise, were needed to make money.

          (Attachment Bis the e-mail from Frye with that information.)

       l 0. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

      11. After I joined, I found out that I was required to pay for extra traffic to increase my

          chances of getting a check. (Attachment C is an e-mail exchange with Brandon Frye on

          August 9, 2019, where he told me for the first time that I would have to drive my own

          traffic.) If I had been told this up front, I would never have joined in the first place. I



                                                Page 2 of 4

                                                                                             PX 28, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 315 of 484

     Declaration of Bill Rodgers


            don't have enough money left over after living expenses to buy expensive traffic. I am

            72 years old and live on $770 per month SSI because of depression problems. After

            doing more research on Digital Income System, I realized that I had joined a money-

            making pyramid because the only way you can make money is to recruit other people

            into the program to make money off the money they invest because there are no real

            products. They claim that their product is the training information, which it turns out is

            supposed to just teach you how to make more money in this scam.

        12. I had also been told by Brandon Frye that "No Computer Skills Needed." That was

           another lie. It is only after you join that you find out that you have to have computer

           skills to maneuver through your back office and be able to use their e-mail blaster among

           other complicated technical skills needed.

        13. After I had been a member for almost two months, I had not received anything. I e-

           mailed Digital Income System to complain about what I thought was misleading

           information about getting free high-converting traffic and about the coaches closing all of

           the sales for the member. I told them that they were enticing people to join thinking all

           they had to do was join and just wait for the checks. But I never got a response from

           Digital Income System. (Attachment D is the e-mail that I sent to Digital Income System

           on August 16, 2019.)

       14. At some point, I went to my website that Digital Income was supposed to find my leads

           for them to call. I saw 20 names, but there was no indication that they had been called or

           whether they had been sold. But I never received a check from Digital Income or from

           any lead.

       15. I finally got hold of Derek and complained to him. I asked for a refund. His response



                                                Page 3 of 4

                                                                                           PX 28, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 316 of 484


    Declaration of Bill Rodgers


           was to shut me out ofmy website. I have been checking my e-mail, which was supposed

           to get notifications of any lead that went into my website, and have noticed that I am not

           receiving any more of that free traffic that I was told I would get for life = even though

           it was only a trickle of traffic here and there to begin with.

        16. I lost $1000 to Digital Income System and Brandon Frye. I never got any check from or

           through Digital Income. If I had known that they were not going to send me checks from

           the sales that they were closing for me, as they told me that they would, I would never

           have paid them any money. (Attachment Eis the complaint letter that I sent to the FTC.)

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on August 20 , 2020.


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                                                          Hartsville, South Carolina




                                                Page 4 of 4

                                                                                         PX 28, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 317 of 484




                           ATTACHMENT A




                                                                   PX 28, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 318 of 484




                                          From BUI Rodgers

        These are copies of the 2 money order receipts I sent to
       Digital Income System to join.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 319 of 484




                           ATTACHMENT B




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         Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 320 of 484
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       -.,                   At least traditionally speaking. That's because now there's a MUCH
                                                     better (and easier) way.

                           People will constantty struggle with traditional MLM, Network Marketing,
                            Affiliate Marketing, etc. Some have even given up on that completely
                                      and made their way into Forex and Crypto Trading.•.



                            Ifs really a sad cycle that people find themselves in. Which is why I'm
                                  SO glad I found this new program that works for everyone.

                            I've got HUGE commlulon checks coming to my mailbox everyday
                           without speaking to a soul. Without any crazy time-intensive ~rketing.
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    Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 321 of 484

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                          What Makes This System Different?...


                    >•          • Sales Team Closes ALL Sales
                          High Converting Traffic Included FOR UFEH ~
                              =You Eam $5QQ to $12,500 per $Ble       I I i":. f
                                   • No Skins Required AT ALL "p :s - J.- it:. '
                          • No Admin Fees (or monthly costs) EVER!
                                 • Program Built for Longevity
                • PLUS I'm Providing My Exact Marketing Fonnula (and BONUS
                               Traffic) to those who join with me!!


                       Check out the results of our team members below...
                                       >> Click Here <<
                       Are you ready to let our sales team work for you?
                   Get all the details and GET STARTED. I'm sure glad I didl
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 322 of 484




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       Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 323 of 484




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        guarantees of Income with DIS end you wlU certainty need to be patient If you"re only depending on the
        companv traffic for your sales. It's best to drive your own traffic If you wish to lnaease sales on the
        business side of things.




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       Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 324 of 484




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                                                                                                              Fri, Aug 9, 2019 &t 8:43 PM


        Before I joined. I IDld~    that I
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        credit e&rd with no extra money coming In.
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                                                                                                                       PX 28, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 325 of 484




                          ATTACHMENT D




                                                                  PX 28, pg. 13
                        Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 326 of 484



                                                                This is the lint email I sent to DIS.
                                                                  I still havaa't gotten a response                                                 . . . . .: :,




                                                                                                                                        Aug 18, 2019, 1:49 AM
    To Dlgltal Income System

    BIii Rodgers                                                                                                                                                                    l




    The 1st of this coming month, I wiJI have been in DIS for 2=riio~tbs withoufseeing ohe check:- When Brandon Ftye sent me infonnatic;,Q.:aboutP,~S.1-
    looked it over and the· part that made me decide to join was tiie ,part ~ere i-t said ·"Free Traffic For Life and the coaches closes the saleJ   fq~ yo~•~..               ,.
    sends you a check". I figured this would get me a couple of checks so I could-afford to pay back a cash advance on my credit Qard.- I ,JQld:B~~~n!...
    that I didn't have the money to join so I was going to have to get a cash ~vantc ·on my credit card because 72 years, old and I live on ~,~1.1tai1 · · ~. . .:    ... ,
    monthly social security check that barely pays my bills. I told him I hail 2months to pay, back the cash advance.or-the interest was going;to           ·! •· .
                                                                                                                                                                    1 •   ;
    skyrocket so I had to depend on DIS closing 2 sales for me·within tliat time. I ask him if I would get at least 2 checks withjn 2 ~onthJ w I could-~y. . · ..
    back the cash advance and he said I should. Only after ljoi~ I got'm.ore·information that said I had to drive traffic to my.site to ino~!L'le;~Y ,.
    chances of getting a check. This information should have been up from bef'!11=' I joined. If I had-known this, I wouldn't have joined ~use .I <i!Jn;\. :
    have any extra money to pay for traffic. I started looking at yo11tube·video's··and-other info that showed all these guys that made $25,000,.up to 1., •. ,,.
    $120,000. their first month because not only was DIS giving them the majority of all the·good'traffic, they already fflld plenty of mo~~y,to 4Jllye 11
    their own traffic that helped them make that kind of money. I think DIS s~ould spread the traffic more evenly to all the memberl. ~-~ell':!! . . , . .1 •
                                                                                                                                                r
    member is what makes DIS survive. Now because of the misleading lnfytmation that inade me decide to joi~ I have decided th~ .if M~) .1=vi~:~Y.. ·: ~··' · ,.
    $1000. back at the 1st of September, rm going to my lawyer to-see ifhe·c!Ul;getmymoncy back and plus I am.going to contact ~U<;:and.~e., -·.- ·• .. · -...
    State Attorney Generals and let t ~ know about the misleading inf~oii that is probably enticing other people to join that don~ ~ave.the.
     money to drive a lot of1raffi.c to their sites. It doesn't matter what I-read of didn't read before joining, The FTC will be more conce~ ~~t the .. --r-
                                                                                                                                                              ~tr,. ._, . .,. .;.
     misleading upfront infonnation tbat entices a person to join mid think ill· ~y,liave to do is wait for the checks, and whether or not-DISjs a-tQOf!f.;Y .
    exchanging pyramid that requires members to recruit other members·to·bc: able to make money because there is no n:aJ products,-~ _the FT~ .
     gets involved, they are known for shutting programs like this down. Bill Rodgers                                                   -, . .. .. ::.: , . .. :
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 327 of 484




                          ATTACHMENT E




                                                                  PX 28, pg. 15
     Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 328 of 484


·J                             ·
             To FcderaJ Trade Commission,
                                                 12~        111344m
                                                          f"2r;life:t:)      'J-f   0-i  C,
                                                                                               ~~ 9-f!-l~
             My name is BiU Rodps.and I am 72 yrs ola and I live on $770. per month SSI because of depression
             problems. A guy by the nmnc of Brandon Frye sent me an email about a new program called
             Digital Income System. He made i t ~ lib it was lbe gromst thing in the wcrld so I read over the
             ~formation~~ pmrt ~ got m e ~ ~ was where it suLFrec Hip Converting Traffic For                                  '1
            Life•• And Ttie Coaches Close"All The Sales For You And Send You The Checks.                       'Tl       en   ffl
            The lowest le\lel that :you am join at'is the $1,000. level ad I would get Sq% of~ IID10UDt in evrd          ~    (9)
            check_ they closed far me. This .SOUDded good ta me and I figmed _if I could get just two checks wiG         .-
           two months b=forc the ~ kicked in, J could pay back a creditcard advance and would be
           make a profit
                                                                                                           rea;,,
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           I told him the only way I could Afford ta join was to get a cub advcnce on my credit card end I u1(lpt        CD   ffl
           ift would get at lcest two checks within two mon1hs and he said I should. I joined on 6/27/2019 and                C
           haYe been in for two months end have not roccived auything. I emailed Digital Income Sysmm about
           this and 1D1d 1bern about their misJeedina infonnation about the "Free High Converting Traffic For
           Ufe" and the Coaches Cbsc All Tho Sales For You" And Send You The Checks" and I told them that
           this misleading information was probably enticing a 1ot more people ta join thinking that all they had to
           do was join and just wait for 1he check!. but 1never got a response.
         ·· · Then I found out ~ly after joining that i was n,quin,d ~ ~ for extra traffic to incrcasc nty chances of
              getting a check. If I was told tlm up front, I would have never joined in the first place ~ I don't
              have enough money left over after living apemes to buy expensive traffic.
           After doing some lllOffl !'CIC8JCh on Digital Income System, I realized I joined a fflOIIO)' exchanging
           pyramid beeause the only way you can make any money is to recruit ocher people into the program to
           make money off of 1he ~ they invest because there m-e no n:al products. They claim tlleir produels
           is the training ~fonnadon that is supposed to ~-you ~ to make more monoy in this scam.                  .
           I smt tbmn· an email and explained my situation and llbd' them for my ml:)IICY back because I-couldn't
           aft'ord to spend extra money on this program and so far I have not ..,um, any response on tbct request.
           I peas they figure they'hiwe my monoy and there is nothin& 1can do about.it.
           I smt them an email and told them that if didn't have my $1000. beck by Sept.1st, I was going to
            report them to lhe Fl'C 8Dd the Staki Auomey Geanls. I don't know iftbey have cunpd my of their
           wording since I told them this but I'm sure )'OU cen do a little reaearch and find their first wording for
           thisprogmm..
           Google Dipal Income Sya1ml You111be and you will• a lot of videos of people telling you bow easy
           it is to maim a lot af monay. 1 &>und out that these people that are makina all that money joined at the
           top levels ofSll.000. and S25.000. r.nd arc spending more than $2,000. per month on traffic and plus
           the coaches arc giving them the bigest ~ority of the companies traffic for joining at the highest levels
           but only sending a tricklo oftraffic to the members on the lower 10\'els ofSJ,000. and Sl,000. If it were
           so euy as they say, then where is all that money l was supposed to gcf! Here is mother big lie they tell
           you That I had to find out Che bard way •••
           "No Compulm- Skills~ It's only after you join, you fmd you have to have computer skills to
            maneuver through your back office ad be able to ua 1bmr email blaster among otbor complicatod
           technical skills needed. 111is whole program is nothing but a con game 10 get your money.
           I have been checkins my em&il and have noticed 1hat I'm not raceiving any more of 1hat free traffic that             r····-· .
           1 was told I would get for Ufe even though it was only a trickle of traffic here and there.
           And now for this final thought! Digital Income Syslml bas only been in business for S mon1bs and
            the coeches aro very busy oallmg all the leads for die high ticket earners. How are they sc,ing to keep up
           when they are over saturated with hundreds of leads per day asking fore call bide? Answer! They are
           not going to be able 10 keep up with the call backs and 1bat's when new lllembcn are going 1D start
           losing money. This program needs to be shut down myway since they only fa-.·or the high ticket earners
           that '180 afford to join at the $12,000. and $25,000. levels and apend $2,000. and more per momh to
           drift more 1raftic to their sites. If this is the only levels 1hey want m help the most. then they should
           have never startai the lower levels tn start with ao low income people like me couldn't afford to join and
           end up losing money. Digital Income System is located in Miami Florida.
           Digital Income System Inc. 6619 South Dixie H"                # 9, Miami, Fla.iiilli3143Pb: 786--S82•5
                  From: ( Bill Rodprs,                                             illc, SC.                         )
                                                                                                                  , pg. 16
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 329 of 484




                  PLAINTIFF'S EXHIBIT 29
                                  (PX 29)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 330 of 484


    Declaration of Victoria Rodriguez


                            DECLARATION OF VICTORIA RODRIGUEZ

           I, Victoria Rodriguez, declare the following:


       1. My name is Victoria Rodriguez, and I am a United States citizen who is over the age of

           eighteen. I live in West Palm Beach, Florida.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

       3. I have a full-time job, but I was interested in earning some additional income. I had a

           contact on Facebook by the name of Jennifer Hedrick. I was familiar with Ms. Hedrick

           because of her motivational speaking online. In 2019, I saw videos of Ms. Hedrick on

           Facebook in which she was showing a way to make some money. She showed videos of

           thousands of dollars in money orders being sent to her through the mail from other people

           who were buying memberships in something called Digital Income System. She showed

           how she receives anywhere from $2,500 to $10,000 a day and showed deposit slips to

           prove the money she was making. She described the trips, cars, expensive purses, and

           jewelry she was able to buy with the money she made through Digital Income System.

           She had these statements in her videos: "ASK ME HOW I'M RECEIVING THESE

           HUGE CHECKS" and "Ask me how I'm receiving these HUGE checks on

           autopilot." (Attachment A is a true and correct copy of screenshots of Jennifer

           Hedrick's Facebookpage.) Jennifer said that "You'll be making money within a few

           months. You'll be making checks like these [showing checks of $2500 and $5000]. It is

           easy money." Jennifer also said, "I am warning you, this pandemic will be here for

           weeks or months!! It's time YOU TAKE YOUR INCOME INTO YOUR OWN HANDS

          before it is too late!!"


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 331 of 484


    Declaration of Victoria Rodriguez


       4. I looked at Digital Income System's website and heard the claims in the videos on that

           website. The other Digital Income members who put their stories into the website made

           the same claims as Jennifer Hedrick.

       5. I contacted Jennifer Hedrick. She introduced me to her coach at the company, named

           Derek Jones. Both Derek and Jennifer asked me to send them money to sign up and

           become part of the system. They said that the system they were advertising was an

           online work-from-home business where referrals were all found and worked by the

           company. The company had its own marketing department that would work the leads

           that would come from the website that each person buying into the system would get

           from the company. They told me about the levels of membership, starting with $1000

           and going up to $25,000.

       6. Derek and Jennifer said that what they were selling was memberships. At one point,

           Derek said that what they were selling was internet platforms to companies to advertise

           their products. But I never saw any such platforms. That is not what I was trying to sell

           through Digital Income System.

       7. Derek told me that they take care of everything. He and Jennifer Hedrick both stated that

           they handle all of the leads that would come through my website, which included the

           leads they generated. They said that I would not have to cold call anyone or bother

           anyone because the company does all the work for me. That was a very important feature

           for me, because I already have a full-time job that keeps me very busy. When I pressed

           Derek on how successful this would be, he told me that I would be making money within

           4 to 6 months.

       8. Derek and Jennifer told me that I would see leads in the back office that they were



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 332 of 484


    Declaration of Victoria Rodriguez


           building for me (a minimum of 2 per month) and that I would get full training on how to

           make money. The deal was that, at the $1000 level, for everyone who was a lead

           attributed to my website and my landing page that signed up for a membership, I would

           get a check for $500; Digital Income would get the rest.

       9. Because Derek, Jennifer, and the Digital Income website convinced me that I could make

           money from this opportunity, I decided to join at the $1000 level. I had to borrow the

           money to join. Derek and Jennifer botrh sent me instructions on how to pay them to

           become a member. He wanted the money sent with either cashier's checks or money

           orders. In August 2019, I sent two money orders of $500 each, one made out to Digital

           Income System and one made out to Jennifer Hedrick. Derek instructed me to send both

           money orders to Digital Income System's address, which I did.

       10. Before mailing my payment to join Digital Income System, I never received a written

           disclosure document or a written earnings claim document that told me how many and

           what percentage of Digital Income System members earned specific commissions or a

           range of commissions. I also never received such documents after I paid for the

           membership.

       11. Since August 2019, I have received only two leads, and one of the leads was myself

           because I had looked at my own website that the company built for me. I e-mailed the

           other lead, but never heard anything back from that person.

       12. I was very concerned that I was not getting any leads and results. I tried to contact

           Derek, but he would not return my calls or messages. The more I tried to inquire, the

           more I was ignored. Once he got my money, I hardly heard from him at all.

       13. When I complained to Jennifer about not getting results, she told me that I should buy



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 333 of 484


    Declaration of Victoria Rodriguez


            more leads, which was the first time that I heard about needing to buy more leads.

        14. I was also put into a Facebook group by Digital Income, but many people in the group

            had the same problems I was having and were complaining about the lack of progress.

            The Facebook group was finally taken down and deleted after complaints started coming

            into the Facebook site.

        15. When Jennifer told me that I would have to buy additional leads, she sent me a video

            explaining how to advertise on Facebook. But I did not want to spend time that I did not

           have on finding leads. That was why I bought into Digital Income System - they said

           they would find and sell to the leads and I did not have to do that. Both Derek and

           Jennifer had emphasized that the system was on auto-pilot to get sales. But that was not

           the case.

        16. I have lost $1000 to Digital Income System. Ifl had known that they were not going to

           get and convert leads into sales, as they promised they would do, I would never have sent

           them any money.

           Pursuant to 28 U.S.C. §1746, I deciare under penalty of nAr1"i1'n, that the foregoing is true
    and correct. Executed on August __, 2020.



                                                          Victoria o    ez
                                                          West Palm Beach, Florida




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 334 of 484




                          ATTACHMENT A




                                                                  PX 29, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 335 of 484




                                                                  PX 29, pg. 6
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 336 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 337 of 484




                Ask Me How I'm
                  1




                Receiving HUGE.
              Checks on Autopilot
                                         ~




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 338 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 339 of 484




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      illl      i just HAVE to tell you something

     ~                                                                              0mg what is it ?

          le,   i am shaking right now jennifer


                                                                                                           PX 29, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 340 of 484




                     I just wo!<f~ up 2.r .d iogg~rl ir.to my
                     on line o·/fic(~... I see it says $5,000 _ ~·
                                                                  "
                     ;n Sales yy y, .... I AM IN
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                 SHOCK !!!. ... I dont even know
                 who this person is that paid, I
                 guess a Coach spoke to him and                                           ,,.
                 did all the work for me ~ !!!. .....
                 All i know is im so excited for this
                 check in the mail for $2,500 !!!. ..
                 THANK YOU so freaking much!
                 You are a life saver. this is going to
                 help me take my kids on vaaction.
                 we havent been on vacation in
                 5years.




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          oh nvm

          thank u



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 341 of 484




          Its coach Shane with digital income
          system

                                                         Hi~

          What's your venmo




          Sending you

          Just got a sale

                     0mg yayayayaya !!!! You·re the best
                     -~




          Sent




                                                                 PX 29, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 342 of 484




                                               ..   ·-
             ! a $500 commission! You have
                                                 \.   •··
             no idea how much that helps me!
             I'm literaUy crying right now!




             This feels like the beginning of an
             amazing run! I cantt wait to get my
             next commission! I've only been
             with the company for a little over 3
              eeks!




            Thank you so much for
            introducing me to this company!!!!
                                              ~,




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 343 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 344 of 484



    s:47-,                                         ••    LTE •




       @      Jennifer Hedrick
              Candace      e,- ..,.1:--1 ...., ~ ,.e.:;      The
              Definition of Autopilot Money!



              Candace • ...w law• ...,.
              Jennifer Hedrick I love it!! t go · 2
              envelopes this week.! Going to post
              some more proof tomorrow.!         ~J,A · ··   t.!

                            Repl1,•                           ••
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      \t      Jennifer Hedrick
              Candace B · ~     r•, ~.-, omg, Ya                ~

              ~ Girit!     f\ ~
              far   Like    Reply


              Candace£- -,•--s
              Jennifer Hedrick I know I'm so
              FREAKIN EXCITED         ~




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@       \/\/rite a comment ..


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 345 of 484




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            Type of Service: Priority Mail® 3-Dav
            Flat Rate Envelope
            Label Number:

            Note To Recipient: L

            To check on the delivery status of your package, please go to -   ,<, .",'.   i




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 346 of 484




                 !
          $12,0 >             dor sale just
          sent       her tracking numbers.
          Your check is in the mail. Another
          easy 5 figure week .~




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    Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 347 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 348 of 484



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                               p® Shipping Details                                                                     • /

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                rnG!TAt iNCOiv~ESYSTEM                       JENNIFER HEDRICK




                Type of Service: Priority Mail® 3-D
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 349 of 484




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      Do•
      ~ Jennifer Hedrick~
      ~ Membership Level: Level V - E x e ~
                            Contact Us
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                  0                           (:~
               $820000                    Level V-
            Total Sale Volume            Executive -
                                            25k
                                       Current Traffic Plan



                                        Traffic cycles are
                                           estimates


            11:02                                             I
      • Search

       < Jennifer Hedrick




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 350 of 484




                        Jennifer Hedrick
                               L}Follow Me     ll
                           .                          ~,,~
                       6 Figure Income Earner ..


                               PowerCoach••


                                rtp Top Leader
                      0   Message
                                                             -
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       !!    Self-Employed

       ~ Married


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           11:09                                              ••     ~    !_, J'


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 351 of 484




       < Jennifer Hedrick
             LJ,....I   --- --              l-   - -----------       f'"'"   ------ -




       ~ Jennifer Hedrick                                                               •••
       ~ March 24 · 0
        , ·. Hold On!! STOP            If YOUR-, SCROLL i,            '-•·

       YOU BETTER ! JUMP ON THIS                        ! f !! ! J
        Anyone that Joins Me will get a ! &_ FREE WEBINAR CALL
       with me for 1 Houri••••
                           I If


       ~ ILL BE Giving ALL of My Tips &Tricks to HOW I've 'il
       become a MULTIPLE 6 FIGURE EARNER

       I am WARNING ! YOU, this pandemic will
       Be here for weeks or months ! ! It's time
       YOU TAKE YOUR INCOME INTO YOUR OWN HANDS before
       It's too late I••I

       No - you DONT Have to Stress over$$$, I'm
       Here to help you LEARN HOW to Make Money From your
       Cellphone           I     !! !! !!

       ,9,Qffer
       1Sf.t    ends 3/29/20·Ri}
                             ·~··~

       For all The people fl worried fl they won't succeed or "know
       what to do " I GOT YOUR BACK !!!

       This is Going AWAY 3/29/20 & will XNEVER XcoME
       RAr.K f I I I I J
                                                                                 PX 29, pg. 22
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 352 of 484




                  PLAINTIFF'S EXHIBIT 30
                                  (PX 30)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 353 of 484


    Declaration of Inez Ruth


                                  DECLARATION OF INEZ RUTH

           I, Inez Ruth, declare the following:

       1. My name is Inez Ruth, and I am a United States citizen who is over the age of eighteen. I

           live in Chillicothe, Ohio.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

       3. In September 2019, I was looking at the Facebook posts of Kaitlyn Scott, who is

          someone I had been following on Facebook and who I was familiar with through a

          business opportunity called MyEcon. Kaitlyn was a woman who was all business. She

          shared with me another opportunity --- Digital Income System --- where she said there

          was money to be made. She said that members would make a 50% commission, up to the

          level at which we joined, on each sale that Digital Income would make for out account.

          Over Facebook, Kaitlyn was showing how much she was making with it, posting her

          earnings and showing proof of what she was making. She was showing how much she

          made for the day, for the week, and for the month. She was also showing the house and

          other items she was buying with what she was making with Digital Income. Kaitlyn

          implied that I would make money with Digital Income System.

       4. Kaitlyn gave me the phone number for Derek Jones, who was her sponsor and coach. I

          called Derek Jones and talked with him. He sent me information that Digital Income

          System guaranteed that I would make back at least half of what I invested. Kaitlyn led

          me to believe that I would actually make even more than that.

       5. I was also told through materials provided by Kaitlyn and Derek that Digital Income

          System was a fully automated system for generating online income. They told me that



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 354 of 484

    Declaration of Inez Ruth


           Digital Income would get the buyer fast results from their system. A buyer would get

           high-converting traffic for life.

       6. Because of what I was told by Kaitlyn and Derek, I told Derek that I decided to join

           Digital Income System at the $1000 level. He sent me an e-mail congratulating me about

           my decision to join Digital Income and telling me how to send in my money. I was to

           make a money order for $500 in the name of Digital Income System and another one for

           $500 in the name of Kaitlyn Scott. I was instructed to send both money orders to the

           Digital Income address in Miami, Florida.

       7. On September 30, 2019, I sent in two money orders-for $500 each to Digital Income.

           (Attachment A is a true and correct copy of the money order that I sent to Digital Income

           System.) On October 1, 2019, at the directions of Digital Income, I filled out and sent in

          an Order Form. (Attachment Bis a true and correct copy of this DIS Order Form.)

          Digital Income then sent me a letter giving me the directions to access my website and

          start getting leads from the DIS Automatic Traffic Rotator. (Attachment C is a true and

          correct copy of that e-mail.)

       8. Before mailing my payment to join Digital Income System, I never received a written

          disclosure document or a written earnings claim document that told me how many and

          what percentage of Digital Income System members earned specific commissions or a

          range of commissions. I also never received such documents after I paid for the

          membership.

       9. Soon ai-9:er, Derek Jones told me that, ifl paid more money, I would get more traffic. I

          decided to upgrade my membership to the next level so that I could get more traffic. I

          told Derek that I would upgrade. I next received an e-mail from Derek congratulating me



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 355 of 484

    Declaration of Inez Ruth


           on deciding to upgrade my membership and giving me instructions on how to send the

           additional money to them. (Attachment Dis a true and correct copy of that e-mail from

           Derek Jones.)

       10. On November 6, 2019, I upgraded to the $12,000 Ambassador Level. I sent in two

           cashier's checks, one for Kaitlyn Scott for $2750 and one for Digital Income System for

           $2750. (Attachment Eis a true and correct copy ofmy cashier's check to Digital Income

           System to upgrade to the higher level.)

       11. Kaitlyn and Derek told me that leads would pop up and that the Digital Income coaches

          would talk with the leads and get them to sign up.

       12. One $1000 sale was made for my account in which I made a $500 commission. But that

          sale was one that I initiated because the buyer was a life-long friend of mine. No other

          sales were ever made for my account.

       13. I talked with several people for whom Digital Income System did not work out either.

          They did not make any sales.

       14. On July 31, 2020, I tried to log into my website, but it was closed. I then called Derek,

          who told me that the referral end of the business had been shut down for several months,

          since the economy bottomed out. He was expecting to reopen the referral side in

          December. He said that the markets should be better then. This is the first that I heard

          that leads were not being generated and followed up on; no one at Digital Income had

          informed me of that before.

       15. I have lost $6500 to Digital Income System. IfI had known that Digital Income System

          was not going to close more than one small sale and not send me commission checks over

          the lifetime of Digital Income System worth at least half of the amount I invested, which



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 356 of 484

    Declaration of Inez Ruth


           they had promised to do, I would never have paid them any money.

                    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
           is true and correct. Executed on September_;}____, 2020.


                                                                In~~
                                                                Chillicothe, Ohio




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 357 of 484




                          ATTACHMENT A




                                                                  PX 30, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 358 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 359 of 484




                          ATTACHMENT B




                                                                  PX 30, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 360 of 484




    From: JotForm <noreply@jotform.com>
    Da~T-05:00)
    To:-
    Subject: We have received your response for DIS Order Form




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              '   DI" ( lnkr   ~   orm
             Name                    Inez Ruth
              Address                Street Address:
                                     City: Chillicothe
                                     State/ Province: Ohio
                                     Postal/ Zip Code: -
                                     Country: United States
             Phone Number
             E-mail                                     om
             Purchase Level          Level 1 - $1,000 - Entrepreneur
             Referral ID #           5729
             Type a question         1Z470X310325270165
             Which Coach Did
                                     Derek
             You Speak To?
             Signature Req.
                                           I


                                     I agree to all of the Digital Income System's Terms
                                     and Conditions.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 361 of 484




                          ATTACHMENT C




                                                                  PX 30, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 362 of 484




    From: Digital Income System Customer Support <customersupport@digitalincomesystem.com>

    Date: 10/3/19 4:22 PM (GMT-05:00)

    To:

    Subject: DIS Login info



    Hello Inez,




    Welcome to the DigitallncomeSystem! Your personal Referral ID# is: 9722

     Your Capture Page URL is: http://diqitalincomesystem.com/9722

     Your system is already set up to receive traffic and our consultants are standing by, ready to
    engage your potential buyers.

      Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may
    take a few days to start delivering new traffic to your website. Please remember that this traffic
    is a special bonus from our team to you, and is meant to supplement but not to replace your
    own traffic and efforts.

     Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button
    that says "Get Traffic Here" to access our exclusive traffic resources.

      To be successful you have to be consistent with your advertising. The secret to success is
    filling up your pipeline with prospects and letting the system and our coaches work on your
    behalf. If you need assistance or have questions, please send an email
    to:      customersupport@digitalincomesystem.com

    Our DIS support team is always available to assist you technically, and if needed, to forward
    your request to a business consultant.

     Because our consultants are engaged with your leads and spends most of their time on the
    phone with potential customers, please make sure you do not contact them directly until you
    have given our customer support staff a chance to resolve the issue for you.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 363 of 484




    You can log into your account here: Login
    link: https://diqitalincomesystem.com/admin/loqin.php




    Log in with this email:




    And type in this password:




     (Your login password can be changed in the account section, after your first login, if desired).



    When you log in, be sure you watch the fast start video because it will show you how to
    navigate the back office,

    how to access a few basic features, and most importantly, how to start your first marketing
    campaign.




    Welcome again from the DIS team, we look forward to working with you and to your continued
    success!




     -DISAdmin




                                                                                       PX 30, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 364 of 484




                          ATTACHMENT D




                                                                 PX 30, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 365 of 484




    From: Derek Jones <coachderek@digitalincomesystem.com>
    Date: 11/1/19 5:55 PM GMT-05:00)
    To:                               om>
    Subject:            Upgrade Instructions (Coach Auth)


    Hey there Inez!

    Congratulations on your decision to upgrade your Digital Income System.

    Member ID# 5729 ( Kaitlyn Scott) will be very pleased to hear the good news.



    The Digital Income System utilizes direct peer-to-peer payments for your convenience.

    The total amount for Level Ill is: $5,500 (Coach Note: Exempt Cost, Authorize Bonus
    DJf484591)



    Step 1) Please get 1 cashiers check (or money order) for the amount of $2750 made
    payable to:

    Kaitlyn Scott



    Step 2) Get a 2nd cashiers check (or money order) for the amount of $2750 made
    payable to:

     Digital Income System Inc.



    Step 3) Mail all checks to:

    Attention: Coach Derek
    Digital Income System Inc.
    6619 South Dixie Highway #329
    Miami, FL 33143




                                                                               PX 30, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 366 of 484




     *Send funds via Fed.Ex/ UPS Overnight or USPS Express mail*



    Step 4) Email me with the tracking number from your Fed:.ExfUPS Overnight or USPS
    receipt.

    My email is: coachderek@digitalincomesystem.com



    Once our DIS administrators have received your your payments, we will set up your
    marketing suite at the Ambassador ($12,000) Level and email you login details which
    contain your own user ID.

    Feel free to email or text message me with any questions during this process.

    Looking forward to your success on our team.




    Email:




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 367 of 484




                          ATTACHMENT E




                                                                 PX 30, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 368 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 369 of 484




                   PLAINTIFF'S EXHIBIT 31
                                   (PX 31)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 370 of 484




                                  DECLARATION OF NICHOLAS SCHULTZ

              I, Nicholas Schultz, declare the following:

           1. My name is Nicholas Schultz. I am a United States citizen and am over the age of

              eighteen. I live in Tampa, Florida.

          2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

              could and would testify competently to them.

          3. In 2019, I saw a video online advertising a money-making opportunity through a

              company called Digital Income System or "DIS."

          4. The video explained that, by purchasing membership in DIS, an individual could sell DIS

              membership to others for a 50% commission. The video stated that DIS offered different

              levels of membership, each for a different price. According to the video, DIS provided

              each member a website, called a "capture page," and marketed it to potential customers

              on the member's behalf. The higher a member's membership level, the more DIS would

              market the member's capture page. Potential purchasers, or "leads," who visited a

              member's capture page and wanted to learn more could enter their contact information

              and request a call from a DIS "coach." A DIS coach, who would be an experienced

             marketer, would then call each lead, advertise DIS to them, and then attempt to close a

              sale of membership. If the sale closed, the member would receive a 50% commission.

              The video described DIS as "autopilot" and "hands free." The video also included a

             temporary promotion, stating that, if I purchased a $3000 level membership by a certain

             deadline, I wouid be automatically upgraded to a $5000 levei membership.

          5. On August 7, 2019, I received an email from an individual named Johnny Melo, 1



    1
        The "From:" line in Melo's emails to me sometimes listed his name as "Jone."



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 371 of 484

    Declaration of Nicholas Schultz


           advertising DIS and stating:

                  Your Invitation from the Digital Income System is awaiting your reply.

                  You have just 24 hours to reply and schedule a callback and lock in your 24 hour

                  bonuses:

                  Free, lifetime traffic. PLUS ..

                  A full upgrade to the next product level

                  Submit A callback request TODAY

                  https://clicks.aweber.com/y/ct/?l=PGozW&m=mGfZgDz6ya7rpoA&b=ciVXWT

                  RT AvKl OWRdMeOOzg

          (Attachment A is a true and correct copy of the August 7, 2019 email).

       6. On August 8, 2019, I received another email from Melo, stating:

                  Digital Income. Simplified.

                  Our success system is fully-automated.

                  We utilize cutting edge technology, advanced marketing automation and a
                  powerful sales force to close your leads and generate huge commissions checks
                  paid directly to you.

                  We make the sales, you get paid.

                  Simple, right?

                  Your Bonus window is close to closing ..

                  It's time to schedule your callback...

                  https://clicks.aweber.com/y/ct/?l=PGozW&m=lwkjkbgMya7rpoA&b=zlhDgOOo
                  9KdkOea86GKmRA

                  Click the link above to schedule a call with a member of our team today.

                 Find out what we can do to help you get ahead.

          (Attachment Bis a true and correct copy of the August 8, 2019 email).


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 372 of 484

    Declaration of Nicholas Schultz


       7. On August 9, 2019, I received another email from Melo, stating:

                  Your Digital Income System bonuses have been successfully activated and we

                  have sent a notification to our team for processing.

                  However, We are still waiting on you to schedule your callback,

                  So please make sure to schedule it at your earliest convenience.

                  We do not want you to miss the crazy bonus we offer.

                  Get together with one of our consultants:

                  https ://clicks.aweber .com/y/ct/?l=PGozW &m=laptozNcya7i:poA&b=4 wiKsavgCJ

                   VNbAwA6ZujO

                  No pressure tactics - just a simple conversation about what YOU want.

                  You should probably hurry, if you're seeing this your Bonus is about to go bye-

                  bye.

                  DIS Callback Mgr.

          (Attachment C is a true and correct copy of the August 9, 2019 email).

       8. On August 10, 2019, I received another email from Melo, which appeared to include a

          copied and pasted message from "Bill," the "founder" of DIS. The email stated:

                 Hey it's Bill, founder of the Digital Income System here to give you a quick

                 warning!

                 Beware of the number one.

                 Why?

                 Because if you only have one of something you are at risk.

                 One (Income) from one source - your job.

                 One bank account



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 373 of 484

     Declaration of Nicholas Schultz


                   One ad source

                   One lead source

                   One of anything related to your -Cash-Flow-

                   The moment something happens to that one thing, you're left with NOTHING.

                   I don't want this to happen to you.

                   I started the Digital Income System to get you out of the Serious Danger of One.

                   Go back to our website, watch the video again if you need to.

                   https://clicks.aweber.com/y/ct/?l=PGozW&m=lEvl tL4sya7rpoA&b---xfr2s4NWZ

                   bqyU7ELasdgEA

                   Or you can go directly to our callback page and schedule a consultation with us.

                   https://clicks.aweber.com/y/ct/?l=PGozW&m=1EvltL4sya71:poA&b=7U.mAD1O

                   AZHEht9KhcnCwA

                   Don't fall prey to the danger of one ..

                   Bill
                   DIS Founder

           (Attachment Dis a true and correct copy of the August 10, 2019 email).

        9. On August 11, 2019, I received another email from Melo, stating:

                   Thanks again for checking out the Digital Income System!

                  In case you forgot, here are the DIS details ...

                   1) Professional Business Team to close all of your sales for you!

                  2) 50% Commissions from all your sales (No Gimmicks, No Skips, No Passups).

                  3) Automatic Traffic Built-in (included for FREE) for a lifetime of leads and
                  sales!

                  4) FIVE Product Levels: $lk, $3k, $5k, $12k, and $25k with ZERO admin fees or
                  recurring fees, ever!


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                                                                                       PX 31, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 374 of 484

    Declaration of Nicholas Schultz



                  5) Checks sent directly to your mailbox! We ship Fed-Ex or USPS Priority so you
                  get paid fast!

                  Don't miss this chance to change your life and finances with our done-for-you
                  system.

                  Your future is waiting ... Go Grab it..

                  https ://clicks.aweber.com/y/ct/?l =PGoz W&m=ku.Bxio6ya7rpoA&b=k0O 1S0t0a
                  gOyJl NJ3e Ygg

                  Your DIS Team

           (Attachment Eis a true and correct copy of the August 11, 2019 email).

       10. I requested a callback from DIS and received a call from someone named Coach Elvis.

          Elvis repeated the information provided in the video, stating that DIS was a ''turn-key"

          operation that would market my capture page, call all of my leads, close all of my sales,

          and provide 50% commissions. He said a DIS website (he didn't say which one)

          received more viewers than Coca Cola's website. Like the video, he said that the higher

          my membership level, the more DIS would market my capture page to potential

          purchasers.

       11. Based on the video, the emails from Melo, and my conversation with Elvis, I believed I

          would make substantial income through DIS.

       12. As a result, I decided to purchase a $3000 membership, which, with the promotion,

          would result in a membership worth $5000.

       13. On August 13, 2019, I received an email from DIS with instructions on how to pay for

          my membership. (Attachment Fis a true and correct copy of the emaii.)

       14. Pursuant to these instructions, that same day, I mailed two cashier's checks--one for

          $1500 made out to Johnny R. Melo and one for $1500 made out to DIS-to DIS's



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 375 of 484

    Declaration of Nicholas Schultz


            address, located at 6619 South Dixie Highway #329, Miami, FL 33143. (Attachment G

            is a true and correct copy of the cashier's check that I made out to and mailed to Digital

            Income System.)

        15. Prior to mailing my payment to join DIS, I never received a written disclosure document

            or a written earnings claim document that told me how many and what percentage of DIS

            members earned specific commissions or a range of-commissions. I also never received

            such documents after I paid for the membership.

        16. On August 15, 2019, I received a welcome email from DIS with credentials to my

           capture page and my account (also referred to as DIS's "backoffice"). (Attachment His a

           true and correct copy of the August 15, 2019 welcome email.)

        17. After I mailed my payment for DIS membership, I continued to receive emails from

           Johnny Melo advertising DIS throughout August 2019. (Attachments I through Mare

           true and correct copies of these emails).

        18. I subsequently purchased extra marketing from an internet marketer for approximately

           $3,000. The marketer created a website for me advertising DIS.

        19. From August 2019 to January 2020, I received thirteen emails from DIS, stating that a

           "new lead has checked out" my capture page. (Attachment N is true and correct copies

           of these emails.)2

        20. But no sales were closed. Meanwhile, my lead notification emails were becoming less

           and less frequent.

        21. As a result, on January 28, 2020, I emaiied DIS, stating, "Even though I am Tracking and



    2 One of those emails resulted when I myself requested a callback on my own capture page as a
    test. See Attachment N at 5. Some of the lead notification emails may also have resulted when
    the internet marketer I hired tested my DIS capture page.
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 376 of 484

    Declaration of Nicholas Schultz


            sending traffic to the site after hiring a different company to market the site, leads have

           stopped generating... I would like to talk with someone ... " I received a response,

           stating, "I'll contact support on your behalf and make sure your site is working properly."

           I replied, "Can you give me a main number to con~t support?" DIS replied, "Currently

           there is no number, but they work 24/7 and you can contact them directly from the

           Backoffice." (Attachment O is a true and correct copy of this email exchange with DIS).

           To the best ofmy recollection, DIS then messaged me through the backoffice and

           confirmed that my DIS capture page was functioning and sending the list of any callback

           requests to my backoffice. DIS did not, however, explain why no sales were resulting.

       22. Ultimately, DIS closed no sales for me, and I made no money through DIS.

       23. If I had known that DIS was not going to close any sales for me, as Johnny Melo and

           Elvis promised it would, I would never have paid any money for this supposed business

           opportunity. I lost $3000 to DIS.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on September /j, 2020.

                                                          q4V""~
                                                          Nicholas Schultz
                                                           Tampa, Florida




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                                                                                          PX 31, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 377 of 484




                           ATTACHMENT A




                                        8                         PX 31, pg. 8
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 378 of 484




    From: Jone                          >
    Date: Wed, Aug 7, 2019, 8:45 PM
    Subject: Don't miss your 24 hour bonus!
    To: Nicholas Schultz                                  >


    Hey There,

    Your Invitation from the Digital Income System
    is awaiting your reply.

    You have just 24 hours to reply and schedule a callback
    and lock in your 24 hour bonuses:

    Free, lifetime traffic. PLUS ..
    A full upgrade to the next product level

    Submit A callback request TODAY

    https://clicks.aweber.com/y/ct/?l=PGozW&m=mGfZgDz6ya7rpoA&b=ciVXWTRTAvKIOWR
    dMeOOzg




    The DIS-Call Back Team is Standing By For You.


               FL-
    USA

    To unsubscribe or change subscriber options, visit:
    https ://www.aweber.com/z/r/?rMyMHGwMLL TsTAxsHAxMDLRmtMxMjJwMjlzM




                                                   9                PX 31, pg. 9
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 379 of 484




                           ATTACHMENT B




                                        10                      PX 31, pg. 10
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 380 of 484




    From: Jone                           >
    Date: Thu, Aug 8, 2019, 8:45 PM
    Subject: Digital Income. Simplified.
    To: Nicholas Schultz                                   >


    Hello again ,


    Digital Income. Simplified.


    Our success system is fully-automated.


    We utilize cutting edge technology, advanced marketing automation
    and a powerful sales force to close your leads and generate huge
    commissions checks paid directly to you.


    We make the sales, you get paid.



    Simple, right?


    Your Bonus window is close to closing ..
    It's time to schedule your callback ...


    https ://clicks.aweber.com/y/ct/?l=PGozW &m=lwkjkbgMya 7rpoA&b=z 1hDgOOo9KdkOea86G
    KmRA



    Click the link above to schedule a call with a member of our team today.

    Find out what we can do to help you get ahead.




    Talk soon??




                                                     11                        PX 31, pg. 11
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 381 of 484




             FL-
     USA

     To unsubscribe or change subscriber options, visit:
     https://www.aweber.com/z/r/?rMyMHGwMLLTsTAxsHAxMDLRmtMxMjJwMjlws




                                        12                       PX 31, pg. 12
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 382 of 484




                           ATTACHMENT C




                                        13                      PX 31, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 383 of 484




     From: Jone                         m>
     Date: Fri, Aug 9, 2019, 8:47 PM
     Subject: DIS Activation Successful
     To: Nicholas Schultz                                  >


     We have Great News.

    Activation Successful! Congratulations!

    Your Digital Income System bonuses have been
    successfully activated and we have sent a
    notification to our team for processing.

    However, We are still waiting on you to schedule your callback,
    So please make sure to schedule it at your earliest convenience.

    We do not want you to miss the crazy bonus we offer.

    Get together with one of our consultants:

    https ://clicks.aweber.com/y/ct/?l=PGoz W&m=laptozNcya 7rpoA&b=4wiKsavgCJ VNbAw A6Z
    filQ


    No pressure tactics - just a simple conversation about what YOU want.



    You should probably hurry, if you're seeing this your Bonus is about to
    go bye-bye.



    DIS Callback Mgr


                FL-
    USA

    To unsubscribe or change subscriber options, visit:
    https://www.aweber.com/z/r/?rMyMHGwMLL TsTAxsHAxMDLRmtMxMjJwMjlys




                                                   14                         PX 31, pg. 14
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 384 of 484




                           ATTACHMENT D




                                        15                       PX 31, pg. 15
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 385 of 484




    From:Jone->
    Date: Sat, Aug 10, 2019, 8:51 PM
    Subject: One is the most dan erous number.
    To: Nicholas Schultz                                   >


    Hey it's Bill, founder of the Digital Income System here to give you a quick warning!

    Beware of the number one.

    Why?

    Because if you only have one of something you are at risk.

    One (Income) from one source -your job.

    One bank account

    One ad source

    One lead source

    One of anything related to your -Cash-Flow-

    The moment something happens to that one thing, you're left with NOTHING.

    I don't want this to happen to you.

    I started the Digital Income System to get you out of the Serious Danger of One.


    Go back to our website, watch the video again if you need to.


    https://clicks.aweber.com/y/ct/?l=PGozW&m=lEvltL4sya7rpoA&b=xfr2s4NWZbqyU7ELasdg
    EA


    Or you can go directly to our callback page and schedule a consultation with us.


    https://clicks.aweber.com/y/ct/?l=PGoz W &m=!Ev 1tL4sya 7rpoA&b=7U .mAD 1OAZHEht9Khcn
    CwA




                                                   16                                  PX 31, pg. 16
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 386 of 484




    Don't fall prey to the danger of one ..



    Bill
    DIS Founder




    To unsubscribe or change subscriber options, visit:
    https://www.aweber.com/z/r/?rMyMHGwMLL TsTAxsHAxMDLRmtMxMjJwMjlxs




                                              17                 PX 31, pg. 17
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 387 of 484




                           ATTACHMENT E




                                        18                       PX 31, pg. 18
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 388 of 484




     From:Jone->
     Date: Sun, Aug 11, 2019, 8:50 PM
     Subject: A few details about The Di
     To: Nicholas Schultz



    Hi


    Thanks again for checking out the Digital Income System!


    In case you forgot, here are the DIS details ...

     1) Professional Business Team to close all of your sales for you!

    2) 50% Commissions from all your sales (No Gimmicks, No Skips, No Passups).

    3) Automatic Traffic Built-in (included for FREE) for a lifetime of leads and sales!

    4) FIVE Product Levels: $lk, $3k, $5k, $12k, and $25k with ZERO admin fees or recurring fees,
    ever!

    5) Checks sent directly to your mailbox! We ship Fed-Ex or USPS Priority so you get paid fast!



    Don't miss this chance to change your life and finances with our done-for-you system.


    Your future is waiting ... Go Grab it..


    https://clicks.aweber.com/y/ct/?l=PGozW&m=ku.Bxio6ya7rpoA&b=k0O IS0t0aqOyJl NJ3e Yq
    g

    Your DIS Team



    USA

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    https://www .aweber.com/z/r/?rMyMHGwMLL TsTAxsHAxMDLRmtMxMjJwMjlzs




                                                       19                             PX 31, pg. 19
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 389 of 484




                           ATTACHMENT F




                                        20                       PX 31, pg. 20
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 390 of 484




    From: DIS Callback-Team <callbackteam@digitalincomesystem.com>
    Date: Tue, Aug 13, 2019, 12:57 PM
    Subject: DIS 3K PURCHASE
    To:<111••·····•••               >


    Hey there Nick,

    It Was great speaking to you today and congratulations on your decision to Purchase
    the Digital Income System. Member ID#8014(Johnny) will be very pleased to hear the
    good news.



    The Digital Income System utilizes direct peer-to-peer payments and The total

    amount for Level II is:   $3,000.

    Instructions to Purchase Digital Income System at Level II (Director):



    Step 1) Please get 1 cashiers check or money order in the amount of $1500 made
    payable to:

    Johnny R. Melo

    Step 2) Get a 2nd cashiers check or money order in the amount of $1500 made
    payable to:

     Digital Income System Inc.

    Step 3) Send the checks or money orders via FedEx/ UPS Overnight or USPS
    Overnight Express mail to:



    Attention: Coach Elvis
    Digital Income System Inc.
    6619 South Dixie Highway #329
    Miami, FL 33143




                                            21                           PX 31, pg. 21
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 391 of 484




     * Make sure to Send funds via FedEx/ UPS Overnight or
     USPS Overnight Express mail*




     Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
     receipt.

     My email is: callbackteam@digitalincomesystem.com



    Step 5: Once you've sent the two payments to the address above, fill out the order
    form at:

    http://digitalincomeform.com



    *Note: Your referral ID# is:8014 and your coach's name is Coach Elvis*




    Once our DIS administrators have received your completed order form and your mailed
    payments, we will set up your marketing suite at the Professional ($5,000) Level.

    We will also email you login details which contain your own user ID#. Typically this
    process takes less than 24 hours from the time we receive your payment.



    Feel free to email or text message me at 786-582-5093 with any questions
    during this process.

    Looking forward to your success on our team.

    Coach Elvis




                                               22                             PX 31, pg. 22
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 392 of 484




                           ATTACHMENT G




                                        23                       PX 31, pg. 23
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 393 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 394 of 484




                           ATTACHMENT H




                                        25                       PX 31, pg. 25
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 395 of 484




    From: Digital Income System Customer Support
    <customersupport(a),digitalincomesystem.com>
    Date: Thu, Aug 15, 2019, 11 :59 PM
    Subject: DIS Log In

    To:<111••········>
     Hello Nicholas ,

    Welcome to the DigitallncomeSystem! Your personal Referral ID# is: 6821

     Your Capture Page URL is: http://digitalincomesystem.com/6821

     Your system is already set up to receive traffic and our consultants are standing by,
    ready to engage your potential buyers.

     Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic
    Rotator may take a few days to start delivering new traffic to your website. Please
    remember that this traffic is a special bonus from our team to you, and is meant to
    supplement but not to replace your own traffic and efforts.

     Our list of "Done For You" traffic sources is outlined in the back office. Simply click
    the button that says "Get Traffic Here" to access our exclusive traffic resources.

     To be successful you have to be consistent with your advertising. The secret to
    success is filling up your pipeline with prospects and letting the system and our
    coaches work on your behalf. If you need assistance or have questions, please send
    an email to:      customersupport@digitalincomesystem.com

    Our DIS support team is always available to assist you technically, and if needed, to
    forward your request to a business consultant.

     Because our consultants are engaged with your leads and spends most of their time
    on the phone with potential customers, please make sure you do not contact them
    directly until you have given our customer support staff a chance to resolve the issue
    for you.



    You can log into your account here: Login
    link: https://digitalincomesystem.com/admin/login.php



    Log in with this email:




                                                26                             PX 31, pg. 26
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 396 of 484




     And type in this password:
                                     -
    {Your login password can be changed in the account section, after your first login, if
    desired).


    When you log in, be sure you watch the fast start video because it will show you how
    to navigate the back office,

    how to access a few basic features, and most importantly, how to start your first
    marketing campaign.



    Welcome again from the DIS team, we look forward to working with you and to your
    continued success!



     -DIS Admin




                                              27                            PX 31, pg. 27
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 397 of 484




                           ATTACHMENT I




                                        28                       PX 31, pg. 28
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 398 of 484




    From:k~~-----                 •
    Date: Tue, Aug 13, 2019, 8:46 PM
                                        >

    Subject: Digital Income Sys: Lets Talk ROI
    To: Nicholas Schultz                                     >


    Today it's time for the truth and the truth can take some time

    Make Sure You Read This Entire Article


    No games. Lets talk ROI.


    ROI= Advertising Cost+ (Amount received - amount spent) x 100


    Return on Investment (ROI) is a serious subject.
    Especially if you are a member of DIS.


    Each DIS sale can bring as much as $12,5000 in profit.
    That's net profit. Not gross revenue.

    In case you're new to business, that is a LOT of profit per sale, with a very low overhead.


    So lets do some math.
    Lets pretend that you are doing a text message campaign.

    (I think we are supposed to do a disclaimer here about how prices and commissions can vary.
    Obviously, not everyone who starts a marketing campaign makes a bunch of money.
    Of course, some do. And we are pretty awesome at making sure those someones are our clients.
    ok. ..lets continue.)

    The average text message campaign costs about $150 bucks and reaches about 2,000 people.

    The average DIS sale? about $2,500 dollars in profit, per sale (a little more, but lets estimate).

    Since the number of sales per campaign varies, instead of calculating ROI lets go
    BACKWARDS.


    Lets take the average amount of profit, and figure out how many people we can reach at the
    break even point.




                                                     29                                 PX 31, pg. 29
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 399 of 484




    at $2,500 dollars with SMS campaigns costing $150 per 2,000 people is ..

    The break Even Point is .. wait for it...

    33 ... THOUSAND PEOPLE.

    33,334 people, to be exact.


    So imagine this:

    An entire stadium of people Watches a 20 minute presentation on
    the Digital Income System.

    Then every one who joins pays you $2,500 dollars.

    If you only get 1, you break even.

    At two you double your money.


    If you get 12, you get $30,000.
    And that assumes your leads don't buy a higher membership.

    What if the commissions were $6,000 ($72,000)

    What if they were $12,500?

    You see? ROI for the Digital Income System is so high.
    You can't afford NOT to do it.

    So here is your chance.

    Goo to the page you see below, and request a callback right now.
    Time is wasting. Money is waiting.

    Isn't time You made a move.

    https://clicks.aweber.com/y/ct/?l=PGozW&m=kZ3M04VMya7rpoA&b=EADUam9NTI4eLzg5p
    L09HO



    Thanks for reading




                                                  30                           PX 31, pg. 30
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 400 of 484




    DIS Team




    PS. The example above is used only to illustrate the ROI potential
       OF DIS. Advertising and promotion is an inexact science and no one
       not even the minds behind DIS can guarentee you will makes sales on
       any advertising campaigns - because income claims are agaisnt the law ..


    0


               FL-
    USA

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    https://www.aweber.com/z/r/?rMyMHGwMLLTsTAxsHAxMDLRmtMxMjJwMjiwc




                                                   31                             PX 31, pg. 31
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 401 of 484




                          ATTACHMENT J




                                       32                       PX 31, pg. 32
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 402 of 484




    From: Jone                             >
    Date: Thu, Aug 15, 2019, 8:46 PM
    Subject: It takes just 18 seconds to read this email!
    To: Nicholas Schultz                                    >


    Yep, 18 seconds is all you need ....


    Ready? Set? GO!

    (17 Seconds to go)


    Listen, you need money and you don't have time to waste!

    ( 14 seconds to go)

    Digital Income System is the solution to all your money needs

    ( 11 seconds to go)

    We close the sales - you cash the checks

    (8 seconds)

    No gimmicks, just hands-free income.

    (5 seconds)

    hmmm ... a few seconds to spare ....

    (2 seconds)

    Request a callback ASAP! WE promise its fast!



    https://clicks.aweber.com/y/ct/?l=PGozW&m=kD8W4SCcya7rpoA&b=NnmdAOPEp0fxXVRE
    wHjejg



    Whew, 18 seconds goes by fast.. ...




                                                     33             PX 31, pg. 33
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 403 of 484




             FL-
     USA

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                                         34                       PX 31, pg. 34
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 404 of 484




                           ATTACHMENT K




                                        35                       PX 31, pg. 35
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 405 of 484




     From: Jone                       >
     Date: Mon, Aug 19, 2019, 8:51 PM
     Subject: Is The Dream Dead?
     To: Nicholas Schultz                                     >




     Hey, I have a serious question for you ...

     Is The Dream Dead? It depends on what dream we're talking about!


    Yes .. The dream of a full-time income in "MLM" or "network marketing"
    is all but DEAD for the average person.

    Think about that for a minute, let it sink in. Because that is the absolute truth.
    And it doesn't give me any joy to be the one to break this to you.


    Yes, at one time it was fairly simple to make a ton of money in an MLM - but those
    days are over and here's why:


    The Internet Killed MLM.

    In the old days you had to ..

    Go after family and friends, 3 feet circles, hotels meetings etc ... but you could build slowly
    because there was a new deal to distract your team maybe once or twice a year.

    Now you dont have to do any of that old school presenting and meetings
    but it seems like there is a new deal to ditract people once or twice a day.

    Too many companies and not enough people to go around and it's now too easy to jump ship
    making
    building the size team you need to make any real money almost impossible

    So you may want to stop chasing a dead dream.

    So what's the cure to a dead MLM industry? A high paying direct sale business with up to
    $12,500 per sale.

    Not $20 for some face cream, not 15 bucks for selling some wicker basket.

    And pennies and peanuts on the sales volume of your team - you need more than




                                                      36                                 PX 31, pg. 36
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 406 of 484




     pennies to survuve today.

     You NEED Real commissions. BIG ONES.


     We have just what you want to cure the dead MLM blues ...


     Contact us here for more info:

     https://clicks.aweber.corn/y/ct/?l=PGoz W &m=nGbBe8poya 7rpoA&b=Y3 ITX wOxzEtpmPKtZtn
     h3A



     MLM may be dead but it doesn't have to take you down with it ...


     You CAN Rise up from the MLM asshes - You just need to be riding on the right Bird.


                FL-
     USA

     To unsubscribe or change subscriber options, visit:
     https ://www.aweber.com/z/r/?rMyMHGwMLL TsT AxsHAxMDLRmtMxMjJwMjEwM




                                                   37                             PX 31, pg. 37
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 407 of 484




                           ATTACHMENT L




                                        38                       PX 31, pg. 38
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 408 of 484




     From:Jone->
     Date: Mon, Aug 26, 2019, 8:50 PM
     Subject: LAST SHOT: You have ONE MORE CHANCE to CASH IN on our 24 hour SIGN UP
     BONUS
     To: Nicholas Schultz                      >




     Time is running out..




    You've seen the videos ...


    You know that Digital Income System is the # 1 doen for you business opportunity in the world
    and that if you continue to sit on the sidelines you will miss out on the opportunity of a lifetime.


    You know that we have the skills. You know that we have the system.
    You know that we close your sales and that you cash the checks.

    But we know something too. We know that you missed the bonus period and that you've
    been waiting for a promotion to get back in.

    Don't worry, your secret is safe with us.

    Our bonuses aren't some ridiculous e-book that anybody can own.
    It isn't some fake report, or a funded proposal masquerading as a training guide.

    Its a lifetime of enhanced website traffic worth tens of thousands of dollars.
    Its a real product upgrade that more than doubles your earning potential instantly.

    That's power.

    That's a real incentive that produces sales fast.

    And even though we are serious about enforcing out 24 hour rule.
    We are also serious about giving you the opportunity to sstart succeeding online.

    We also do it Because the person who invited you to see DIS deserves the pleasure
    of knowing they helped you out.

    So we extend the bonus period to help our members - and you get the benefit

    So this is our last offer.




                                                        39                              PX 31, pg. 39
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 409 of 484




     Go to the site below. And request a callback with one of our business specialists.


    https://clicks.aweber.com/y/ct/?l=PGoz W&m=mwgLiWX2ya 7rpoA&b=b I wEzqwznXRx81q7D
    VMckw



    Our emebrs love the help we've given them and We look forward to helping you too.



    USA

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    https://www.aweber.com/z/r/?rMyMHGwMLLTsTAxsHAxMDLRmtMxMjJwMjEyM




                                                     40                                   PX 31, pg. 40
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 410 of 484




                           ATTACHMENT M




                                        41                       PX 31, pg. 41
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 411 of 484




    From:Jone->
    Date: Fri, Aug 30, 2019, 8:50 PM
    Subject: If THIS doesn't bother
    To: Nicholas Schultz                      >




    Hello Nicholas,
    If THIS doesn't bother you, then
    i don't know what will


    I remember back when I was
    working my J.O.B and I couldn't
    help but to
    realize one thing.


    I kept saying to myself:


    "What in the heck am I doing
    working this hard to barely make
    over minimum
    wage every hour and build
    someone ELSE'S dream when I can
    make so much more building my
    own?"


    Perhaps, you may have asked
    yourself this at one point?




                                        42                       PX 31, pg. 42
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 412 of 484




     Seriously, I just couldn't make
     the connection.


     I just couldn't stand the fact
     that I was overworking myself.


     Only to be underpaid.


     It bothered me.


     Those at the top of the
     corporation get to kick their
     feet up and get
     themselves a big ole' slice of
     the pie, while I get to take
    home the crumbs.


     It was at that point where I
     told myself I was going to
     succeed in internet
    marketing no matter how much
     effort I needed to put forth to
    make it happen.


     I pressed on.


     I stayed FOCUSED.


    And I got it done.


    This is the same type of mindset
    that you need to have.


    Couple that with a sound plan of
    action and you're good to go:




                                        43                       PX 31, pg. 43
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 413 of 484




     ==>     https://bit.ly/2YKvwom


    Really sink your teeth into
     this.


     FOCUS!


    And get it done.


    To YOUR Success,




                              Johnny
                              melo
                              To your
                              success



    P.S. Time is moneyed not waste
    anymore, call your Coach
    now>>>>
    https://bit.ly/2YKvwom

                                          f~@@a


                            Unsubscribe I Change Subscriber Options




                                              44                      PX 31, pg. 44
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 414 of 484




                          ATTACHMENT N




                                       45                       PX 31, pg. 45
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 415 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Tue, Aug 20, 2019, 9:41 AM
    Subject: DIS New Lead Notification
    To:<1    •••••••••••               >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                46                   PX 31, pg. 46
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 416 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Wed, Aug 21, 2019, 2:32 PM
    Subject: DIS New Lead Notification
    To:   <II•••••••••••               >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:
    0

    Congratulations!




                                                47                   PX 31, pg. 47
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 417 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Thu, Aug 22, 2019, 8:49 PM
    Subject: DIS New Lead Notification
    To:   <Jl••••••••••               I>


    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:
    0

    Congratulations!




                                                48                   PX 31, pg. 48
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 418 of 484




     From: Digital Income System <no-reply@digitalincomesystem.com>
     Date: Mon, Aug 26, 2019, 4:16 PM
     Subject: DIS New Lead Notification
     To:     ••••••••••
           '11                        1>


    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                49                    PX 31, pg. 49
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 419 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Wed, Aug 28, 2019, 6:08 PM
    Subject: DIS New Lead Notification
    To:   <JI•••••••••••               >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:
    Nicholas

    Last Name


    Email:


    Phone:


    Congratulations!




                                                50                   PX 31, pg. 50
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 420 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Tue, Sep 3, 2019, 12:20 PM
    Subject: DIS New Lead Notification
    To:<11   ••••••••••               1>


    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:




    -
    First Name:


    Last Name


    Email:


    Phone:
    0

    Congratulations!




                                                51                   PX 31, pg. 51
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 421 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Sun, Sep 22, 2019, 6:58 PM
    Subject: DIS New Lead Notification
    To:   <11••••••••••               1>


    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                52                   PX 31, pg. 52
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 422 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Tue, Sep 24, 2019, 7:12 PM
    Subject: DIS New Lead Notification
    To: <nicholasschultz911@gmail.com>



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                53                   PX 31, pg. 53
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 423 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Mon, Nov 25, 2019, 10:20 PM
    Subject: DIS New Lead Notification
    To:   <I •••••••••••               >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                54                   PX 31, pg. 54
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 424 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Thu, Dec 5, 2019, 11:50 PM
    Subject: DIS New Lead Notification
    To:<11   ••••••••••               1>


    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:




    -
    First Name:


    Last Name


    Email:


    Phone:


    Congratulations!




                                                55                   PX 31, pg. 55
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 425 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Sat, Dec 7, 2019, 1:36 PM
    Subject: DIS New Lead Notification
    To:<)I   •••••••••••               >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:




    -
    First Name:


    L ast Name


    Email:


    Phone:
    0

    Congratulations!




                                                56                   PX 31, pg. 56
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 426 of 484




     From: Digital Income System <no-reply@digitalincomesystem.com>
     Date: Sun, Dec 8, 2019, 2:30 AM
     Subject: DIS New Lead Notification
     To:   <11••••••••••               1>


     Hi Nicholas

     A new lead has checked out your Digital Income System website.
     Below you can find their information:




    -First Name:


     L ast Name


     Email:


     Phone:


     Congratulations!




                                                 57                   PX 31, pg. 57
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 427 of 484




    From: Digital Income System <no-reply@digitalincomesystem.com>
    Date: Tue, Jan 28, 2020, 5:43 PM
    Subject: DIS NewLead Notification ,
    To:<11•••••••••••                  >



    Hi Nicholas

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:
    Fdf

    Last Name


    Email:
    dfdfd!@dvfdhfb.com

    Phone:
    5555555555555

    Congratulations!




                                                58                   PX 31, pg. 58
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 428 of 484




                          ATTACHMENT 0




                                       59                       PX 31, pg. 59
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 429 of 484




    From: DIS Callback-Team <callbackteam@digitalincomesystem.com>
    Date: Tue, Jan 28, 2020, 3:04 PM
    Subject: Re: happ client
    To: nick schultz                           >


    Currently there is no number, but they work 24/7 and you can contact them directly from the
    Backoffice

    On Tue, Jan 28, 2020 at 3 :02 PM nick schultz                                    > wrote:
    Awesome, thank you so much!

    Can you give me a main number to contact support?

    If possible if like to coordinate a call between your CRM guy and my advertising company I
    have hired.

    I don't have tech skills. I rely on both of you guys doing your Job the right way.

    Thank you

    Nicholas Schultz



    On Tue, Jan 28, 2020, 2:58 PM DIS Callback-Team <callbackteam@digitalincomesystem.com>
    wrote:
    I'll contact support on your behalf and make sure your site is working properly

    On Tue, Jan 28, 2020 at 2:41 PM nick schultz                                        > wrote:
    I have a $5000 membership. There is a problem with my CRM. Even though I am Tracking and
    sending traffic to the site after hiring a different company to market the site, leads have stopped
    generating.

    Something is wrong with my CRM on your end and I would like to talk with someone that knows
    about websites and CRMs.




                                                    60                                   PX 31, pg. 60
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 430 of 484




                  PLAINTIFF'S EXHIBIT 32
                                  (PX 32)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 431 of 484




                           DECLARATION OF BARBARA STEVENS

           I, Barbara Stevens, declare the following:

       1. My name is Barbara Stevens, and I am a United States citizen who is over the age of

           eighteen. I live in Silver Spring, Maryland.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

       3. In late July 2019, I received a letter in the mail concerning Digital Income System. The

          letter was marketing the money•making opportunity of Digital Income System. The

          letter stated that one could make a lot of money on•line by buying into this opportunity.

          This letter told me that "this program works because (1) You never have to do any selling

          or telling, we do all of that for you; (2) We send you Free Traffic for life and show you

          exactly where to find BUYERS. You can start getting BIG CHECKS like the one above

          sent directly to you." (Attachment A is a true and correct copy of the letter concerning

          Digital Income System.)

      4. The letter in Attachment A shows a sample check made out to me for $12,500, with the

          line "Discover How To Get Checks Like This, Visit: https://digitalincomesystem.com

          /9178 ."

      5. I visited the website that was listed in the letter and was connected with someone who

          identified himself as Coach Derek. He told me that a lot of people make money from this

          opportunity by joining Digital Income System and it's possible to make money soon.

          Coach Derek told me that the company would set up a website for me through which new

          customers would contact the company. He told me that the coaches at Digital Income

         would contact the leads that showed up on my capture page and close all ofmy sales.



                                                Page 1 of 4

                                                                                          PX 32, pg.1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 432 of 484




          Coach Derek also told me that, with my purchase, I would be buying an automatic traffic

          rotator, which would automatically parcel out potential leads to the purchasers of the

          Digital Income System.

       6. I looked on the Digital Income System website, which described that we would earn from

          $500 to $12,500 on each sale. The sales would be made by coaches who worked for

          Digital Income System. Because the coaches at Digital Income System would be the

          ones doing the selling to the new customers, Coach Derek told me that I would not have

          to sell to anyone myself, and in fact I would not have to talk with anyone. The coaches at

          the company would handle all of that.

      7. Based on what I had seen and heard from Coach Derek and Digital Income System, I

          decided to buy into this business opportunity at the $3000 level. I was told by Coach

          Derek that if I bought into that level, I would be enrolled at the next higher level ($5,000

          level). That would mean that I would get a higher commission for each sale from the

          leads. I told Coach Derek that I would join the System.

      8. Coach Derek sent me an e-mail with the instructions on how to join. He told me to send

         two cashier's checks to him at the Digital Income System address at 6619 South Dixie

         Highway, #329, Miami, Florida 33143. He told me to make one check for $1500 made

         out to Digital Income System Inc. and one check made out to Paul Polson for $1500.

         (Attachment Bis a true and correct copy of the first e-mail that Digital Income sent me.)

      9. Coach Derek then told me that after I sent the two checks, I was to fill out the order form

         and that once Digital Income System received my checks and the order form, they would

         set up my marketing suite at the $5000 level. (Attachment C is true and correct copies of

         the order form that I filled out and of the two cashier's checks.)



                                               Page 2 of 4
                                                                                          PX 32, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 433 of 484




       10. Before mailing my payment to join Digital Income System, I never received a written

           disclosure document or a written earnings claim document that told me how many and

           what percentage of Digital Income System members earned specific commissions or a

           range of commissions. I also never received such documents after I paid for the

           membership.

       11. Two days later, I received an e-mail that told me that DIS Automatic Traffic Rotator was

          being set up for me and would be ready in a few days to start delivering new traffic to my

          website. (Attachment D is a true and correct copy of the August 8 e-mail.)

       12. I paid an additional $7000 to another company called Top Advertising, which sent links

          to countries that had a lot of interest in business opportunities, set up a website for me,

          and linked that website up to my Digital Income website.

       13. I received a few e-mails telling me that I had a new lead that was checking out my Digital

          Income System website. (Attachment Eis a true and correct copy of the last e-mail that I

          received about a lead; I received it on December 6, 2019.) But none of those leads were

          ever turned into sales. No sales were ever made for me by the coaches at Digital Income

          System. And no more leads ever came to me after a short time.

      14. After I paid my money, I was never able to reach Coach Derek again.

      15. I have lost $3000 to Digital Income System. I have made no sales with the Digital

          Income System. I also lost over $7000 that I spent with another vendor for leads for the

          Digital Income System program. If I had known that Digital Income System was not




                                               Page 3 of 4

                                                                                           PX 32, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 434 of 484




          going to make any sales for me, as they promised they would do, I would never have paid

          them any money.



                                                    &&kvf2Slii~
          Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on August~ 2020.


                                                       Barbara Stevens
                                                       Silver Spring, Maryland




                                              Page4of4

                                                                                        PX 32, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 435 of 484




                          ATTACHMENT A




                                                                  PX 32, pg. 5
   Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 436 of 484

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    Payment Account                                                                          Coral Gables, FL 33 t24


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                                                                                                             DATE                       AMOUNT'·,.
                                                                                                         07/22/2019                ,,.. $12,500.00 ~ - '-_




ORDER
OF                                                                                         Discover How To Get Checks Like This, Visit:
           1111111111111111 fIIi.J 1111 1111 1111111 1111 11 1fI I11, hI•f 11nI I1111
                                                                                                 https://digitanncomesystem.com/9178

                                                           ATTENTION Barbara Stevens:
                                             ·- -Serious Business Seekers NeedecflnSilver Spring:.. -- ·-
                 Imagine Getting Checks Like This Delivered Directly to You Simply by Tapping into The Number One Thing
                                     EVERYONE Looking to Start A Business Wants. Keep reading ...

    Dear Barbara,
    There is no mistaking it. You can start receMng checks like the one above. REAL checks to deposit into your bank account by simply giving
    the. mllflons of people looking for a way to make money what they re~Dy wanl (Don't worry, we know exactly how to reach people just like you
    who want to make more money and we'll show you the easiest ways to get an endless supply of these buyers).
                      Here's a Quick FACT: There are around 175 Million people EVERY DAY searching for "ways to make money."

                                                    And We're Going to Share with You the Secret To
                                                 Hands Free Income Delivered Straight to Your Front Door




-----------


                                   Imagine how you're going to feel when you get envelopes containing
                               REAL Checks Worth Thousands of Dollars delivered directly to your front door.
    My name is Anthony, and my associates and I have built an income generating system so simple and yet so powerful It allowed me to make
    enough money for my wife and I to pay off the $200,000+ debt that had been hanging over our heads for years. And let me tell you - getting
    that debt paid off felt like the weight of the world had been lifted off my shoulders.

   When you see the Free Video I've made for you, you'ff realize, maybe for the first time, that you actually can have all the money and the
   lifestyle you've been longing for all these years, because we have taken away the #1 reason people fall in their attempts to make money. We
   have put together something that allows complete novices all the way up to the most bumed out business owner to make money with almost
   ZERO Effort. It's so simple You Have to SEE IT to beUeve It and understand why It's working for so many people everywhere.

                           Watch the FREE Video Now:                            https:l/digitalincomesystem.com/9178_px 32, pg. 6
                                                                                                                       {see the reverse side for more)- •
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 437 of 484
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I've been very fortunate. I've had great success in my business and about three years ago I decided to write ·down what I've learned over the
years and make it available to the public. After sev~ral months I began to see that even though my methods are revolutionary and work like
gangbusters, many people were still having dlfflculty succeeding. That didn't sit well with me, so I personally contacted a huge portion of my
customers to find out the real problem they were having. After hundreds of hours of research, It became crystal clear what the problem was ...

F~$11Qlward to today aod I have perfected my Qfiginal strategies and ijdded 1..Crltlcal Update so that ordinary, ave1c1ge people can make an
above average Income from home without a steep learning curve and without picking up the telephone to talk to anyone. EVE~I

                                         All You Do Is Plug into Our Method and WE DO THE REST

You already know there Is No Stability In working for someone· else and you know deep down that unless you change your financial direction
today you will not have the funds you'll need for a decent retirement. Isn't Your best hope for a comfortable retirement to make a lot of money
today? With our methods and our team this type of Income is now possible for you.

What would an extra $2,500 a month do for you? How about an.Extra $6,000? Or even $12,500 per month? And what if you found a team of
highly qualified and experien~ experts who would not only share what they know about income generation, but unlike everything else you've
seen before THEY ACTUALLY DID ALL THE WORK FOR YOU?

Would you pay off your debt? Take an overdue luxury vacation? Buy a better car-or maybe even a new, bigger and better home? What
you'll do with the money is totally up to you, and the possibilities are endless. But I want to make dear to you, this is NOT some fly-by-night,
'get rich quick' program, ifs not an MLM, and there is no recruiting needed. You NEVER Talk to Anyone- EVER!                            ' .,.,

I know this may be hard to believe (you're probably used to working long, hard hours for your money) but all you need is an open mind, just like
Dan did when he first got a.fetter just like the one you're reading right now. Here's what he has to say:

             "I've made just over $43,500 in just a few weeks due to Anthony's done for us system. I've never had this
          kind of success before and I'll never forget the day I received a $12,500 cashier's check made out in my name.
              Thank you, Anthony, I can't begin to tell you-hOw much this program has meant to me and my Family."

IMPORTANT: -For a LIMITED time only in addition to the 'Done for YOU' system using REAL People to Do ALL OF the Hard Work For YOU,
we are offering FREE website traffic for life. But you need to act fast because the free traffic offer could be taken down at any time. Just visit
the website below to get~ details. My team and I look forward to hearing from you.

Here's to your success,



P.S. Remember, this program works because                   .
1) You never have to do any selling or telling, we do all of that for you.
2) We send you Free Traffic for life and show you exactly where to find BUYERS.

You can start getting BIG CHECKS like the one above sent directly to you. Get all the details by visiting the website:




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 438 of 484




                          ATTACHMENT B




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 439 of 484




    From: Derek Jones <coachderek@digitalincomesystem.com>
    Date: Tue, Aug 6, 2019 at 7:47 PM
    Subject: ATTENTION: DIS Join Instructions 3k- Director (Authorize Upgrade to 5k-
    Professional)
    To:


    Hey there Barbara,

    It was great speaking to you today and congratulations on your decision to join
    the Digital Income System.

    Member ID# 9178 (Paul Polson) will be very pleased to hear the good news.



    The Digital Income System utilizes direct peer-to-peer payments for your
    convenience.

    The total amount for Level ii is: $3,000.

    (Coach's Note: Authorize Upgrade to 5k Level: DJ378S3U5)




    Instructions to join Digital Income System at Level ii (Director):



    Step 1) Please get 1 cashiers check for the amount of $1500 made payable to:

    Paul Polson



   Step 2) Get a 2nd cashiers check for the amount of $1500 made payable to:

    Digital Income System Inc.



   Step 3) Mail all checks to:

   Attention: Coach Derek



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 440 of 484




     Digital Income System Inc.
     6619 South Dixie Highway #329
     Miami, FL 33143

    *Send funds via FedEx/ UPS Overnight or USPS Express mail*



    Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS
    receipt.

    My email is: coachderek@digitalincomesystem.com



    Step 5) Once you've sent the two payments to the address above, fill out the order
    form at:

    http://digitalincomeform.com



    *Note: Your referral ID# is: 9178 and your coach's name is Coach Derek*




    Once our DIS administrators have received your completed order form and your
    payments, we will set up your marketing suite with your join bonus at the
    Professional ($5,000) Level.

    We will also email you login details which contain your own user ID. Typically this
    process takes less than 24 hours from the time we receive your payment.



    Feel free to email or text message me with any questions during this process.

    Looking forward to your success on our team.




   Email: coachderek@digitalincomesystem.com
   Phone: (305) 720-6952



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 441 of 484




                           ATTACIIMENT C




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 442 of 484




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             7     DIS Order Form
            Name          Barbara Stevens
            Address       Street Address:
                          Street Address Line
                          City: Silver Spring
                          State I Province: Maryland
                          Postal / Zip Code: 20902
                          Country: United States
            Phone
            Number
            E-mail
            Purchase
                          Level 2 - $3,000 - Director
            Level
            Referral ID
            #
                          9178
            Type a
            question
                          1ZE40A480113506253
            Which
            Coach Did Coach Derek
            You Speak
            To?
            Signature
            Req.




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 443 of 484




                          I agree to all of the Digital Income System's Terms and
                          Conditions.

               .
            r-:'O'Nere d h_y ? JOlFcrr~                     Create your own form today!




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 444 of 484


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 445 of 484




                          ATTACHMENT D




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 446 of 484




    From: Digital Income System Customer Support
    <customersup_port@digitalincomesystem.com>
    Date: Thu, Aug 8, 2019 at 7:18 PM
    Subject: DIS Lo . info
    To:<


    Hello Barbara,



    Welcome to the DigitallncomeSystem! Your personal Referral ID# is: 8017

    Your Capture Page URL is: http://digitalincomesystem.com/8017

     Your system is already set up to receive traffic and our consultants are standing by, ready to engage
    your potential buyers.

     Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a
    few days to start delivering new traffic to your website. Please remember that this traffic is a special
    bonus from our team to you, and is meant to supplement but not to replace your own traffic and
    efforts.

     Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button that says
    "Get Traffic Here" to access our exclusive traffic resources.

     To be successful you have to be consistent with your advertising. The secret to success is filling up your
    pipeline with prospects and letting the system and our coaches work on your behalf. If you need
    assistance or have questions, please send an email to:   customersupport@digitalincomesystem.com

    Our DIS support team is always available to assist you technically, and if needed, to forward your
    request to a business consultant.

    Because our consultants are engaged with your leads and spends most of their time on the phone with
   potential customers, please make sure you do not contact them directly until you have given our
   customer support staff a chance to resolve the issue for you.



   You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php



   Log in with this email:



   And type in this password:          support!



    (Your login password can be changed in the account section, after your first login, if desired).




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 447 of 484




     When you log in, be sure you watch the fast start video because it will show you how to navigate the
     back office,

     how to access a few basic features, and most importantly, how to start your first marketing campaign.



    Welcome again from the DIS team, we look forward to working with you and to your continued success!



     -DISAdmin
    From: Digital Income System Customer Support
    <customersup_port@digitalincomesystem.com>
    Date: Thu, Aug 8, 2019 at 7:18 PM
    Subject: DIS Lo . info
    To:


    Hello Barbara,



    Welcome to the DigitallncomeSystem! Your personal Referral ID# is:        8017
    Your Capture Page URL is: http://digitalincomesystem.com/8017

    Your system is already set up to receive traffic and our consultants are standing by, ready to engage
    your potential buyers.

    Because we only purchase top-tier, live website traffic, the DIS Automatic Traffic Rotator may take a
   few days to start delivering new traffic to your website. Please remember that this traffic is a special
   bonus from our team to you, and is meant to supplement but not to replace your own traffic and
   efforts.

     Our list of "Done For You" traffic sources is outlined in the back office. Simply click the button that says
    "Get Traffic Here" to access our exclusive traffic resources.

    To be successful you have to be consistent with your advertising. The secret to success is filling up your
   pipeline with prospects and letting the system and our coaches work on your behalf. If you need
   assistance or have questions, please send an email to:   customersupport@digitalincomesystem.com

   Our DIS support team is always available to assist you technically, and if needed, to forward your
   request to a business consultant.

    Because our consultants are engaged with your leads and spends most of their time on the phone with
   potential customers, please make sure you do not contact them directly until you have given our
   customer support staff a chance to resolve the issue for you.



   You can log into your account here: Login link: https://digitalincomesystem.com/admin/login.php




                                                                                                 PX 32, pg. 17
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 448 of 484




    Log in with this email:



    And type in this password:         supportl



     (Your login password can be changed in the account section, after your first login, if desired).


    When you log in, be sure you watch the fast start video because it will show you how to navigate the
    back office,

    how to access a few basic features, and most importantly, how to start your first marketing campaign.



    Welcome again from the DIS team, we look forward to working with you and to your continued success!



     -DISAdmin




                                                                                                PX 32, pg. 18
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 449 of 484




                          ATTACHMENT E




                                                                 PX 32, pg.19
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 450 of 484




    From: Digital Income System <no-re.ply@digitalincomesystem.com>
    Date: Fri, Dec 6, 2019 at 5:59 AM
    Subject: DIS New Lead No .
    To:



    Hi Barbara

    A new lead has checked out your Digital Income System website.
    Below you can find their information:

    First Name:
    Bria

    La.st Name




    Phone:


    Congratulations!




                                                                      PX 32, pg. 20
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 451 of 484




                  PLAINTIFF'S EXHIBIT 33
                                  (PX 33)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 452 of 484




                               DECLARATION OF LORI THOMAS

         I, Lori Thomas, declare the following:

      1. My name is Lori Thomas. I am a United States citizen who is over the age of eighteen,

         and I live in Des Moines, Iowa.

      2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

         could and would testify competently to them.

      3. In July 2019, I saw Facebook posts by Jennifer Hedrick, marketing a money-making

         opportunity through a company called Digital Income System or "DIS."

      4. Jennifer's posts explained that, by purchasing membership in DIS, individuals obtained

         the right to sell DIS membership to others for a 50% commission.

      5. Jennifer's posts included videos showing her opening packages of commission checks

         from Digital Income System. To the best of my recollection, these checks were worth

         $500, $1500, $2500, and $5000. At one point, she posted that she had generated over

         $300,000 in sales. She showed photographs of mansions she was considering buying,

         cars she purchased, and expensive shopping sprees and family vacations she took,

         implying that her purchases were paid for through DIS commissions. Jennifer's

         Facebook posts suggested that others could also earn substantial income if they purchased

         membership.

      6. Jennifer and I began to communicate with each other regarding DIS through Facebook

         messenger.

      7. Jennifer described DIS as an "autopilot" way to make money. She explained that, once a

         participant purchased membership, he or she would receive access to a DIS "capture

         page" associated with his or her member account. The capture page included a place for




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                                                                                          PX 33, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 453 of 484

   Declaration of Lori Thomas


          interested individuals, or "leads," to enter their names and contact information to receive

          a call from a Digital Income System "coach."

      8. Jennifer indicated that DIS would advertise the member's capture page to viewers or

          "traffi C."

      9. According to Jennifer, DIS coaches, who were experienced marketers, would then call

          each lead who had requested a callback and attempt to close a sale. If the sale closed, the

          member would receive a 50% commission.

      10. In one voice message she left me on Facebook messenger, Jennifer said DIS did all the

         work for its members, from "literally getting your leads, closing your leads, closing your

         sales, answering questions, emailing people for you, texting people for you... they

         literally do everything." She described the system as "perfect for ... people who've tried

         working online, but ... don't want to do videos, or ... don't want to ask people, or don't

         want to post stuff on social media." She said, "they're seriously doing all of the work for

         me ... I am doing nothing." She added that ''the best part ... is that anyone that joins

         my team actually gets the owner of the Company - and he's a 7 flippin' figure earner - to

         close the sales for you. And he's the best of the best." She referred to him as "Derek the

         owner." She said, "if you get started with me, you will have him as your coach.... he

         will do all the work for you, too."

      11. In December 2019, Jennifer said DIS's lowest level membership was currently $1000,

         but starting in January 2020, it would become $3000. She said that if I purchased at the

         $1000 level by the end of 2019, my membership would be automatically upgraded to a

         $3000 membership starting in January 2020.

      12. Jennifer also indicated that, ifl couldn't afford to purchase membership, I could apply for



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                                                                                        PX 33, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 454 of 484

   Declaration of Lori Thomas


          financing with DIS. I applied but was rejected. Jennifer then advised me to apply for a

          loan from Lending Tree and Avant, instructing me to apply for a minimum of $5000 from

          each company. She later pointed me to OppLoans, PayPal Extras Mastercard, and then

          OneMain Financial.

      13. Ultimately, I was able to collect $1000 before the end of 2019 without taking out a loan.

         I scrambled to obtain this money before the end of the year so that I could obtain the

         promotional upgrade to a $3000 membership starting in January 2020.

      14. I decided to purchase membership because, after practicing as a registered nurse for

         thirty-seven years, I had injured my back on the job and was on unemployment. Given

         my need for back surgery and my inability to continue my practice, I was looking for an

         alternative form of income. Based on what Jennifer had represented to me, I believed

         DIS could provide such income.

      15. Jennifer messaged me payment instructions. (Attachment A is a true and correct copy of

         the message that Jennifer sent to me.) Pursuant to Jennifer's instructions, I mailed two

         money orders-one for $500 made out to her and one for $500 made out to DIS-to the

         following address on or around December 16, 2019:

         Attn: Coach Derek
         Digital Income System, Inc.
         6619 South Dixie Highway #329
         Miami, FL 33143

         (Attachment Bis a true and correct copy of the money order that I made out and mailed

         to DIS.)

      16. Prior to mailing my payment to join DIS, I never received a written disclosure document

         or a written earnings claim document that told me how many and what percentage of DIS

         members earned specific commissions or a range of commissions. I also never received


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                                                                                       PX 33, pg. 3
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 455 of 484

   Declaration of Lori Thomas


          such documents after I paid for the membership.

      17. After I mailed my money orders to DIS, I received credentials to a DIS "backoffice"

          page. My backoffice included a section that could show me the names and contact

          information of leads who visited my capture page and asked to be contacted by Digital

         Income System.

      18. By January 22, 2020-over five weeks after I had purchased membership-my

         backoffice listed only 1 lead.

      19. As a result, I sent Jennifer a message on Facebook Messenger on January 22, 2020,

         stating, "Jennifer, I'm confused. I have gotten 1 visit to my site since joining. Am I

         missing something in the definition of 'autopilot'?" She responded that same day that I

         was "not missing something" and that "Coach Derek explained that they don't send lead

         cycles in December." She said, "It's about to get Super Busy because tax season starts

         Friday so just have some patience love."

      20. Later, sometime on or before February 3, 2020, I posted a message on Jennifer's

         Facebook site, which was visible to others, indicating that I was still waiting for a sale.

         In response, Jennifer left me two private voice messages on Facebook Messenger on

         February 3, saying, "Hey, there, if you could just do me a favor and not post things like

         that, um <sigh> comments on my page ... if you were promoting on your page you

         wouldn't like it either if someone commented that ... it just can look a little ... it almost

         looks like the company's not real, or doesn't do what it's supposed to do, where we all

         know the company does do what it's supposed to do. It just takes time, everybody's

         timing is different." Jennifer said, ''the more traffic that you have going to your website,

         the more odds are you're gonna get a sale. This isn't a 'get-rich-quick.' Yes, I'm making



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                                                                                            PX 33, pg. 4
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 456 of 484

   Declaration of Lori Thomas


          very good money, but I'm also promoting it. Actually, I've been promoting on my

         profile for several years now.... I'm going to be making a lot more money than most

         people, BUT ... the more traffic you draw, the more people will join." She said there were

         two ways to obtain more traffic. First, she could give me access to her online marketing

         training materials, which I could use to proactively market DIS and generate more traffic.

         But she didn't actually provide me the link to her training materials. Second, I could pay

         extra to order more traffic. She then stated, "I did remove the comment, uh ... but if you

          could just refrain from commenting those things again, I would greatly appreciate it."

      21. Jennifer's February 3 messages completely contradicted what she had told me about DIS

         before I purchased membership-that DIS worked on "autopilot," that "they literally do

         everything" and that "they're seriously doing all of the work for me ... I am doing

         nothing." In contrast, her February 3 messages said that she had generated sales by

         proactively promoting DIS and that to obtain sales myself, I needed to either proactively

         market DIS, as she had, or pay extra for more traffic.

      22. On March 5, 2020, I sent Jennifer two more messages on Facebook Messenger, asking

         "is there something I'm not doing that I should be doing? I haven't had any traffic to my

         website since I signed up in December.... I feel like I'm missing something about this

         being on 'autopilot."' I then asked, "Where do I begin you[r] training? I love watching

         your success videos ... and dream of the day when 'just getting by' is behind me, but

         I've never done anything like this before. I've been an RN x 37 years, but due to a back

         injury, can no longer do that. Please, help me."

      23. On March 6, 2020, Jennifer responded with a link to her online training video, called

         "The Successful Momma," and a passcode. That same day, she left me two more voice



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                                                                                       PX 33, pg. 5
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 457 of 484

   Declaration of Lori Thomas


          messages on Facebook Messenger, saying, "This is so you can start marketing on

          Face book. .. I want you to go through this, take lots of notes, you may need to re-watch

          some videos several times. I mean this is literally exactly everything I do, um ... and have

          done over the past several years to get me to where I am currently, so if there's something

          in here that you think isn't morally correct, I'm sorry, you don't have to apply it. I'm not

          stealing things from anybody, I just have little tricks to get more engagement. Take lots

         of notes, apply everything in this training, and then go back and watch it again, if you

         need to. You can access this 24/7. You may not share this code with anybody or I will

         terminate you .... Usually people that get this training, they pay $600 by itself for this

         training, and I'm including it with everybody for free if they join DIS .... Stay consistent

         with this, there's no reason why you cannot have the same kind of following I have, or

         more. I mean, I have someone that I trained in this and she makes more money than I

         make right now... stay consistent, do everything that's in here, and there's no reason

         why you can't build a great following and have a great income online." She added in a

         message, "I also contacted Coach Derek for you regarding your traffic & leads." She

         then sent me a link advertising a new company she was promoting.

      24. On April 19, I sent her another message on Facebook Messenger, saying, "I need to know

         what's happened with DIS, too ... My website has received no traffic, I have received

         nothing from my $1,000 investment made in December. .. I scraped everything I had to

         get in. I need to know if this is still viable potential income on autopilot."

      25. On April 19, Jennifer responded, "they are updating the system. It will have email

         notifications every time a lead is called, color coded, etc. Everything has slowed down

         due to the virus but it will get busy again! This is another reason why I am promoting"



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 458 of 484

    Declaration of Lori Thomas


           another program. (Attachment C is a true and correct copy ofmy Facebook messages

           with Jennifer from January 22, 2020 to April 19, 2020.)

       26. Ultimately, I decided not to proactively market DIS using Jennifer's training videos.

           Jennifer's messages from February 3 through April 19 completely contradicted what she

           and Derek had told me about DIS before I purchased membership--that DIS worked on

           "autopilot" and that it would do all the work for its members (i.e., generating leads,

           calling leads, and closing sales). My main reason for purchasing DIS membership was to

           avoid having to do this work and to pay professional marketers to do it for me instead.

           Yet Jennifer was now telling me that I needed to market DIS myself or buy extra traffic

          in order to generate sales.

       27. I decided not to purchase extra traffic-again because Jennifer's messages from February

          3 through April 19 completely contradicted what she and Derek had told me about DIS

          before I purchased membership. Before I purchased membership, they told me that my

          membership fee included traffic. But now Jennifer was telling me that I needed to buy

          extra traffic in order to generate sales. Beyond that, I didn't even have the money to

          purchase any extra traffic. Again, I was on unemployment due to a back injury.

       28. In short, I came to the distressing realization that Jennifer and Derek had been untruthful

          with me. Having lost trust in Jennifer, Derek, and DIS, I decided not to invest any

          additional time or money in the system.

       29. The last time I checked on August 10, 2020, my backoffice listed only eleven leads.

       30. Ultimately, I obtained no sales. As a result, I have made no money through Digital

          Income System.

       31. If I had known that Digital Income System was not going to close any sales for me, as



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                                                                                          PX 33, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 459 of 484


    Declaration of Lori Thomas


           Jennifer and Derek promised it would, I would never have paid any money for this

           supposed business opportunity. I lost $1000 to Digital Income System.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on October /;;' , 2020.

                                                          r:/mv]h      Qv] eu.-
                                                         Lori Thomas
                                                         Des Moines, Iowa




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 460 of 484




                          ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 461 of 484
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                             tracking number please and I'll
                             send you the order form to fill
                             out!~~~'-'
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 462 of 484




                           ATTACHMENT B




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 463 of 484


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 464 of 484




                          ATTACHMENT C




                                       13                       PX 33, pg. 13
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 465 of 484




                      Jennifer, I'm confused

                      I have gotten 1 visit to my
                      site since Joining. Am I
                      missmg something in the
                      definition of ''autoptlot"?

                         I Joined mid December.




           No love, you're not missing
           something. Coach Derek
           explained that they don't send
           lead cycles in December. It's
           about to get Super Busy
           because tax season starts
           Friday so just have some
           patience love V'V

                              Ok ... thank you   1
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       o----------jm                                 <
     oo---~Em                                        <




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 466 of 484




                 Jenn if er, is there something
                 I'm not doing that I should
                 be doing? I havent had any
                 traffic to my website since I
                 signed up m December I
                 can't afford to order extra,
                 but zero? i feel like Im
                 missing something about
                 this being on autopilot' ..


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                 Where do I begin you
                 training? I love watching
                 your success videos ... and
                 dream of the day when "Just
                 getting by' is behind me, but
                 I've never done anything like
                 this before.
                 rve been an RN x 37 years,
                 but due to a back inJury. can
                 no longer do that.
                 Please, help me




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 467 of 484




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                        Thanks so much Jenrnfer111

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           You're so very welcome!! I also
           contacted coach Derek for you
           regarding your traffic & leads
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 468 of 484




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 469 of 484




                   Very interested. Jennifer I   1



                   WlLL check this out


                   I need to know whafs
                   happened with DIS, too ..
                   My website has received no
                   traffic, I have received
                   nothing from my    SJ.. Q00
                   mvestmen1 made in
                   December. I scraped
                   everything I had to get in.
                   need 10 know 1f this is a still
                   viable potential income on
                   autopilot




           I'm regards to DIS, they are
           updating the system. It will
           have email notifications every
           time a lead is called, color
           coded, etc. Everything has
           slowed down due to the virus
           but it will get busy again! This
           is another reason why I am
           promoting something lower
           ticket. Plus, the products &
           commissions are Amazing! '1

                   Very coo! 1 Thanks for the




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                   update I will check this outi


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 470 of 484




                  PLAINTIFF'S EXHIBIT 34
                                  (PX 34)
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 471 of 484


    Declaration of Karen Wells


                                 DECLARATION OF KAREN WELLS

           I, Karen Wells, declare the following:

       1. My .name is Karen Wells, and I am a United States citizen who is over the age of

           eighteen. I live in Summit, Mississippi.

       2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

          could and would testify competently to them.

       3. In September 2019, I was following a Facebook acquaintance named Kaitlyn Scott, who

          had started advertising an at-home money-making opportunity. I am a retired senior

          citizen who has been looking for a way to make extra money from home. Ms. Scott

          seemed very real about her ability to make money. She was very encouraging about the

          ability to make money with Digital Income System. Ms. Scott said that she has never

          seen so much money being made as through the Digital Income System. She gave live

          webinars on how much money could be made using this system. She described how she

          had made a six-figure income in 3-4 months.

      4. Kaitlyn Scott told her Facebook followers that she had a great coach, Derek Jones. I saw

          how much money Ms. Scott was making so I was interested in doing the same. I used

          Ms. Scott's capture page to fill out the form requesting a phone call from Digital Income

          System.

      5. I then received a phone call from Derek Jones, who said that he worked for Digital

          Income System.

      6. Derek Jones told me that if I started out at the $1000 level, I would get a certain amount

          of traffic, a certain number of rotations a month. Derek also told me that I would not

          have to do any of the selling myself. He told me that Digital Income System had a team



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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 472 of 484


    Declaration of Karen Wells


            of closers that would take the consumer's information from my website, would make a

           telephone call to the consumer, and finish the sale for each prospect. He described the

           membership as a turn-key opportunity. He told me that I would not have to sell anything

           or even talk with anyone. Digital Income System's closers were on call 24-7 and would

           call the prospects and sell them on the money-making opportunity. He told me that all I

           would have to do is sit back and watch the checks roll in. He described that once a new

           member joined under my Digital Income ID number, I would be getting a commission

           check.

       7. Because of what Derek Jones told me and what Kaitlyn Scott said about the success of

           Digital Income System, I decided to join Digital Income System at the $1000 level.

           Derek sent me an e-mail with instructions on how to send in my money to Digital Income

           System's address. I bought two money orders of $500 each. One money order was made

           out to Digital Income System, and one was made out to Kaitlyn Scott. I mailed both

           money orders to the Digital Income System address in Florida. (Attachment A is a true

           and correct copy of the money order that was made out to Digital Income System.)

      8.   Before mailing my payment to join Digital Income System, I never received a written

           disclosure document or a written earnings claim document that told me how many and

           what percentage of Digital Income System members earned specific commissions or a

           range of commissions. I also never received such documents after I paid for the

           membership.

      9. After I sent in my money, Digital Income System made me my website, which included

           landing and capture pages so that anyone getting to my page could include their contact

           information to request a call from a coach at Digital Income System. The capture page



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                                                                                        PX 34, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 473 of 484

    Declaration of Karen Wells


           asked the question: "What do These People Have That You Don't?" and gave the answer:

           "The Secret To 100% Hands Free Income Delivered Straight To Your Front Door."

       10. I did not see any inquiries in the first month. Derek told me that if I increased my level

           of membership, the amount of traffic that I would get through Digital Income System

          would be increased substantially. So I bumped up my membership to the $3000 level,

          which automatically bumped me up to the $5000 level. I paid the extra $2000 to Digital

          Income System through Pay Pal.

       11. But I did not see any increase in my traffic.

       12. Every few weeks, I texted Derek to find out what was wrong and what could be done to

          get more traffic and inquiries. Most of the time, his response was "it will come, just sit

          tight." He always gave an excuse on why it had not come yet.

       13. Early on, I saw one name in my back office, which was supposed to show what leads

          were being generated by the system. I have not seen any names since and I have made no

          money through this program.

      14. I have lost $3000 to Digital Income System. Ifl had known that they were not going to

          send me commission checks, as they promised that they would send me, I would never

          have paid them any money.

                   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing
          is true and correct. Executed on August~, 2020.           ,


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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 474 of 484




                         ATTACHMENT A




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 475 of 484




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                  PLAINTIFF'S EXHIBIT 35
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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 477 of 484




                                DECLARATION OF CONNIE ZIEMBA

            I, Connie Ziemba, declare the following:

        1. My name is Connie Ziemba. I am over the age of eighteen, and I live in Hockley, Texas.

        2. I have personal knowledge of the facts stated in this declaration, and, if called to testify, I

           could and would testify competently to them.

        3. In late 2019, I saw Facebook posts, including photographs and videos, by Whitney

           Maliea Caballero, marketing a money-making opportunity through a company called

           Digital Income System. In her Facebook posts, Whitney explained that, by purchasing

           membership in Digital Income System, I could sell Digital Income System membership

           to others for a commission.

       4. Whitney explained that Digital Income System provided each member a website.

           Prospects, or "leads," who visited a member's website and wanted to learn more could

           enter their contact information and request a call from a Digital Income System "coach."

           Coaches would then call each lead, advertise Digital Income System to them, and then

           attempt to "close" the sale. Whitney said members would not be required to call a single

           lead. As Whitney said in one post, "You Don't Have to Do Anything If You Don't Want

           To!! The Coach Will Do .t\11 the Work for you!!!!" She said a participant who purchased

           membership at the $1000 level would receive $500 for each sale.

       5. Whitney stated that she had made thousands of dollars in Digital Income System

           commissions. She posted photographs and videos of commission checks she had

           received through Digital Income System, many of which were for thousands of dollars.

       6. Whitney indicated she had joined Digital Income System through her sponsor, Jennifer

           Hedrick. I also saw Facebook posts by Jennifer Hedrick, marketing Digital Income




                                                                                          PX 35, pg. 1
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 478 of 484


     Declaration of Connie Ziemba


            System. Jennifer's posts included videos of her receiving commission checks worth

            thousands of dollars through Digital Income System. Jennifer claimed she had made six

           figures through Digital Income System.

        7. Whitney's and Jennifer's Facebook pages also showed that other members had earned

           thousands of dollars through Digital Income System.

        8. To learn more, I contacted Whitney, who put me in touch with Derek Jones, or "Coach

           Derek."

        9. Coach Derek later called me to further discuss the opportunity. Derek provided the same

           information that Jennifer had provided about Digital Income System. Like Whitney, he

           told me that coaches would call each of my leads, and he claimed that I could make a lot

           of money through Digital Income System.

        10. Based on my conversations with Whitney and Derek, I thought I would make substantial

           income through Digital Income System, just like Whitney and Jennifer had.

        11. As a result, I decided to purchase a $1000 membership. Unfortunately, I did not have

           $1000 in cash available. I was a hostess at a restaurant, and my husband is unable to

           work due to ill health. To pay for my Digital Income membership, I therefore took out a

           payday loan, which included approximately $1000 in interest payments, doubling the

           total cost of my membership.

        12. Coach Derek emailed me instructions for how to pay for Digital Income System

           membership. (Attachment A is a true and correct copy of Coach Derek's email.)

       13. Pursuant to Coach Derek's instructions, I mailed Digital Income System two money

           orders in December 2019-one for $500 made out to Whitney and one for $500 made out

           to Digital Income System. I mailed both to the following address:



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                                                                                      PX 35, pg. 2
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 479 of 484


     Declaration of Connie Ziemba


            Derek Jones
            Digital Income System, Inc.
            6619 South Dixie Highway #329
            Miami, FL 33143

            (Attachment Bis a true and correct copy of the money order that I made out to and

            mailed to Digital Income System.)

        14. Prior to mailing my payment to join Digital Income System, I never received a written

            disclosure document or a written earnings claim document that told me how many and

            what percentage of Digital Income System members earned specific commissions or a

           range of commissions. I also never received such documents after I paid for the

           membership.

        15. I have made no money through Digital Income System.

        16. Ifl had known that Digital Income System was not going to close any sales for me, as

           Whitney and Derek promised it would, I would never have paid any money for this

           supposed business opportunity. I lost approximately $1000 to Digital Income System.

           Pursuant to 28 U.S.C. § 17\6, I declare under penalty of perjury that the foregoing is true
    and correct. Executed on August_jj_, 2020.

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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 480 of 484




                          ATTACHMENT A




                                        4                        PX 35, pg. 4
 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 481 of 484




From: Derek Jones <coachderek@digitalincomesystem.com>
Date: Saturday, December 7, 2019
Subject: ATTN: DIS Join Instructions lK- Entrepreneur
To: connie.ziemb



Hey there Connie!

Congratulations on your decision to join the Digital Income System.

Member ID# 0074 ( Whitney Caballero) will be very pleased to hear the good news.



The Digital Income System utilizes direct peer-to-peer payments for your convenience.

The total amount for Level I is: $1,000.




Instructions to join the Digital Income System at Level I (Entrepreneur):



Step 1) Please get 1 cashiers check (or money order) for the amount of $500 made payable to:

Whitney Caballero



Step 2) Get a 2nd cashiers check (or money order) for the amount of $500 made payable to:

Digital Income System Inc.

                                                  5                           PX 35, pg. 5
 Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 482 of 484




Step 3) Mail all checks to:

Attention: Coach Derek
Digital Income System Inc.
6619 South Dixie Highway #329
Miami, FL 33143

*Send funds via FedEx/ UPS Overnight or USPS Express mail*



Step 4) Email me with the tracking number from your Fed-Ex/UPS Overnight or USPS receipt.

My email is: coachderek@digitalincomesystem.com



Step 5) Once you've sent the two payments to the address above, fill out the order form at:

http://digitalincomeform.com



*Note: Your referral ID# is: 0074 and your coach's name is Coach Derek please make sure to
enter "Level 1 - Entrepreneur" for the join level in the form.*

Once our DIS administrators have received your payment, we will set up your marketing suite at
the Entrepreneur ($1,000) Level and email you login details which contain your own user ID.

Feel free to email or text message me with any questions during this process.

Looking forward to your success on our team.




Email: coachderek@digitalincomesystem.com
Phone: (305) 720-6952




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Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 483 of 484




                          ATTACHMENT B




                                        7                        PX 35, pg. 7
Case 1:20-cv-24721-UU Document 1-4 Entered on FLSD Docket 11/17/2020 Page 484 of 484


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